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                3
        Exhibit C
                       (Part 1)
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    2022 |                             Attorneys’ Fees
                                       Hourly Rates



                                     Employment Law




                                             Yearbook
       Published by the Texas Employment Lawyers Association
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     2022 |                             Attorneys’ Fees
                                        Hourly Rates



  This collection is drawn from court rulings, jury verdicts,

arbitrations, and actual rates billed. Unlike summaries of

anonymous surveys, it names the lawyers and cites

sources. To compare quantity of experience, it is grouped

by ten-year classes—like a yearbook groups classes from

seniors to freshmen. It is organized by geographic regions

corresponding with the four federal districts in Texas. It

accounts for inflation to the end of 2021 via the U.S. Bu-

reau of Labor Statistics’ data for legal services. The infor-

mation is limited to employment law work in Texas.




                                            Yearbook
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Demographics


106,591*               Texas lawyers
   Most are in the Houston and Dallas metropolitan statistical ar-
   eas—32.87% in the Houston–The Woodlands–Sugar Land MSA
   and 31.71% in the Dallas–Fort Worth–Arlington MSA.




   3,145               Members of the SBOT
                       Labor & Employment Law Section



   673                 Board-certified L&E Specialists
* Sources:

       State Bar of Texas Membership: Attorney Statistical Profile (2020–21) and
       State Bar of Texas Attorney Population Density by MSA: 2020–2021.
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  “Civil rights laws don’t enforce themselves.”1

   By design, they rely on private attorneys general to prosecute violations. Fee shifting

is a basic part of making federal and state employment laws work.2 This collection is

intended to show “prevailing market rates in the relevant community” within the mean-

ing of Blum v. Stenson, 465 U.S. 886 (1984). The focus here is Texas.




     “Reasonableness is a range, not a point.”3

   The idea is to light the edges, to mark the averages and medians. Collecting employ-

ment law rates here reveals the “customary fee for similar work in the community” and

“awards in similar cases.”4 The idea is to help gauge reasonableness.




1 Samuel R. Bagenstos, Mandatory Pro Bono and Private Attorneys General, 101 NW. U. L. REV.

COLLOQUY 182, 183 (2007).

2 See id. at 187 (“Because the private attorney general system is essential to civil rights enforce-

ment, and fee shifting is the engine that drives the system, judicial rulings regarding the avail-
ability of statutory attorneys’ fees are likely to have extremely significant effects on the vindica-
tion of civil rights in practice.”).

The legislative history of the Civil Rights Attorney’s Fees Awards Act of 1976 has a robust dis-
cussion of the private attorneys’ general concept, and a compilation of that history is here:
https://ufdc.ufl.edu/AA00026686/00001/1.

3 United States v. Cunningham, 429 F.3d 673, 679 (7th Cir. 2005) (Judge Posner addressing

sentencing ranges).

4 See Johnson v. Georgia Highway Express, Inc., 488 F.2d 714, 718-19 (5th Cir. 1974) (listing

guidelines which include “[t]he customary fee for similar work in the community” and “[a]wards
in similar cases”); Arthur Andersen & Co. v. Perry Equip. Corp., 945 S.W.2d 812, 818 (Tex. 1997)
(“Factors that a factfinder should consider when determining the reasonableness of a fee include
. . . the fee customarily charged in the locality for similar legal services”) (omission added).
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Inf lation
       “Legal services priced at $200 in
          1990 → $610.93 in 2021”

“According to the U.S. Bureau of Labor Statistics, prices
for legal services were 205.46% higher in 2021 versus
1990 (a $410.93 difference in value).”



“Between 1990 and 2021, legal services experi-
enced an average inflation rate of 3.67% per year.
This rate of change indicates significant inflation. In
other words, legal services costing $200 in the year
1990 would cost $610.93 in 2021 for an equivalent
purchase. Compared to the overall inflation rate of
2.38% annually during this same period, inflation
for legal services was higher.”


Source: https://www.officialdata.org/Legal-services/price-inflation/1990-to-2021?amount=200
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Inf lation
Alone it accounts for equal buying power for the same quality of legal ser-
vice over time. But not for improved quality—through ongoing training, con-
tinuing legal education, and experience. Imagine two lawyers who billed at
$300/hr. in the year 2000:


     One has continued to practice since 2000—improving
     her skills as a lawyer over that time.
                                                                                                 $???.??/hr.


                                                                         e
                                                                   tim
                                                             ver
                                                      v  ed o
                                              im   pro
                                      sk ills
                                    +
                                                                             Adjusting only for inflation will not account
                                                                             for the improved legal skills one lawyer
                                                                             now has compared to the other.




$300.00/hr.        Year 2000       Inflation 97.73%*                         Year 2021           $593.19/hr.




                                     no new legal skills
                                                                                                 $593.19/hr.


       The second stops practicing in 2000, then resumes in 2021.




       * Source: https://www.officialdata.org/Legal-services/price-inflation/2000-to-2021?amount=300
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                      “Buying power of $100.00 since 1986

Below are calculations of equivalent buying power for legal services,
over time, for $100 beginning in 1986. Each of the amounts below is
equivalent in terms of what it could buy at the time:”1




    Year    USD Value       Inflation Rate          Year     USD Value Inflation Rate

    1986    $100.00         -                       2004     $232.26       4.76%
    1987    $103.44         3.44%                   2005     $241.75       4.09%
    1988    $107.66         4.08%                   2006     $250.01       3.41%
    1989    $114.12         5.99%                   2007     $260.27       4.11%
    1990    $122.56         7.40%                   2008     $270.73       4.02%
    1991    $129.58         5.72%                   2009     $278.15       2.74%
    1992    $136.22         5.12%                   2010     $288.13       3.59%
    1993    $141.95         4.21%                   2011     $297.43       3.23%
    1994    $146.76         3.39%                   2012     $303.46       2.03%
    1995    $151.63         3.32%                   2013     $311.82       2.75%
    1996    $157.08         3.60%                   2014     $318.49       2.14%
    1997    $163.82         4.29%                   2015     $323.56       1.59%
    1998    $171.67         4.79%                   2016     $334.48       3.38%
    1999    $179.98         4.84%                   2017     $346.39       3.56%
    2000    $189.34         5.20%                   2018     $361.24       4.29%
    2001    $199.47         5.35%                   2019     $364.75       0.97%
    2002    $211.05         5.81%                   2020     $368.72       1.09%
    2003    $221.71         5.05%                   2021     $374.38       1.53%


Note: All inflation rates displayed in this booklet are rounded to the nearest hun-
dredth. But all calculations in this book are made without such rounding.




1   https://www.officialdata.org/Legal-services/price-inflation/1986-to-2021?amount=100
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                                    W

                                         North Texas
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                                       NDTX† summary of rates listed: high to low

                                                  $1,326.55 to $246.25
Rate         Name / JD Year                        Rate       Name / JD Year
$1,326.55*   Shane M. Tucker (JD 1999)             $535.00*   Michael A. McCabe (JD 1998)
$1,086.42*   John E. Fitzsimmons (JD 1995)         $535.00*   David L. Wiley (JD 1996)
$1,055.96*   Cathryn Le Regulski (JD 1999)         $535.00*   Amy E. Gibson (JD 1995)
$1,015.35*   Rogge Dunn (JD 1983)                  $532.25*   Arrissa K. Meyer (JD 2010)
$974.51*     Charla Aldous (JD 1985)               $525.00*   Douglas B. Welmaker (JD 1993)
$880.91*     Marc D. Katz (JD 1994)                $519.74*   Brent Walker (JD 2004)
$845.08*     Hal K. Gillespie (JD 1972)            $513.20*   Jason Smith (JD 1992)
$821.12*     Crystal Jamison Woods (JD 2009)       $507.98*   Howard L. Steele, Jr. (JD 1996)
$818.17*     Joel M. Fineberg (JD 1991)            $505.64*   Peter A. Milianti (JD 1997)
$809.95*     Russell W. Budd (JD 1979)             $497.80*   Breegan O’Connor (JD 2017)
$811.49*     Norlynn B. Price (JD 1984)            $483.00*   Kimberly Williams (JD 2005)
$801.90*     Matthew R. Scott (JD 1995)            $481.30*   Jordan Campbell (JD 2013)
$795.46*     Allison A. Reddoch (JD 2011)          $462.83*   Brandon Shelby (JD 2004)
$795.46*     Isabel A. Crosby (JD 2005)            $462.83*   David Langenfeld (JD 1992)
$759.53*     Micala Bernardo (JD 2007)             $462.63*   James D. Sanford (JD 2005)
$759.53*     Michael W. Massiatte (JD 2000)        $461.88*   Ashley Tremain (JD 2008)
$755.24*     Stuart L. Cochran (JD 2000)           $461.88*   Carmen Artaza (JD 2006)
$752.10*     Brian P. Sanford (JD 1986)            $461.88*   Christine Hopkins (JD 2005)
$733.14*     Danielle Alexis Matthews (JD 2000)    $456.91*   John M. Barcus (JD 2002)
$689.18*     Todd Mobley (JD 2010)                 $444.13*   M. Jeanette Fedele (JD 2003)
$684.00*     Britney J. P. Prince (JD 2015)        $436.22*   Gavin S. Martinson (JD 2005)
$653.75*     Karen C. Denney (JD 2002)             $428.12*   Monica Velazquez (JD 2002)
$651.76*     Betsey A. Boutelle (JD 2014)          $414.55*   David Norris (JD 2011)
$649.67*     Brian Lauten (JD 2001)                $411.42*   Corinna Chandler (JD 2009)
$629.37*     Richard E. Norman (JD 1993)           $411.42*   Todd Goldberg (JD 2009)
$621.21*     John Roger Herring (JD 2008)          $411.42*   Jamie J. McKey (JD 2006)
$600.00*     Christine Neill (JD 1996)             $410.56*   Jay Forester (JD 2013)
$600.00*     Jane Legler (JD 1992)                 $359.24*   Jeff T. Leslie (JD 2015)
$595.00*     Barry S. Hersh (JD 1998)              $358.69*   Barrett Robin (JD 2015)
$594.32*     J. Derek Braziel (JD 1995)            $330.19*   Megan Dixon (JD 2012)
$577.96*     Kevin M. Duddlesten (JD 1994)         $330.19*   Melinda Arbuckle (JD 2011)
$572.75*     Robert E. McKnight, Jr. (JD 1992)     $330.00*   Jennifer McCoy (JD 2016)
$570.11*     Mike Gaddis (JD 2009)                 $319.00*   Ryan Toomey (JD 2011)
$558.35*     Trey Branham (JD 1999)                $289.27*   Benjamin Michael (JD 2013)
$558.35*     Jeffrey Goldbarb (JD 1994)            $289.27*   Michael L. Parsons (JD 2011)
$555.16*     Joseph H. Gillespie (JD 2002)         $270.20*   Matthew F. Amos (JD 2015)
$554.05*     Robert G. “Bobby” Lee (JD 1993)       $259.09*   Jennifer Birdsall (JD 2017)
$550.00*     Kyla Cole (JD 2001)                   $246.25*   Hannah P. Parks (JD 2014)

    †
     Courts note the relevant community for fees is district-wide—not by city or division. See,
    e.g., Lewallen v. City of Beaumont, 394 Fed. Appx. 38, 46 (5th Cir. 2010); Treadway v.
    Otero, No. 2:19-CV-244 [Doc. 157] at p. 9 (S.D. Tex. Oct. 6, 2020) (citing cases and
    concluding: “When it comes to parsing between divisions, it appears that it is the district,
    rather than the division, that should govern the decision.”).
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                                     Classes of the 1970s:
                                          The Rates

          Hal K. Gillespie (JD 1972)




Russell W. Budd (JD 1979)
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Classes of the 1970s:
     The Work

  * Hal K. Gillespie (class of ’72): Mr. Gillespie works in Dallas. His
  online biography states that he “represents individual clients, corporate execu-
  tives and unions in arbitration, mediation, civil trials, and appeals involving dis-
  charge, discrimination, sexual harassment, breach of contract, and employment
  matters.” On March 2, 2012, Judge Ken Molberg (now Justice Molberg of the Dal-
  las Court of Appeals) ruled $685.00 per hour was a “reasonable” rate for Mr. Gil-
  lespie in a Dallas employment retaliation case. See Rush Truck Centers of Texas,
  L.P. v. Fitzgerald, No. DC-09-15958-D (95th District Court for Dallas County,
  Texas) (“Order on Attorney Fees”) at p. 5 (95th District Court for Dallas County,
  Texas) (“a reasonable fee for the necessary services of Fitzgerald’s attorneys, as
  established by the evidence, should be computed in the following manner: . . . Hal
  Gillespie: $127,410 (186 hours at the rate of $685 per hour) . . . .”). According to
  the Consumer Price Index for legal services as generated by the U.S. Bureau of
  Labor Statistics, the prices for legal services are 23.37% higher in 2021 versus
  2012 (a $160.08 difference).1 So, adjusted only for such inflation from the year of
  Judge Molberg’s ruling (2012) to the end of 2021, that $685.00 hourly rate for Mr.
  Gillespie is $845.08.

  * Russell W. Budd (class of ’79): Mr. Budd works in Dallas. On
  May 8, 2015, Judge Jane Boyle ruled Mr. Budd’s requested hourly rate of $700.00
  was reasonable in a Dallas FLSA case, Olibas v. Native Oilfield Servs., LLC, No.
  3:11-cv-2388-B (Doc. 302). On December 8, 2016, Judge Jane Boyle again ruled
  $700.00 per hour was “reasonable” for Mr. Budd’s work in Aguayo v. Bassem Odeh,
  Inc., No. 3:13-cv-2951-B (Doc. 146) (N.D. Tex. Dallas)—another Dallas FLSA case.
  According to the Consumer Price Index for legal services as generated by the U.S.
  Bureau of Labor Statistics, the prices for legal services are 15.71% higher in 2021
  versus 2015 (a $109.95 difference).2 Adjusted only for such inflation from the date
  of Judge Boyle’s 2015 award to the end of 2021, that $700.00 hourly rate for Mr.
  Budd is $809.95.



  1   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=685

  2   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=700
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Classes of the 1980s


 4          lawyers listed




 $888.36                                average rate




 $893.00                                median rate
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                                       Classes of the 1980s:
                                            The Rates



                               Rogge Dunn (JD 1983)

Charla Aldous (JD 1985)




                                Norlynn B. Price
                                   (JD 1984)




                                           Brian P. Sanford (JD 1986)
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Classes of the 1980s:
     The Work

  * Rogge Dunn (class of ’83): Mr. Dunn works in Dallas. His online
  biography notes that he handles employment matters and is a board-certified spe-
  cialist in labor and employment law. On September 11, 2020, he testified that he
  regularly charges $1,000.00 per hour for his work. See Affidavit of Rogge Dunn in
  Support of Motion for Default Judgment and Proving Up Attorneys’ Fees at p. 4,
  ¶ 10 in Rogge Dunn Group, PC v. Gross, No. CC-20-01746-D (County Court at Law
  No. 4 for Dallas County, Texas) (“The hourly fee for such work that I regularly
  charge is $1,000.00 per hour, which in my opinion is reasonable for such work
  done in Dallas County, Texas.”). According to the Consumer Price Index for legal
  services as generated by the U.S. Bureau of Labor Statistics, the prices for legal
  services are 1.53% higher in 2021 versus 2020 (a $15.35 difference).1 Adjusted
  only for such inflation from the year of this billing rate (2020) to the end of 2021,
  that $1,000.00 hourly rate for Mr. Dunne is $1,015.35.

  * Charla Aldous (class of ’85): Ms. Aldous works in Dallas. On July
  27, 2010, Judge Jane Boyle awarded Ms. Aldous a rate of $750.00 per hour in a
  Dallas employment retaliation case. See Nassar v. University of Texas
  Southwestern Medical Center, No. 3:09-CV-1337 (Doc. 160) at pp. 8–10, PageID
  2245–47 (N.D. Tex. Dallas) (“Defendant argues that Dr. Nassar has not met his
  burden and that the rates requested ($400 per hour for Mr. Walker, $500 per hour
  for Mr. Lauten, $500 per hour for Ms. Lauten, and $750 per hour for Ms. Aldous)
  are excessive. . . . In light of the degree of success obtained and the evidence
  submitted, the Court finds that the lodestar may be calculated using the
  requested rates, with one exception [applicable to Ms. Lauten].”), reversed on other
  grounds. According to the Consumer Price Index for legal services as generated
  by the U.S. Bureau of Labor Statistics, the prices for legal services are 29.93%
  higher in 2021 versus 2010 (a $224.51 difference).2 Adjusted only for such inflation
  from the year of this award to the end of 2021, that $750.00 hourly rate for Ms.
  Aldous is $974.51.


  1 https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=1000


  2 https://www.officialdata.org/Legal-services/price-inflation/2010-to-2021?amount=750
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* Norlynn B. Price (class of ’84): Ms. Price previously worked in
Dallas. In 2016, in a Dallas FLSA case, she billed at $725.00 per hour. See Decla-
ration of Danielle Alexis Matthews in Areizaga v. ADW Corp., No. 3:14-cv-2899
(Docs. 94-1 & 94-2) (N.D. Tex. Dallas). See generally Brief in Support of ADW
Corporation’s Motion to Dismiss Plaintiff’s Original Complaint (Doc. 7) (discuss-
ing nature of the case). Attached to Ms. Matthews’s declaration are law firm bill-
ing records including an invoice dated February 10, 2016 (Doc. 94-2 at p. 6,
PageID 1057), which lists Ms. Price’s mentioned billing rate. According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 11.93% higher in 2021 versus 2016 (a
$86.49 difference).3 Adjusted only for such inflation from the year of this billing
rate (2016) to the end of 2021, that $725 hourly rate for Ms. Price is $811.49.

* Brian P. Sanford (class of ’86): Mr. Sanford works in Dallas and
specializes in employment law. On December 28, 2015, Judge Barbara M. G. Lynn
awarded $650.00 per hour for Mr. Sanford’s time prosecuting a Dallas employ-
ment retaliation case—based, in part, on the recommendation of Magistrate
Judge David L. Horan. See Kostić v. Texas A&M Univ.–Commerce, No. 3:10-cv-
02265-M (Doc. 282) (N.D. Tex. Dallas) (Order Accepting Findings and Recommen-
dation of the United States Magistrate Judge); id. (Doc. 281) at pp. 6 & 10, PageID
8215 & 8219 (“Findings, Conclusions, and Recommendation of the United States
Magistrate Judge”) (“Plaintiff seeks $420,732.00 for work done by his lead coun-
sel, Brian P. Sanford, for 637.28 hours at an hourly billing rate of $650.00
($414,232.00) for work done prior to the filing of the original motion for fees and
10 hours at an hourly billing rate of $650.00 ($6,500.00) for work done after the
original motion was filed. . . . Defendant does not challenge the hourly rates
charged by Plaintiff’s attorneys, the costs of court, or postjudgment interest re-
quest.”). On November 15, 2018, Judge Mark Greenberg ruled in a bench trial on
fees that Mr. Sanford’s requested rate of $725.00 per hour was reasonable for work
he did in Carpenter v. Southwest Housing Dev. Co., Inc., Cause No. CC-08-2072-
E (Dallas County Court at Law No. 5) (read into record at trial on fees)—a Dallas
unlawful employment practices case involving refusal to pay earned compensa-
tion. Judge Greenberg then applied a 1.5 multiplier to fees. On May 30, 2017,
Judge Ken Molberg (now Justice Molberg of the Dallas Court of Appeals) awarded
Mr. Sanford $685.00 per hour for his work in trying Clark v. Everlight Americas,
Inc., No. DC-15-05538 (95th District Court for Dallas County, Texas)—a Dallas
employment discrimination and retaliation case. According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 15.71% higher in 2021 versus 2015 (the year of the


3 https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=725
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Judge Lynn award)—a $102.10 difference.4 Adjusted only for such inflation from
the year of this award to the end of 2021, that $650.00 hourly rate for Mr. Sanford
is $752.10.




4 https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=650
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Classes of the 1990s


 24                    lawyers listed




 $663.74                                average rate




 $575.36                                median rate
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                                     Classes of the 1990s:
                                          The Rates

               Shane M.                     Jane              Michael A.
                 Tucker                   Legler                McCabe
               (JD 1999)               (JD 1992)              (JD 1998)


                 John E.                 Barry S.               David L.
            Fitzsimmons                    Hersh                   Wiley
               (JD 1995)               (JD 1998)               (JD 1996)


             Cathryn Le                 J. Derek                 Amy E.
               Regulski                  Braziel                  Gibson
              (JD 1999)                (JD 1995)               (JD 1995)


                 Marc D.               Kevin M.               Douglas B.
                    Katz             Duddlesten               Welmaker
               (JD 1994)              (JD 1994)                (JD 1993)


                 Joel M.              Robert E.                    Jason
                Fineberg           McKnight, Jr.                  Smith
               (JD 1991)              (JD 1992)                (JD 1992)


             Matthew R.                     Trey              Howard L.
                  Scott                Branham                Steele, Jr.
              (JD 1995)                (JD 1999)              (JD 1996)


              Richard E.                  Jeffrey                Peter A.
                 Norman                 Goldbarb                 Milianti
               (JD 1993)               (JD 1994)               (JD 1997)


               Christine              Robert G.                  David
                    Neill           “Bobby” Lee              Langenfeld
               (JD 1996)              (JD 1993)               (JD 1992)
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Classes of the 1990s:
     The Work

 *
     Shane M. Tucker (class of ’99): Mr. Tucker works in Dallas. His
 online biography states that he “advises employers, executives, and management
 teams on the tax and securities law implications of compensatory arrangements .
 . . also advises clients on the design and administration of retirement plans, wel-
 fare plans, and payroll practices.” In 2018, his law firm sought fees at the rate of
 $1,280.00 per hour for this sort of work in a Dallas bankruptcy case: “Telephone
 conference with David Meyer regarding separation and employment agreements
 (.5); review employment agreements (1.0); review and revise consulting and sep-
 aration agreement (3.3) . . . Review and revise separation and consulting agree-
 ments.” See In re: Taco Bueno Restaurants, Inc., No. 18-33678 (Doc. 308) at pp.
 100–01 (Bankr. N.D. Tex. Dallas Feb. 14, 2019) (listing rate as “$1280.00”). On
 March 28, 2019, Judge Stacey G. C. Jernigan approved the fee request. See id.
 (Doc. 338). According to the Consumer Price Index for legal services as generated
 by the U.S. Bureau of Labor Statistics, the prices for legal services are 3.64%
 higher in 2021 versus 2018 (a $46.55 difference).1 Adjusted only for such inflation
 from the year of this rate billed (2018) to the end of 2021, that $1,280.00 hourly
 rate for Mr. Tucker is $1,326.55.

 *   John E. Fitzsimmons (class of ’95): Mr. Fitzsimmons’s
 online biography states that he “concentrates in defense of employers in
 wrongful termination, employment discrimination, harassment, retaliation
 and other employment-related litigation in state and federal courts.” He is based
 in California. But in 2020, Mr. Fitsimmons billed the rate of $1,070.00 for employ-
 ment law work done in a Dallas bankruptcy case. See In re: Trivascular Sales
 LLC, No. 20-31840 (Doc. 436-4) at p. 2 and (Doc. 436-7) at pp. 140–43, 172 (Bankr.
 N.D. Tex. Dallas Oct. 31, 2020) (Exhibit D [Summary of Hourly Fees by Profes-
 sionals and Paraprofessionals] and Exhibit G [Invoices for the Compensation Pe-
 riod] attached to First and Final Application of DLA Piper LLP (US) for Allowance
 of Compensation for Services Rendered and Reimbursement of Expenses Incurred
 as Counsel to the Debtors for (I) the Period from July 5, 2020 through October 1,
 2020; and (II) the Post-Effective Date Period) (for work such as “Strategize re-
 garding employee complaint, departing HR employee, and potential internal

 1 https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=1280
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investigation; exchange correspondence with Susan Hanstad regarding same; re-
view anonymous complaint and outline questions for more specific information;
review IM communications with departing HR employee and strategize regarding
same; review employee handbook regarding relevant policies.”). On December 3,
2020, Judge Stacey G. C. Jernigan approved the fee request with a Trustee stip-
ulated reduction. See id. (Docs. 454 & 458). According to the Consumer Price In-
dex for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 1.53% higher in 2021 versus 2020 (a $16.42 differ-
ence).2 Adjusted only for such inflation from the year of this rate billed (2020) and
awarded to the end of 2021, that $1,070.00 hourly rate for Mr. Fitzsimmons is
$1,086.42.

* Cathryn Le Regulski (class of ’99): Ms. Regulski’s online
biography states that her “practice has a particular emphasis on handling
complex employee issues resulting from mergers and acquisitions (both buy-
side and sell-side), financings, spinoffs and divestitures, and public offer-
ings.”).” She is currently based in Washington D.C. In 2020, when she was
based in Virginia, she billed the rate of $1,040.00 for employment work done
in a Dallas bankruptcy case. See In re: Trivascular Sales LLC, No. 20-31840
(Doc. 436-4) at p. 2 and (Doc. 436-7) at pp. 72–73, 121 (N.D. Tex. Bankruptcy Oct.
31, 2020) (Exhibit D [Summary of Hourly Fees by Professionals and
Paraprofessionals] and Exhibit G [Invoices for the Compensation Period]
attached to First and Final Application of DLA Piper LLP (US) for Allow-
ance of Compensation for Services Rendered and Reimbursement of Ex-
penses Incurred as Counsel to the Debtors for (I) the Period from July 5, 2020
through October 1, 2020; and (II) the Post-Effective Date Period) (for work such
as “Email correspondence with Reyna Fernandez regarding leave issues” and
“Teleconference with Reyna Fernandez and Steffanie Cook regarding leave and
job protection” and “Review and analyze noncompete agreement for Kevin Cofran
and prior communications regarding same (0.2); teleconference with Steffanie
Cook regarding cease and desist letters (0.2); attention to drafting of cease and
desist letters (0.2)”), fee request approved with Trustee stipulated reduction in
(Docs. 454 & 458). On December 3, 2020, Judge Stacey G. C. Jernigan approved
the fee request with a Trustee stipulated reduction. See id. (Docs. 454 & 458).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 1.53% higher in 2021
versus 2020 (a $15.96 difference).3 Adjusted only for such inflation from the year
this rate was billed and awarded (2020) to the end of 2021, that $1,040.00 hourly
rate for Ms. Regulski is $1,055.96.


2 https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=1070


3 https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=1040
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* Marc D. Katz (class of ’94): Mr. Katz works in Dallas and his
online biography says he handles “all types of employment disputes.” He billed for
work on a motion to dismiss in an alleged theft of trade secrets case in Dallas
involving former employees of a company, in Medoc Health Servs., LLC v. Nguyen,
No. DC-18-0822 (14th District Court for Dallas County, Texas). An invoice dated
March 23, 2018, lists his rate as $850.00 per hour. See Exhibit C attached to Plain-
tiff’s Motion for Attorneys’ Fees, filed on November 20, 2020, at p. 55. According
to the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 3.64% higher in 2021 versus 2018
(a $30.91 difference).4 Adjusted only for such inflation from the year of this rate
billed (2018) to the end of 2021, that $850.00 hourly rate for Mr. Katz is $880.91.

* Joel M. Fineberg (class of ’91): Mr. Fineberg works in Dallas.
On August 4, 2011, Judge Royal Furgeson determined that the rate of $650.00 per
hour was a reasonable one for work Mr. Fineberg did in a Dallas FLSA case. See
Spence v. Irving Holdings, Inc., No. 3:10-cv-142-F (Doc. 201) at p. 4, PageID 2414
(N.D. Tex. Dallas) (“Based on documentation provided by the parties, the number
of hours worked by Plaintiffs’ counsel and personnel, which is not disputed,
amounts to over 2,250 hours, including 500 hours at a $650/hour rate by Joel
Fineberg; . . . . The Court finds these rates to be reasonable and consistent with
hourly rates charged by comparable attorneys in the community for similar
work.”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 25.87% higher
in 2021 versus 2011 (a $168.17 difference).5 Adjusted only for such inflation from
the year of this rate awarded (2011) to the end of 2021, that $650.00 hourly rate
for Mr. Fineberg is $818.17.

* Matthew R. Scott (class of ’95): Mr. Scott works in Dallas and
his online biography notes he “has extensive experience trying employment cases
to judges and juries” and is a board-certified labor and employment law specialist.
On December 4, 2013, in an employment discrimination case, Mr. Scott testified
that his standard billing rate was $650.00 per hour. See Declaration of Matthew
R. Scott in Ratra v. Dean Foods Co., No. 3:12-cv-1854 (Doc. 85-1) at p. 3 ¶ 25,
PageID 2170 (N.D. Tex. Dallas) (“my standard hourly billing rate today at KLG is
$650”). On January 30, 2015, in an employment discrimination case, Mr. Scott
also testified that his standard billing rate was $650.00 per hour. See Declaration
of Matthew R. Scott in Patton v. ADESA Texas, Inc., No. 3:14-cv-3692 (Doc. 30-1)
at p. 2 ¶ 22, PageID 1108 (N.D. Tex. Dallas) (“My standard hourly billing rate at
KLG is $650, and that has been my billing rate since June 2012”). On January 16,

4 https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=850


5 https://www.officialdata.org/Legal-services/price-inflation/2011-to-2021?amount=650
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2014, Judge Phyllis Lister Brown ruled that $600.00 per hour was a reasonable
rate for Mr. Scott’s work in a disability discrimination in employment case. See
Green v. Dallas County Schools, No. DC-12-09857 (Order of January 16, 2014) at
p. 1 (162d District Court for Dallas County, Texas) (“The Court approves and
awards Plaintiff reasonable attorney’s fees of $337,750.00, which represents 404.9
hours of Matthew R. Scott’s time at a reasonable hourly rate of $600 per hour, . .
.”). According to the Consumer Price Index for legal services as generated by the
U.S. Bureau of Labor Statistics, the prices for legal services are 23.37% higher in
2021 versus 2012—the year Mr. Matthews testified that his standard hourly bill-
ing rate in 2012 was $650 while at former Judge Joe Kendall’s law firm (a $151.90
difference).6 Adjusted only for such inflation from 2012 to the end of 2021, that
$650.00 hourly rate for Mr. Scott is $801.90.

* Richard E. Norman (class of ’93): Mr. Norman works in Hou-
ston. On August 4, 2011, Judge Royal Furgeson determined the rate of $500.00
per hour was a reasonable one for work Mr. Norman did in a Dallas FLSA case.
See Spence v. Irving Holdings, Inc., No. 3:10-cv-142-F (Doc. 201) at p. 4, PageID
2414 (N.D. Tex. Dallas) (“Based on documentation provided by the parties, the
number of hours worked by Plaintiffs’ counsel and personnel, which is not dis-
puted, amounts to over 2,250 hours, including . . . ; 284.1 hours at a $500/hour
rate by Richard Norman. . . . The Court finds these rates to be reasonable and
consistent with hourly rates charged by comparable attorneys in the community
for similar work.”). According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
25.87% higher in 2021 versus 2011—the year Judge Furgeson determined that
$500 rate was reasonable (a $129.37 difference).7 Adjusted only for such inflation
from the year of this rate awarded (2011) to the end of 2021, that $500.00 hourly
rate for Mr. Norman is $629.37.

* Christine Neill (class of ’96): Ms. Neill works in Dallas. Her
online biography states that she “limits her practice to representing and advising
employee side clients in matters including unlawful termination.” On April 20,
2021, former Magistrate Judge Jeff Kaplan served as arbitrator and awarded
$600 for Ms. Neill’s work prevailing in a Dallas age discrimination in employment
case. See Golden v. Sunridge Mgmt. Group, Inc., Cause No. DC-19-09796 (95th
Judicial District Court for Dallas County, Texas) (Motion to Confirm Arbitration
Award and Brief in Support filed June 14, 2021) (Exhibit B: JAMS Arbitration
Final Award, JAMS Arbitration No. 1310024814 at p. 21: “the arbitrator deter-
mines that $600.00 is a reasonable hourly rate for Legler and Neill and $550.00

6 https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=650


7 https://www.officialdata.org/Legal-services/price-inflation/2011-to-2021?amount=500
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is a reasonable hourly rate for Cole.”). On July 22, 2021, Judge Monica Purdy
confirmed the arbitration award. See id. (Order Confirming Arbitration Award).

* Jane Legler (class of ’92): Ms. Legler works in Dallas. Her online
biography states that she “has extensive experience exclusively representing em-
ployees in employment related disputes.” On April 20, 2021, former Magistrate
Judge Jeff Kaplan served as arbitrator and awarded $600 for Ms. Legler’s work
prevailing in a Dallas age discrimination in employment case. See Golden v. Sun-
ridge Mgmt. Group, Inc., Cause No. DC-19-09796 (95th Judicial District Court for
Dallas County, Texas) (Motion to Confirm Arbitration Award and Brief in Support
filed June 14, 2021) (Exhibit B: JAMS Arbitration Final Award, JAMS Arbitration
No. 1310024814 at p. 21: “the arbitrator determines that $600.00 is a reasonable
hourly rate for Legler and Neill and $550.00 is a reasonable hourly rate for Cole.”).
On July 22, 2021, Judge Monica Purdy confirmed the arbitration award. See id.
(Order Confirming Arbitration Award).

* Barry S. Hersh (class of ’98): Mr. Hersh works in Dallas. His
online biography states that he “dedicates 100 percent of his practice to represent-
ing employees and small businesses in employment law matters.” On September
7, 2021, Judge David C. Godbey granted $595.00 per hour for Mr. Hersh’s work
in a Dallas FLSA case. See Boatright v. Grey, No. 21-cv-00835-N (Doc. 18) at p. 9,
PageID 180 (N.D. Tex. Dallas) (“shall have and recover from such Defendant rea-
sonable attorneys’ fees . . . attorney time at $595 per hour; . . .”). On December 28,
2015, Judge Barbara M. G. Lynn awarded $450.00 per hour for Mr. Hersh’s time
helping select a jury in a Dallas employment retaliation case—based, in part, on
the recommendation of Magistrate Judge David L. Horan. See Kostić v. Texas
A&M Univ.–Commerce, No. 3:10-cv-02265-M (Doc. 282) (N.D. Tex. Dallas) (Order
Accepting Findings and Recommendation of the United States Magistrate Judge);
id. (Doc. 281) at pp. 8 & 10, PageID 8217 & 8219 (“Findings, Conclusions, and
Recommendation of the United States Magistrate Judge”) (“Plaintiff seeks
$2,610.00 for work done by Barry S. Hersh of Hersh Law Firm, P.C., who helped
with jury selection and mock trial, for 5.8 hours at an hourly billing rate of
$450.00. . . . Defendant does not challenge the hourly rates charged by Plaintiff’s
attorneys, the costs of court, or postjudgment interest request.”).

* J. Derek Braziel (class of ’95): J. Derek Braziel works in Dallas.
On February 28, 2013, Judge Jane Boyle ruled that $495.00 per hour was “rea-
sonable” and “warranted” for J. Derek Braziel in a Dallas FLSA case, Owens v.
Marstek, LLC, No. 3:11-cv-01435-B (Doc. 26) (N.D. Tex. Dallas) (adopting fees re-
quested in Doc. 24). On February 20, 2014, Magistrate Judge David L. Horan
ruled that $495.00 per hour was “reasonable” for Mr. Braziel and “within the mar-
ket rate for attorneys handling this type of litigation in the Dallas area” in Farasat
v. RP Managing Partners, LLC, No. 3:13-cv-00270-L (Doc. 46) (N.D. Tex. Dallas)—
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a Dallas FLSA case. According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
20.06% higher in 2021 versus 2013—the year Judge Boyle ruled that $495.00 per
hour was reasonable (a $99.32 difference).8 Adjusted only for such inflation from
the year of Judge Boyle’s ruling (2013) to the end of 2021, that $495.00 hourly
rate for Mr. Braziel is $594.32.

* Kevin M. Duddlesten (class of ’94): Mr. Duddlesten works in
Dallas. His online biography states that he “has represented employers in all ar-
eas of labor and employment law for over 25 years.” In a Dallas intellectual prop-
erty case, United States Green Building Council v. Wardell, No. 3:14-cv-1541
(N.D. Tex. Dallas), he billed for work on a default judgment issue. See, e.g., id.
Doc. 52-7 at p. 17 (“Review motion for entry of default and supporting papers and
briefly confer with A. Pickell regarding same.”). The invoice for that work is dated
October 8, 2015. See id. Doc. 52-7 Exhibit E pp. 1–25. The invoice lists his rate as
$499.50. See id. Doc. 52-7 at p. 24, PageID 426. According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 15.71% higher in 2021 versus 2015 (a $78.46 differ-
ence).9 Adjusted only for such inflation from the year of this billing (2015) to the
end of 2021, that $499.50 hourly rate is $577.96.

* Robert E. McKnight, Jr. (class of ’92): Mr. McKnight’s online
biography notes that he practices in the areas of labor and employment law.
Though he is based in Victoria, Texas, on December 28, 2015, Judge Barbara M.
G. Lynn awarded $495.00 per hour for Mr. McKnight’s time working on attorneys’
fees issues in a Dallas employment retaliation case—based, in part, on the recom-
mendation of Magistrate Judge David L. Horan. See Kostić v. Texas A&M Univ.–
Commerce, No. 3:10-cv-02265-M (Doc. 282) (N.D. Tex. Dallas) (Order Accepting
Findings and Recommendation of the United States Magistrate Judge); id. (Doc.
281) at pp. 8 & 10, PageID 8217 & 8219 (“Findings, Conclusions, and Recommen-
dation of the United States Magistrate Judge”) (“Plaintiff seeks $13,711.50 for
work done by Robert E. McKnight, Jr., of counsel to the law firm of Marek, Griffin
& Knaupp, who helped prepare the motion for fees and costs, for 14.30 hours at
an hourly rate of $495.00 ($7,078.50) for work done prior to the filing of original
motion and 13.40 hours at an hourly rate of $495.00 ($6,633.00) for work done
after the original motion was filed. . . . Defendant does not challenge the hourly
rates charged by Plaintiff’s attorneys, the costs of court, or postjudgment interest
request.”). According to the Consumer Price Index for legal services as generated
by the U.S. Bureau of Labor Statistics, the prices for legal services are 15.71%

8 https://www.officialdata.org/Legal-services/price-inflation/2013-to-2021?amount=495


9 https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=499.50
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higher in 2021 versus 2015 (a $77.75 difference).10 Adjusted only for such inflation
from the year of this ruling (2015) to the end of 2021, that $495.00 hourly rate is
$572.75.

* Trey Branham (class of ’99): Mr. Branham works in Dallas. On
April 9, 2014, Judge Jorge Solis found a rate of $475.00 per hour was “reasonable
for this locality” for the work Mr. Branham did in prosecuting a Dallas FLSA case.
See Parker v. ABC Debt Relief, Ltd., No. 3:10-cv-1332-P (Doc. 241) at p. 4, PageID
7059 (N.D. Tex. Dallas) (“Plaintiffs also request that attorneys Branham and Jef-
frey Goldfarb be compensated at an hourly rate of $475, . . . . The Court finds that
the hourly rates requested by Plaintiffs are reasonable for this locality.”). Accord-
ing to the Consumer Price Index for legal services as generated by the U.S. Bureau
of Labor Statistics, the prices for legal services are 17.55% higher in 2021 versus
2014 (an $85.35 difference).11 Adjusted only for such inflation from the year of this
ruling (2014) to the end of 2021, that $475.00 hourly rate is $558.35.

* Jeffrey Goldfarb (class of ’94): Mr. Goldfarb works in Dallas. On
April 9, 2014, Judge Jorge Solis found a rate of $475.00 per hour was “reasonable
for this locality” for the work Mr. Goldfarb did in prosecuting a Dallas FLSA case.
See Parker v. ABC Debt Relief, Ltd., No. 3:10-cv-1332-P (Doc. 241) at p. 4, PageID
7059 (N.D. Tex. Dallas) (“Plaintiffs also request that attorneys Branham and Jef-
frey Goldfarb be compensated at an hourly rate of $475, . . . . The Court finds that
the hourly rates requested by Plaintiffs are reasonable for this locality.”). Accord-
ing to the Consumer Price Index for legal services as generated by the U.S. Bureau
of Labor Statistics, the prices for legal services are 17.55% higher in 2021 versus
2014 (an $83.35 difference).12 Adjusted only for such inflation from the year of this
ruling (2014) to the end of 2021, that $475.00 hourly rate is $558.35.

* Robert G. “Bobby” Lee (class of ’93): Though he now works
in Houston, Mr. Lee, a board-certified labor and employment law specialist, pre-
viously worked in North Texas. On June 14, 2016, Judge Reed O’Connor found a
rate of $495.00 per hour for Mr. Lee’s work in prosecuting a Fort Worth employ-
ment discrimination and retaliation case was “reasonable given the community
standards” and Mr. Lee’s experience. See Calahan v. BMJ Food Corp., No. 4:15-
cv-00251-O (Doc. 29) at p.12, PageID 177 (N.D. Tex. Fort Worth) (“Plaintiff’s at-
torney suggests that associate Megan Leigh Dixon rate of $295 dollars an hour
and Robert G. Lee’s rate at $495 an hour are reasonable hourly rates. . . . The

10 https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=495


11 https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=475


12 https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=475
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Court finds that Plaintiff’s rates are reasonable given the community standards
and Dixon and Lee’s experience.”). According to the Consumer Price Index for le-
gal services as generated by the U.S. Bureau of Labor Statistics, the prices for
legal services are 11.93% higher in 2021 versus 2016 (a $59.05 difference).13 Ad-
justed only for such inflation from the year of Judge O’Connor’s ruling (2016) to
the end of 2021, that $495.00 hourly rate is $554.05.

* Michael A. McCabe (class of ’98): Mr. McCabe works in Dallas.
His online biography states that he is an “Award-winning Trial Lawyer in Em-
ployment Litigation.” An invoice from his firm for some commercial litigation
shows his rate was $495.00 per hour in 2017. See Firm Invoice dated May 23,
2017, attached to Declaration of Michael A. McCabe accompanying motion for
award of fees filed on July 27, 2018, at pp. 284–87, in Valtech Servs., Inc. v. Cor-
nerstone Staffing Solutions, Inc., No. DC-16-10346 (116th Judicial District Court
for Dallas County, Texas). According to the Consumer Price Index for legal ser-
vices as generated by the U.S. Bureau of Labor Statistics, the prices for legal ser-
vices are 8.08% higher in 2021 versus 2017 (a $40.00 difference).14 Adjusted only
for such inflation from the year of this billing (2017) to the end of 2021, that
$495.00 hourly rate is $535.00.

* David L. Wiley (class of ’96): Mr. Wiley works in Dallas and
focuses his practice on employment law. On May 30, 2017, Judge Ken Molberg
(now Justice Molberg of the Dallas Court of Appeals) awarded Mr. Wiley $495.00
per hour for his work in helping select a jury in Clark v. Everlight Americas, Inc.,
No. DC-15-05538 (95th District Court for Dallas County, Texas)—a Dallas em-
ployment discrimination and retaliation case. On December 12, 2019, a Taylor
County jury in Abilene, Texas, awarded Mr. Wiley $500.00 per hour for his work
in prosecuting Chad Carter v. City of Abilene, Texas, No. 10138-D (350th Judicial
District Court for Taylor County, Texas)—an Abilene whistleblower case. See Jury
Verdict at pp. 6-8, Question 4 (“What is a reasonable attorneys’ fee for necessary
services provided in this case, stated in dollars and cents? . . . Answer: $764 hours
x $500 = $382,000”). On November 15, 2018, Judge Mark Greenberg ruled in a
bench trial on fees that Mr. Wiley’s requested rate of $495.00 per hour was rea-
sonable for his work in prosecuting Carpenter v. Southwest Housing Dev. Co., Inc.,
Cause No. CC-08-2072-E (Dallas County Court at Law No. 5) (read into record at
trial on fees)—a Dallas unlawful employment practices case involving refusal to
pay earned compensation. Judge Greenberg then applied a 1.5 multiplier to fees.
See id. According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 8.08% higher

13 https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=495


14 https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=495
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in 2021 versus 2017—the year of the 2017 Everlight decision awarding a $495 per
hour rate (a $40.00 difference).15 Adjusted only for such inflation from the year of
this decision to the end of 2021, that $495.00 hourly rate is $535.00.

* Amy E. Gibson (class of ’95): Ms. Gibson works in Dallas and
focuses her practice on employment law. On May 30, 2017, Judge Ken Molberg
(now Justice Molberg of the Dallas Court of Appeals) awarded Ms. Gibson $495.00
per hour for her work in helping select a jury in Clark v. Everlight Americas, Inc.,
No. DC-15-05538 (95th District Court for Dallas County, Texas)—a Dallas em-
ployment discrimination and retaliation case. On December 28, 2015, Judge Bar-
bara M. G. Lynn awarded $450.00 per hour for Ms. Gibson’s time helping select a
jury in a Dallas employment retaliation case—based, in part, on the recommen-
dation of Magistrate Judge David L. Horan. See Kostić v. Texas A&M Univ.–Com-
merce, No. 3:10-cv-02265-M (Doc. 282) (N.D. Tex. Dallas) (Order Accepting Find-
ings and Recommendation of the United States Magistrate Judge); id. (Doc. 281)
at pp. 7-8 & 10, PageID 8216-17 & 8219 (“Findings, Conclusions, and Recommen-
dation of the United States Magistrate Judge”) (“Plaintiff seeks $720.00 for work
done by Amy E. Gibson of Gibson Wiley PLLC, who helped with jury selection, for
1.6 hours of work at an hourly rate of $450.00. . . . Defendant does not challenge
the hourly rates charged by Plaintiff’s attorneys, the costs of court, or postjudg-
ment interest request.”). On December 12, 2019, a Taylor County jury in Abilene,
Texas, awarded Ms. Gibson $500.00 per hour for her work as lead counsel in pros-
ecuting Chad Carter v. City of Abilene, Texas, No. 10138-D (350th Judicial District
Court for Taylor County, Texas)—an Abilene whistleblower case. See Jury Verdict
at pp. 6-8, Question 4 (“What is a reasonable attorneys’ fee for necessary services
provided in this case, stated in dollars and cents? . . . Answer: $764 hours x $500
= $382,000”). On November 15, 2018, Judge Mark Greenberg ruled in a bench
trial on fees that Ms. Gibson’s requested rate of $495.00 per hour was reasonable
for her work as lead counsel prosecuting Carpenter v. Southwest Housing Dev. Co.,
Inc., Cause No. CC-08-2072-E (Dallas County Court at Law No. 5) (read into rec-
ord at trial on fees)—a Dallas unlawful employment practices case involving re-
fusal to pay earned compensation. Judge Greenberg then applied a 1.5 multiplier
to fees. According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 8.08% higher
in 2021 versus 2017—the year of the 2017 Everlight decision awarding a $495 per
hour rate (a $40.00 difference).16 Adjusted only for such inflation from the year of
this decision to the end of 2021, that $495.00 hourly rate is $535.00.




15 https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=495


16 https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=495
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* Douglas B. Welmaker (class of ’93): Mr. Welmaker is based
in Austin and his online biography notes that for the past ten years he has limited
his practice to FLSA cases. On January 10, 2022, Magistrate Judge Renee Harris
Toliver found that $525.00 per hour was a reasonable rate for Mr. Welmaker’s
time prosecuting a Dallas FLSA case. See Hardy v. SDM Hospitality, LLC, No.
20-cv-3157-S-BK (Doc. 11) at p. 11, PageID 87(N.D. Tex. Dallas) (“Further, the
undersigned finds that counsel’s requested hourly rate of $525.00 is reasonable
for an attorney practicing in the field of employment law with comparable experi-
ence.”). In 2015, in three different FLSA cases, judges in Dallas ruled $400.00 per
hour was a reasonable rate for his work. See Mauricio v. Phillip Gaylen, P.C., No.
3:14-cv-00064-L (Doc. 41) at pp. 3-4, PageID 286-87 (N.D. Tex. Dallas Dec. 3, 2015)
(Magistrate Judge Irma Ramirez) (“Here, Plaintiffs seek hourly rates of $400 for
Douglas B. Welmaker, . . . . The hourly rates are consistent with the prevailing
market rates in this area, . . . .”), report and recommendation adopted in (Doc. 44),
2016 WL 1273337, 2016 Wage & Hour Cas. 2d (BNA) 99,007 (N.D. Tex. Dallas
Mar. 30, 2016) (Judge Sam A. Lindsay); Henderson v. Fenwick Protection Inc., No.
3:14-cv-00505 (Doc. 56) at pp. 13-14, PageID 284-85 (N.D. Tex. Dallas Nov. 23,
2015) (Magistrate Judge David L. Horan) (“According to the Welmaker Affidavit,
Welmaker has an hourly billing rate of $400.00, . . . . Under the particular circum-
stances here, the undersigned finds that both Welmaker and Michael’s rates are
consistent with the prevailing rates in Dallas County for attorneys with their re-
spective experience, skill, and ability.”), report and recommendation adopted in
(Doc. 58) (N.D. Tex. Dallas Dec. 28, 2015) (Judge Barbara M. G. Lynn); Robinson
v. Nexion Health at Terrell, Inc., No. 3:12-cv-03853-L-BK (Doc. 56) at pp. 3 & 5,
PageID 987 & 989 (N.D. Tex. Dallas Feb. 11, 2015) (Magistrate Judge Renee Har-
ris Toliver) (“Plaintiff seeks reimbursement for attorneys: (1) Doug Welmaker at
a rate of $400.00 per hour; . . . . the undersigned finds such rates to be reasonable
based on the Court’s familiarity with hourly rates charged by attorneys of similar
experience and skill.”), report and recommendation rejected on other grounds (Doc.
57).

* Jason Smith (class of ’92): Mr. Smith works in Fort Worth. His
online biography notes that he “has developed an expertise as a trial lawyer han-
dling employment, personal injury and insurance cases.” On July 23, 2019, Judge
Dale Tillery ruled that $500.00 per hour was a “reasonable” hourly fee for his work
in prosecuting a Dallas employment retaliation case. See Findings of Facts and
Conclusions of Law in Benavides v. Macy’s Retail Holdings, Inc., No. DC-18-10796
at p. 4, ¶ 42 (134th Judicial District Court for Dallas County, Texas) (“$500 is a
reasonable hourly fee for Jason Smith in this case.”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 2.64% higher in 2021 versus 2019 (a $13.20
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difference).17 Adjusted only for such inflation from the year of this decision (2019)
to the end of 2021, that $500.00 hourly rate is $513.20.

* Howard L. Steele, Jr. (class of ’96): Mr. Steele’s online biog-
raphy shows he works in Houston and practices labor and employment law. On
March 8, 2017, Judge Reed O’Connor ruled $470.00 per hour was a “reasonable”
rate for Mr. Steele’s work in a Forth Worth FLSA. See Pereyra v. Navika Capital
Group LLC, No. 4:15-CV-00615-O (Doc. 83) at p. 4, PageID 3298 (N.D. Tex. Fort
Worth) (“In connection with their work performed in the Western District case
and this instant case Pereyra seeks hourly rates of $470.00 for partner Howard
Steele; . . . . The Court finds that these rates are reasonable.”). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 7.87% higher in 2021 versus 2017 (a
$37.98 difference).18 Adjusted only for such inflation from the year of Judge O’Con-
nor’s finding (2017) to the end of 2021, that $470.00 hourly rate is $507.98.

* Peter A. Milianti (class of ’97): Mr. Milianti’s online biography
notes his practice focuses on labor and employment litigation. Though Mr. Mil-
ianti is based in Chicago, on December 23, 2015, Magistrate Judge David L. Horan
found $437.00 per hour was within a reasonable range for Mr. Milianti’s work in
a Dallas employment discrimination case. See McAfee v. Schneider Nat’l Carriers,
Inc., No. 3:14-cv-1500-P (Doc. 52) at p. 12, PageID 200 (N.D. Tex. Dallas) (“The
Court finds Mr. Milianti’s $437.00 hourly rate to be within the proper range for
the prevailing market rate in this legal community for similar services by lawyers
of reasonably comparable skills, experience, and reputation”). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 15.71% higher in 2021 versus 2015 (a
$68.64 difference).19 Adjusted only for such inflation from the year of Magistrate
Judge Horan’s finding (2015) to the end of 2021, that $437.00 hourly rate is
$505.64.

* David Langenfeld (class of ’92): Mr. Langenfeld is based in
Austin and his online biography notes he is a board-certified labor and employ-
ment law specialist. In 2015, Magistrate Judge Irma Ramirez recommended his
firm receive $400.00 per hour for Mr. Langenfeld’s work in prosecuting an FLSA
case in Dallas, and Judge Sam A. Lindsay approved that recommendation. See
Mauricio v. Phillip Gaylen, P.C., No. 3:14-cv-00064-L (Doc. 41) at p. 3, PageID 286
(N.D. Tex. Dallas Dec. 3, 2015) (Magistrate Judge Irma Ramirez) (“Here,

17 https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=500


18 https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=470


19 https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=437
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Plaintiffs seek hourly rates of $400 for Douglas B. Welmaker, $400 for David
Langenfeld, and . . . . The hourly rates are consistent with the prevailing market
rates in this area, . . . .”), report and recommendation adopted in (Doc. 44), 2016
WL 1273337, 2016 Wage & Hour Cas. 2d (BNA) 99,007 (N.D. Tex. Dallas Mar. 30,
2016) (Judge Sam A. Lindsay). According to the Consumer Price Index for legal
services as generated by the U.S. Bureau of Labor Statistics, the prices for legal
services are 15.71% higher in 2021 versus 2015 (a $62.83 difference).20 Adjusted
only for such inflation from the year of Magistrate Judge Ramirez’s ruling to the
end of 2021, that $400.00 hourly rate is $462.83.




20 https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=400
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Classes of the 2000s


 26                    lawyers listed




 $559.13                                average rate




 $501.37                                median rate
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                                          Classes of the 2000s:
                                               The Rates

         Crystal Jamison                    Mike                    Christine
                   Woods                  Gaddis                      Hopkins
               (JD 2009)                (JD 2009)                   (JD 2005)


                Isabel A.               Joseph H.                     John M.
                  Crosby                 Gillespie                     Barcus
               (JD 2005)                (JD 2002)                   (JD 2002)


                  Micala                     Kyla                 M. Jeanette
               Bernardo                      Cole                      Fedele
               (JD 2007)                (JD 2001)                  (JD 2003)


             Michael W.                     Brent                   Gavin S.
              Massiatte                   Walker                   Martinson
              (JD 2000)                 (JD 2004)                  (JD 2005)


                Stuart L.                Kimberly                    Monica
                 Cochran                 Williams                  Velazquez
               (JD 2000)                (JD 2005)                  (JD 2002)


          Danielle Alexis                Brandon                      Corinna
              Matthews                     Shelby                    Chandler
               (JD 2000)                (JD 2004)                   (JD 2009)


                Karen C.                 James D.                        Todd
                 Denney                   Sanford                    Goldberg
               (JD 2002)                (JD 2005)                   (JD 2009)


                   Brian                   Ashley                    Jamie J.
                 Lauten                  Tremain                       McKey
               (JD 2001)                (JD 2008)                   (JD 2006)


             John Roger                   Carmen
                Herring                    Artaza
              (JD 2008)                 (JD 2006)
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Classes of the 2000s:
     The Work


 * Crystal Jamison Woods (class of ’09): Ms. Woods works in
 Dallas and her online biography states that she “has a diverse legal practice in-
 volving labor and employment . . . with a primary focus on litigating disputes and
 counseling on matters implicating trade secrets, restrictive covenants and fiduci-
 ary duties.” She billed at the rate of $800.00 per hour for work in a Dallas bank-
 ruptcy case. See In re: 4 West Holdings, Inc., No. 18-30777 (Doc. 1429) at pp. 5, 9,
 69, 72, 74, 88, 149, 166 (Bankr. N.D. Tex. Dallas) (Summary of Combined Third
 Interim and Final Application of DLA Piper LLP (US) for Allowance of Compen-
 sation for Services Rendered and Reimbursement of Expenses Incurred as Coun-
 sel to the Debtors and Debtors in Possession for the Interim Period from Septem-
 ber 1, 2018 through February 13, 2019 and the final period from March 6, 2018
 through February 13, 2019) (for work such as “evaluate and advise on dispute
 relating to deposition location,” “attention to issues relating to motion to compel,”
 “assist with deposition preparations,” “assist with hearing preparation,” “atten-
 tion to case status and anticipated litigation needs”) (firm invoices dated February
 6, 2019, and February 7, 2019). On May 2, 2019, Judge Harlin D. Hale approved
 the request for fees. See id. (Doc. 1485). Ms. Woods billed for work in an alleged
 theft of trade secrets case in Dallas involving former employees of a company, in
 Medoc Health Servs., LLC v. Nguyen, No. DC-18-0822 (14th District Court for
 Dallas County, Texas). An invoice dated March 23, 2018, lists her rate as $685.00
 per hour. See Exhibit C attached to Plaintiff’s Motion for Attorneys’ Fees in that
 case filed on November 20, 2020, at p. 55. On May 24, 2021, Judge Eric V. Moyé
 awarded fees based, in part, on this rate for Ms. Woods’s work. See id. (Revised
 Order) at p. 2 (“this Court finds that Plaintiffs incurred legal fees in the amount
 of $261,632.82 related to . . . . The Court finds that Plaintiffs’ recovery of these
 fees is legally authorized, that the requested attorneys’ fees were reasonable and
 necessary for Plaintiffs’ legal representation, . . . .”). According to the Consumer
 Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
 the prices for legal services are 2.64% higher in 2021 versus 2019—a $21.12 dif-
 ference from the $800 rate listed.1 Adjusted only for such inflation from the year



 1   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=800
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this rate was court-approved to the end of 2021, that $800.00 hourly rate for Ms.
Woods is $821.12.

* Isabel A. Crosby (class of ’05): Ms. Crosby works in Dallas and
her prior online biography says she “works closely with employers at all stages of
the employment relationship.” She billed for work on an alleged theft of trade
secrets case in Dallas involving former employees of a company, in Medoc Health
Servs., LLC v. Nguyen, No. DC-18-0822 (14th District Court for Dallas County,
Texas). An invoice dated March 7, 2019, lists her rate as $775.00 per hour. See
Exhibit C attached to Plaintiff’s Motion for Attorneys’ Fees in that case filed on
November 20, 2020, at p. 138. On May 24, 2021, Judge Eric V. Moyé awarded fees
based, in part, on this rate for Ms. Crosby’s work. See id. (Revised Order) at p. 2
(“this Court finds that Plaintiffs incurred legal fees in the amount of $261,632.82
related to . . . . The Court finds that Plaintiffs’ recovery of these fees is legally
authorized, that the requested attorneys’ fees were reasonable and necessary for
Plaintiffs’ legal representation, . . . .”). According to the Consumer Price Index for
legal services as generated by the U.S. Bureau of Labor Statistics, the prices for
legal services are 2.64% higher in 2021 versus 2019 (a $20.46 difference).2 Ad-
justed only for such inflation from the year this rate was billed in the relevant
Dallas community to the end of 2021, that $775.00 hourly rate for Ms. Crosby is
$795.46.

* Micala Bernardo (class of ’07): Ms. Bernardo works in Dallas
and her online biography states that her “practice focuses on counseling clients
on labor and employment matters . . . brought by individuals or on a class-wide
basis.” She billed at the rate of $740.00 per hour for work in a Dallas bankruptcy
case. See In re: 4 West Holdings, Inc., No. 18-30777 (Doc. 1429) at pp. 6, 181, 191
(Bankr. N.D. Tex. Dallas) (Summary of Combined Third Interim and Final Appli-
cation of DLA Piper LLP (US) for Allowance of Compensation for Services Ren-
dered and Reimbursement of Expenses Incurred as Counsel to the Debtors and
Debtors in Possession for the Interim Period from September 1, 2018 through
February 13, 2019 and the final period from March 6, 2018 through February 13,
2019) (for work such as “attention to review of exhibits for deposition”). On May
2, 2019, Judge Harlin D. Hale approved the request for fees. See id. (Doc. 1485).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 2.64% higher in 2021
versus 2019—a $19.53 difference from the $740.00 rate listed.3 Adjusted only for
such inflation from the year this rate was court-approved to the end of 2021, that
$740.00 hourly rate for Ms. Bernardo is $759.53.

2   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=775

3   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=740
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* Michael W. Massiatte (class of ’00): Mr. Massiatte works in
Dallas and his online biography states that he “focuses his practice on labor and
employment matters[.]” He billed at the rate of $740.00 per hour for work in a
Dallas bankruptcy case. See In re: 4 West Holdings, Inc., No. 18-30777 (Doc. 1429)
at pp. 9, 181 (Bankr. N.D. Tex. Dallas) (Summary of Combined Third Interim and
Final Application of DLA Piper LLP (US) for Allowance of Compensation for Ser-
vices Rendered and Reimbursement of Expenses Incurred as Counsel to the Debt-
ors and Debtors in Possession for the Interim Period from September 1, 2018
through February 13, 2019 and the final period from March 6, 2018 through Feb-
ruary 13, 2019) (e.g., “Attention to review of exhibits for deposition”). Judge
Harlin D. Hale approved the request for fees. See id. at Doc. 1485 (May 2, 2019).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 2.64% higher in 2021
versus 2019—an $19.53 difference from the $740.00 rate listed.4 Adjusted only for
such inflation from the year this rate was court-awarded to the end of 2021, that
$740.00 hourly rate for Mr. Massiatte is $759.53.

* Stuart L. Cochran (class of ’00): Mr. Cochran works in Dallas.
On August 4, 2011, Judge Royal Furgeson determined the rate of $600.00 per hour
was a reasonable one for work Mr. Cochran did in a Dallas FLSA case. See Spence
v. Irving Holdings, Inc., No. 3:10-cv-142-F (Doc. 201) at p. 4, PageID 2414 (N.D.
Tex. Dallas) (“Based on documentation provided by the parties, the number of
hours worked by Plaintiffs’ counsel and personnel, which is not disputed, amounts
to over 2,250 hours, including . . . ; 750 hours at a $600/hour rate by Stuart
Cochran; . . . . The Court finds these rates to be reasonable and consistent with
hourly rates charged by comparable attorneys in the community for similar
work.”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 25.87% higher
in 2021 versus 2011 (a $155.24 difference).5 Adjusted only for such inflation from
the year of Judge Ferguson’s determination (2011) to the end of 2021, that $600.00
hourly rate for Mr. Cochran is $755.24.

* Danielle Alexis Matthews (class of ’00): Ms. Matthews
works in Dallas and her online biography notes “[h]er practice focuses on repre-
senting employers in workplace law matters, including preventive advice and
counseling.” In a Dallas FLSA case, she submitted a declaration in which she
noted that in 2016 she billed her client for work in that case at the rate of $655.00
per hour. See Declaration of Danielle Alexis Matthews in Areizaga v. ADW Corp.,

4   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=740

5   https://www.officialdata.org/Legal-services/price-inflation/2011-to-2021?amount=600
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No. 3:14-cv-2899 (Docs. 94-1 & 94-2) (N.D. Tex. Dallas). See generally Brief in
Support of ADW Corporation’s Motion to Dismiss Plaintiff’s Original Complaint
(Doc. 7) (discussing nature of the case). Attached to Ms. Matthews’s declaration
are law firm billing records. Those billing records, Doc. 94-2 at p. 6, list Ms. Mat-
thews as having billed at a rate of $655.00 per hour in an invoice dated February
10, 2016. Magistrate Judge David L. Horan declined to grant this requested rate.
See Doc. 130 [Memorandum Opinion and Order] at p. 12. But it was a rate actually
billed for employment work in the North Texas community. See Doc. 94-1 at p. 3,
PageID 1051 (“Fulbright charged ADW its standard hourly rate for each of the
attorneys who worked on the matter . . . ”) and 94-2 at p. 6, PageID 1057 (listing
$655 as the rate for Ms. Matthews on the firm’s February 10, 2016, invoice). Ac-
cording to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 11.93% higher in 2021
versus 2016 (a $78.14 difference).6 Adjusted only for such inflation from the year
this rate was billed (2016) to the end of 2021, that $655.00 hourly rate for Ms.
Matthews is $733.14.

* Karen C. Denney (class of ’02): Ms. Denney works in Dallas and
her online biography notes she “is a partner in her firm’s Labor and Employment
Practice Group.” In a Dallas employment discrimination case, her declaration and
accompanying client invoice dated April 14, 2015, show her rate charged for work
billed in that case was $565.00 per hour (prior to an across-the-board 10% dis-
count). See Garofalo v. Taco Bueno, LP, No. 3:14-cv-02616-M-BH (Doc. 43) at p.
11, PageID 377 (N.D. Tex. Dallas) (for work such as “revise and finalize designa-
tion of expert witnesses for filing” and “revise required scheduling proposal”). Ac-
cording to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 15.71% higher in 2021
versus 2015 (an $88.75 difference).7 Adjusted only for such inflation from the year
this rate was billed (2015) to the end of 2021, that $565.00 hourly rate for Ms.
Denney is $653.75.

* Brian Lauten (class of ’01): Mr. Lauten works in Dallas. On July
27, 2010, Judge Jane Boyle awarded Mr. Lauten a rate of $500.00 per hour rate
for his work in prosecuting a Dallas employment retaliation case. See Nassar v.
University of Texas Southwestern Medical Center, No. 3:09-CV-1337 (Doc. 160) at
pp. 8–10, PageID 2245–47 (N.D. Tex. Dallas) (“Defendant argues that Dr. Nassar
has not met his burden and that the rates requested ($400 per hour for Mr.
Walker, $500 per hour for Mr. Lauten, $500 per hour for Ms. Lauten, and $750
per hour for Ms. Aldous) are excessive. . . . In light of the degree of success

6   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=655

7   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=565
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obtained and the evidence submitted, the Court finds that the lodestar may be
calculated using the requested rates, with one exception [applicable to Ms.
Lauten].”), reversed on other grounds. According to the Consumer Price Index for
legal services as generated by the U.S. Bureau of Labor Statistics, the prices for
legal services are 29.93% higher in 2021 versus 2010 (a $149.67 difference).8 Ad-
justed only for such inflation from the year of Judge Boyle’s award (2010) to the
end of 2021, that $500.00 hourly rate for Mr. Lauten is $649.67.

* John R. Herring (class of ’08): Mr. Herring works in Dallas and
his online biography notes he “has handled Fair Labor Standards Act (FLSA) col-
lective actions and state law class actions across the country, and regularly assists
companies evaluating compliance with state and federal employment laws and
regulations.” In a Dallas FLSA case, a declaration was submitted which noted
that in 2016, work he did was billed to a client at the rate of $555.00 per hour. See
Declaration of Danielle Alexis Matthews in Areizaga v. ADW Corp., No. 3:14-cv-
2899 (Docs. 94-1 & 94-2) (N.D. Tex. Dallas). See generally Brief in Support of ADW
Corporation’s Motion to Dismiss Plaintiff’s Original Complaint (Doc. 7) (discuss-
ing nature of the case). Attached to the declaration are law firm billing records
that show Mr. Herring as having billed at a rate of $555.00 per hour in invoices
dated February 10, 2016, March 15, 2016, and April 12, 2016. See Doc. 94-2 at pp.
6, 10, 14 (for work such as “conference with litigation team” and “prepare ADW
Corporation’s brief seeking discovery of Plaintiff’s electronically stored infor-
mation”). Magistrate Judge David L. Horan declined to grant this requested rate.
See Doc. 130 [Memorandum Opinion and Order] at pp. 12–13. But it was a rate
actually billed for employment work in the North Texas community. See Doc. 94-
1 at p. 3, PageID 1051 (“Fulbright charged ADW its standard hourly rate for each
of the attorneys who worked on the matter . . . ”) and 94-2 at pp. 6, 10, 14 (listing
“$555.00” as the rate for Mr. Herring on several of his firm’s invoices). According
to the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 11.93% higher in 2021 versus
2016 (a $66.21 difference).9 Adjusted only for such inflation from the year this rate
was billed (2016) to the end of 2021, that $555.00 hourly rate for Mr. Herring is
$621.21.

* Mike Gaddis (class of ’09): Mr. Gaddis works in Dallas. His online
biography notes that he has represented companies and individuals in employ-
ment disputes. In a Dallas alleged breach of employment agreement against a
former employee of a company, there was testimony on January 28, 2014, that
Mr. Gaddis’ hourly rate for work on that case was $485.00 per hour. See

8   https://www.officialdata.org/Legal-services/price-inflation/2010-to-2021?amount=500

9   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=555
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Transcript of trial testimony of Stephen E. Fox on January 28, 2014 in Highland
Capital Management, L.P. v. Daugherty, No. 05-14-01215-CV (68th Judicial Dis-
trict Court for Dallas County, Texas) at p. 85 (“Q. Okay. And what hourly rate are
you charging Highland for Mr. Gaddis’s work in this case? A. Whatever it says in
the report, is it 480? Q. 485, I believe. A. 485, yes, sir.”). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 17.55% higher in 2021 versus 2014 (an
$85.11 difference).10 Adjusted only for such inflation from the year of this testi-
mony (2014) to the end of 2021, that $485.00 hourly rate for Mr. Gaddis is $570.11.

* Joseph H. Gillespie (class of ’02): Mr. Gillespie works in Dallas.
His online biography notes he “focuses his practice on labor and employment ad-
vice, litigation, and trials.” On August 24, 2012, Judge Ed Kinkeade ruled that—
for Mr. Gillespie’s work in a Dallas FLSA case—the rate of $450.00 per hour was
“consistent with the hourly wages of similarly situated attorneys in the Dallas
area.” See Black v. Settlepou, P.C., No. 3:10-CV-1418-K (Doc. 133) at p. 8, PageID
2610 (N.D. Tex. Dallas) (“Although Defendant SettlePou, P.C. contests the rea-
sonableness of Betty Black’s counsels’ hourly rates, the Court has determined that
hourly rates of $450 per hour for Mr. Gillespie and $375 per hour for Mr. Sanford
are consistent with the hourly wages of similarly situated attorneys in the Dallas
area.”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 23.37% higher
in 2021 versus 2012 (a $105.16 difference).11 Adjusted only for such inflation from
the year of Judge Kinkeade’s determination (2012) to the end of 2021, that
$450.00 hourly rate for Mr. Gillespie is $555.16.

* Kyla Cole (class of ’01): MV. Cole works in Dallas. Her online biog-
raphy notes that she started her career representing employees in discrimination
litigation and continues to represent employees in discrimination litigation. On
April 20, 2021, former Magistrate Judge Jeff Kaplan served as arbitrator and
awarded $550.00 for Ms. Cole’s work prevailing in a Dallas age discrimination in
employment case. See Golden v. Sunridge Mgmt. Group, Inc., Cause No. DC-19-
09796 (95th Judicial District Court for Dallas County, Texas) (Motion to Confirm
Arbitration Award and Brief in Support filed June 14, 2021) (Exhibit B: JAMS
Arbitration Final Award, JAMS Arbitration No. 1310024814 at p. 21: “the arbi-
trator determines that $600.00 is a reasonable hourly rate for Legler and Neill
and $550.00 is a reasonable hourly rate for Cole.”). On July 22, 2021, Judge Mon-
ica Purdy confirmed the arbitration award. See id. (Order Confirming Arbitration
Award).

10   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=555

11   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=450
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* Brent Walker (class of ’04): Mr. Walker works in Dallas. On July
27, 2010, Judge Jane Boyle awarded Mr. Walker a rate of $400.00 per hour for his
work in prosecuting a Dallas employment retaliation case. See Nassar v. Univer-
sity of Texas Southwestern Medical Center, No. 3:09-CV-1337 (Doc. 160) at pp. 8–
10, PageID 2245–47 (N.D. Tex. Dallas) (“Defendant argues that Dr. Nassar has
not met his burden and that the rates requested ($400 per hour for Mr. Walker,
$500 per hour for Mr. Lauten, $500 per hour for Ms. Lauten, and $750 per hour
for Ms. Aldous) are excessive. . . . In light of the degree of success obtained and
the evidence submitted, the Court finds that the lodestar may be calculated using
the requested rates, with one exception [applicable to Ms. Lauten].”), reversed on
other grounds. According to the Consumer Price Index for legal services as gener-
ated by the U.S. Bureau of Labor Statistics, the prices for legal services are
29.93% higher in 2021 versus 2010 (a $119.74 difference).12 Adjusted only for such
inflation from the year of Judge Boyle’s fee ruling to the end of 2021, that $400.00
hourly rate for Mr. Walker is $519.74.

* Kimberly F. Williams (class of ’05): Ms. Williams works in
Dallas. Her online biography states that she “focuses her practice exclusively on
labor and employment law.” In 2021, Ms. Williams billed at a rate of $483.00 per
hour for work defending against a pro se plaintiff. See Montgomery v. Southern
Methodist Univ., No. 3:20-cv-03521-E-BN (Doc. 18-1) at pp. 14-15, PageID 154-55
(N.D. Tex. Dallas) (listing rate as “$483.00” and describing work such as “Review
and revise Reply in Support of Motion to Dismiss or, in the Alternative, Re-
mand.”). On September 8, 2021, Magistrate Judge David L. Horan recommended
fees be awarded to her client for work on a remand issue, but at the rate of $459.17
for Ms. Williams’s work—using an average for her rates over different years. See
id. (Doc. 22) at pp. 11-12 (“SMU seeks to recover fees averaging $459.17 an hour
for Ms. Williams, . . . the undersigned finds that these rates are reasonable and
within the market rate for attorneys handling this type of litigation in the Dallas
area.”). On October 4, 2021, Judge Ada Brown adopted that recommendation. See
id. (Doc. 23).

* Brandon Shelby (class of ’04): Mr. Shelby works in Sherman.
His online biography states that he litigates “on behalf of municipalities and gov-
ernment entities in a wide variety of disputes ranging from employment to prop-
erty matters, . . . .” In 2015, in an alleged defamation case brought by a former
government employee in Wichita Falls, Mr. Shelby testified that his standard
hourly rate is $400.00 per hour. See Declaration of Brandon Shelby in Scruggs v.
City of Bowie, No. 7:14-cv-00123 (Doc. 60) at pp. 32–35, PageID 797 (N.D. Tex.
Wichita Falls) (“My standard rate is $400 per hour for my services”). According to

12   https://www.officialdata.org/Legal-services/price-inflation/2010-to-2021?amount=400
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the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 15.71% higher in 2021 versus
2015 (a $62.83 difference).13 Adjusted only for such inflation from the year of this
testimony (2015) to the end of 2021, that $400.00 hourly rate for Mr. Shelby is
$462.83.

* Jim Sanford (class of ’05): Mr. Sanford works in Dallas. His online
biography notes he “counsels and advocates for clients in the area of labor and
employment law.” On August 24, 2012, Judge Ed Kinkeade ruled that—for Mr.
Sanford’s work in a Dallas FLSA case—the rate of $375.00 per hour was “con-
sistent with the hourly wages of similarly situated attorneys in the Dallas area.”
See Black v. Settlepou, P.C., No. 3:10-CV-1418-K (Doc. 133) at p. 8, PageID 2610
(N.D. Tex. Dallas) (“Although Defendant SettlePou, P.C. contests the reasonable-
ness of Betty Black’s counsels’ hourly rates, the Court has determined that hourly
rates of $450 per hour for Mr. Gillespie and $375 per hour for Mr. Sanford are
consistent with the hourly wages of similarly situated attorneys in the Dallas
area.”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 23.37% higher
in 2021 versus 2012 (an $87.63 difference).14 Adjusted only for such inflation from
the year of Judge Kinkeade’s determination (2012) to the end of 2021, that
$375.00 hourly rate for Mr. Sanford is $462.63.

* Ashley Tremain (class of ’08): Ms. Tremain works in Dallas. Her
online biography notes that she “represent[s] individuals in all types of employ-
ment disputes, including informal negotiations, trial in the state and federal
courts, arbitrations, appeals, and administrative proceedings before the TWC,
EEOC, and NLRB.” On June 27, 2019, Arbitrator Karen Fitzgerald awarded Ms.
Tremain a rate of $450.00 per hour for work she did in prosecuting a Dallas Equal
Pay Act case. See Gardner v. Apple Texas Restaurants, Inc., AAA Case No. 01-17-
0001-6323 at pp. 2-3 (American Arbitration Association Employment Arbitration
Tribunal) (“I hereby adopt the parties’ Stipulation on the Terms of the Final
Award as the Final Award in the case, and issue the following award against Re-
spondent Apple Texas Restaurants, Inc. and in favor of Claimant Ryan Gardner:
. . . $110,924.37 award of attorney fees to Tremain Artaza, PLLC for 246.4986
attorney hours at a rate of $450 per hour”). According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
for legal services are 2.64% higher in 2021 versus 2019 (an $11.88 difference).15


13   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=400

14   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=375

15   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=450
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Adjusted only for such inflation from the year of this ruling (2019) to the end of
2021, that $450.00 hourly rate for Ms. Tremain is $461.88.

* Carmen Artaza (class of ’06): Ms. Artaza works in Dallas and
her online biography notes that she has “practiced employment law exclusively
since graduating law school in 2006.” On June 27, 2019, Arbitrator Karen Fitz-
gerald awarded Ms. Artaza a rate of $450.00 per hour for work she did in prose-
cuting a Dallas Equal Pay Act case. See Gardner v. Apple Texas Restaurants, Inc.,
AAA Case No. 01-17-0001-6323 at pp. 2-3 (American Arbitration Association Em-
ployment Arbitration Tribunal) (“I hereby adopt the parties’ Stipulation on the
Terms of the Final Award as the Final Award in the case, and issue the following
award against Respondent Apple Texas Restaurants, Inc. and in favor of Claim-
ant Ryan Gardner: . . . $110,924.37 award of attorney fees to Tremain Artaza,
PLLC for 246.4986 attorney hours at a rate of $450 per hour”). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 2.64% higher in 2021 versus 2019 (a
$11.88 difference).16 Adjusted only for such inflation from the year of this ruling
(2019) to the end of 2021, that $450.00 hourly rate for Ms. Artaza is $461.88.

* Christine Hopkins (class of ’05): Ms. Hopkins works in Dallas.
Her online biography notes she focuses her practice on employment law. On June
27, 2019, Arbitrator Karen Fitzgerald awarded Ms. Hopkins a rate of $450.00 per
hour for work she did in prosecuting a Dallas Equal Pay Act case. See Gardner v.
Apple Texas Restaurants, Inc., AAA Case No. 01-17-0001-6323 at pp. 2-3 (Ameri-
can Arbitration Association Employment Arbitration Tribunal) (“I hereby adopt
the parties’ Stipulation on the Terms of the Final Award as the Final Award in
the case, and issue the following award against Respondent Apple Texas Restau-
rants, Inc. and in favor of Claimant Ryan Gardner: . . . $110,924.37 award of at-
torney fees to Tremain Artaza, PLLC for 246.4986 attorney hours at a rate of $450
per hour”). According to the Consumer Price Index for legal services as generated
by the U.S. Bureau of Labor Statistics, the prices for legal services are 2.64%
higher in 2021 versus 2019 (a $11.88 difference).17 Adjusted only for such inflation
from the year of this ruling (2019) to the end of 2021, that $450.00 hourly rate for
Ms. Hopkins is $461.88.

* John M. Barcus (class of ’02): Mr. Barcus works in Dallas. His
online biography notes that he does labor and employment law work. On Decem-
ber 18, 2020, in a Dallas case involving allegations of race discrimination in em-
ployment, he submitted a declaration noting that although he worked on a

16   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=450

17   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=450
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discount his standard hourly rate is $450.00. See Ibarra v. Jacobs Eng. Group,
Inc., No. 3:19-cv-01437-C (Doc. 41-1) at p. 12, PageID 2420 (N.D. Tex. Dallas)
(Declaration of John M. Barcus) (“My standard hourly rate for 2020 is $450”) (em-
phasis in original). According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
1.53% higher in 2021 versus 2020 (a $6.91 difference).18 Adjusted only for such
inflation from the year of this testimony (2020) to the end of 2021, that $450.00
hourly rate for Mr. Barcus is $456.91.

* M. Jeanette Fedele (class of ’03): Ms. Fedele previously worked
in Dallas. She is a board-certified labor and employment law specialist. On March
2, 2012, Judge Ken Molberg [now Justice Molberg of the Dallas Court of Appeals]
ruled $360.00 per hour was a “reasonable” rate in a Dallas employment retaliation
case. See Rush Truck Centers of Texas, L.P. v. Fitzgerald, No. DC-09-15958-D
(“Order on Attorney Fees”) at p. 5 (95th District Court for Dallas County, Texas)
(“a reasonable fee for the necessary services of Fitzgerald’s attorneys, as estab-
lished by the evidence, should be computed in the following manner: . . . M. Jean-
ette Fedele: $85,320 (237 hours at the rate of $360 per hour) . . . .”). According to
the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 23.37% higher in 2021 versus
2012 (an $84.13 difference).19 Adjusted only for such inflation from the year of this
court ruling to the end of 2021, that $360.00 hourly rate for Ms. Fedele is $444.13.

* Gavin S. Martinson (class of ’05): Mr. Martinson works in
Dallas and his online biography states that he “represents employers in all as-
pects of labor and employment law.” On January 14, 2019, in a Dallas employment
discrimination and retaliation case, Mr. Martinson testified that his standard
hourly rate was $425.00 per hour. See Declaration of Gavin S. Martinson, filed in
Carmona v. Krammerer, No. DC-17-13908 (298th District Court for Dallas
County, Texas) (Exhibit A to Defendant’s Request for Entry of Attorney’s Fees)
(“The hourly rates that Mr. Leslie and I charged for this matter were discounted
from our ordinary rates for matters such as this. Mr. Leslie’s regular hourly rate
is $350 and my regular hourly rate is $425”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 2.64% higher in 2021 versus 2019 (an $11.22 differ-
ence).20 Adjusted only for such inflation from the year of this testimony (2019) to
the end of 2021, that $425.00 hourly rate for Mr. Martinson is $436.22.


18   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=450

19   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=360

20   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=425
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* Monica Velazquez (class of ’02): Ms. Velazquez works in Collin
County and previously worked in Dallas. She is a board-certified labor and em-
ployment law specialist. On February 17, 2015, Ms. Velazquez testified that she
billed $370 per hour for work on a motion to dismiss in a Dallas employment dis-
crimination case. See Affidavit of Monica Velazquez, filed in Killough v. American
Airlines, Inc., No. DC-14-11368 (68th District Court for Dallas County, Texas) (“In
connection with the Motion to Dismiss to date, I billed 1.8 hours at an hourly rate
of $370[.] . . .”). According to the Consumer Price Index for legal services as gen-
erated by the U.S. Bureau of Labor Statistics, the prices for legal services are
15.71% higher in 2021 versus 2015 (a $58.12 difference).21 Adjusted only for such
inflation from the year of this testimony (2015) to the end of 2021, that $370.00
hourly rate for Mr. Martinson is $428.12.

* Corinna Chandler (class of ’09): Ms. Chandler works in Dallas.
Her online biography lists various areas of employment law she handles. On April
9, 2014, Judge Jorge Solis found a rate of $350.00 per hour was “reasonable for
this locality” for the work Ms. Chandler did in prosecuting a Dallas FLSA case.
See Parker v. ABC Debt Relief, Ltd., No. 3:10-cv-1332-P (Doc. 241) at p. 4, PageID
7059 (N.D. Tex. Dallas) (“Plaintiffs also request . . . that attorneys Todd Goldberg
and Corinna Chandler be compensated at an hourly rate of $350, . . . . The Court
finds that the hourly rates requested by Plaintiffs are reasonable for this local-
ity.”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 17.55% higher
in 2021 versus 2014 (a $60.62 difference).22 Adjusted only for such inflation from
the year of Judge Solis’s finding (2014) to the end of 2021, that $350.00 hourly
rate for Ms. Chandler is $411.42.

* Todd Goldberg (class of ’09): Mr. Goldberg works in Dallas. On
April 9, 2014, Judge Jorge Solis found a rate of $350.00 per hour was “reasonable
for this locality” for the work Mr. Goldberg did in prosecuting a Dallas FLSA case.
See Parker v. ABC Debt Relief, Ltd., No. 3:10-cv-1332-P (Doc. 241) at p. 4, PageID
7059 (N.D. Tex. Dallas) (“Plaintiffs also request . . . that attorneys Todd Goldberg
and Corinna Chandler be compensated at an hourly rate of $350, . . . . The Court
finds that the hourly rates requested by Plaintiffs are reasonable for this local-
ity.”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 17.55% higher
in 2021 versus 2014 (a $61.42 difference).23 Adjusted only for such inflation from

21   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=370

22   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=350

23   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=350
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the year of Judge Solis’s finding to the end of 2021, that $350.00 hourly rate for
Mr. Goldberg is $411.42.

* Jamie J. McKey (class of ’06): Ms. McKey works in Dallas. On
January 16, 2014, Judge Phyllis Lister Brown ruled that $350.00 per hour was a
reasonable rate for Mr. McKey’s work in a disability discrimination in employ-
ment case. See Green v. Dallas County Schools, No. DC-12-09857 (Order of Janu-
ary 16, 2014) at p. 1 (162d District Court for Dallas County, Texas) (“The Court
approves and awards Plaintiff reasonable attorney’s fees of $337,750.00, which
represents 404.9 hours of Matthew R. Scott’s time at a reasonable hourly rate of
$600 per hour, 208.5 hours of Jamie J. McKey’s time at a reasonable hourly rate
of $350.00 per hour, . . .”). According to the Consumer Price Index for legal services
as generated by the U.S. Bureau of Labor Statistics, the prices for legal services
are 17.55% higher in 2021 versus 2014 (a $61.42 difference).24 Adjusted only for
such inflation from the year of Judge Brown’s ruling to the end of 2021, that
$350.00 hourly rate for Ms. McKey is $411.42.




24   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=350
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Classes of the 2010s


 20                    lawyers listed




 $426.91                                average rate




 $358.97                                median rate
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                                     Classes of the 2010s:
                                          The Rates


            Allison A.              David                   Ryan
            Reddoch                 Norris                  Toomey
            (JD 2011)               (JD 2011)               (JD 2011)


            Todd                    Jay                     Benjamin
            Mobley                  Forester                Michael
            (JD 2010)               (JD 2013)               (JD 2013)


            Britney                 Jeff T.                 Michael L.
            J. P. Prince            Leslie                  Parsons
            (JD 2015)               (JD 2015)               (JD 2011)


            Betsey A.               Barrett                 Matthew F.
            Boutelle                Robin                   Amos
            (JD 2014)               (JD 2015)               (JD 2015)


            Arrissa K.              Megan                   Jennifer
            Meyer                   Dixon                   Birdsall
            (JD 2010)               (JD 2012)               (JD 2017)


            Breegan                 Melinda                 Hannah P.
            O’Connor                Arbuckle                Parks
            (JD 2017)               (JD 2011)               (JD 2014)


            Jordan                  Jennifer
            Campbell                McCoy
            (JD 2013)               (JD 2016)
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Classes of the 2010s:
     The Work

  * Allison A. Reddoch (class of ’11): Ms. Reddoch works in Arling-
  ton and formerly focused on employment law in Dallas. In a bankruptcy
  case, her rate is listed as $775.00 per hour for her work in the employment
  practice group of her firm as an associate. See In re: 4 West Holdings, Inc., No.
  18-30777 (Doc. 1429) at p. 9 (Bankr. N.D. Tex. Dallas) (Summary of Combined
  Third Interim and Final Application of DLA Piper LLP (US) for Allowance of
  Compensation for Services Rendered and Reimbursement of Expenses Incurred
  as Counsel to the Debtors and Debtors in Possession for the Interim Period from
  September 1, 2018 through February 13, 2019 and the final period from March 6,
  2018 through February 13, 2019). On May 2, 2019, Judge Harlin D. Hale approved
  the request for fees. See id. (Doc. 1485). Ms. Reddoch billed for work in an alleged
  theft of trade secrets case in Dallas involving former employees of a company, in
  Medoc Health Servs., LLC v. Nguyen, No. DC-18-0822 (14th District Court for
  Dallas County, Texas). An invoice dated March 23, 2018, lists her rate as $625.00
  per hour. See Exhibit C attached to Plaintiff’s Motion for Attorneys’ Fees in that
  case filed on November 20, 2020, at p. 55 (for such work as “[m]ake preparation
  for hearing on Dyer’s Motion to Dismiss by reviewing and evaluating documents
  produced by Defendants and clients’ documents; attention to discovery issues;
  continue preparing for Defendants’ depositions by preparing deposition outlines”).
  On May 24, 2021, Judge Eric V. Moyé awarded fees based, in part, on this rate
  for Ms. Reddoch’s work. See id. (Revised Order) at p. 2 (“this Court finds that
  Plaintiffs incurred legal fees in the amount of $261,632.82 related to . . . . The
  Court finds that Plaintiffs’ recovery of these fees is legally authorized, that the
  requested attorneys’ fees were reasonable and necessary for Plaintiffs’ legal rep-
  resentation, . . . .”). According to the Consumer Price Index for legal services as
  generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
  2.64% higher in 2021 versus 2019—an $20.46 difference from the $775.00 rate
  listed.1 Adjusted only for such inflation from the year this rate was court-approved
  to the end of 2021, that $775.00 hourly rate for Ms. Reddoch is $795.46.




  1   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=775
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* Todd Mobley (class of ’10): Mr. Mobley works in Dallas and his
online biography says he “represents employers in connection with a wide variety
of collective and class action wage and hour disputes brought pursuant to the
FLSA, as well as claims of discrimination, harassment, retaliation and wrongful
discharge.” He billed for work on an alleged theft of trade secrets case in Dallas
involving former employees of a company, in Medoc Health Servs., LLC v. Nguyen,
No. DC-18-0822 (14th District Court for Dallas County, Texas). An invoice dated
March 23, 2018, lists his rate as $665.00 per hour. See Exhibit C attached to Plain-
tiff’s Motion for Attorneys’ Fees in that case, filed on November 20, 2020, at p. 55
(for work such as “research related to whether subpoena served by the govern-
ment on third parties are confidential or whether they can be disclosed,” “review
agreed order,” “review and analyze discovery requests,” and “oversee service of
objections and responses to discovery requests”). On May 24, 2021, Judge Eric V.
Moyé awarded fees based, in part, on this rate for Mr. Mobley’s work. See id. (Re-
vised Order) at p. 2 (“this Court finds that Plaintiffs incurred legal fees in the
amount of $261,632.82 related to . . . . The Court finds that Plaintiffs’ recovery of
these fees is legally authorized, that the requested attorneys’ fees were reasonable
and necessary for Plaintiffs’ legal representation, . . . .”). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 3.64% higher in 2021 versus 2018—a
$24.18 difference from the $665.00 rate listed in 2018.2 Adjusted only for such
inflation from the year this rate was billed (2018) to the end of 2021, that $665.00
hourly rate for Mr. Mobley is $689.18.

* Britney J. P. Prince (class of ’15): Ms. Prince works in Irving.
In a Dallas bankruptcy case, her rate is listed as $660.00 per hour and she was
listed as “Associate; Employment.” See In re: 4 West Holdings, Inc., No. 18-
30777 (Doc. 1429) at pp. 6, 10, 181, 191 (Bankr. N.D. Tex. Dallas) (Summary of
Combined Third Interim and Final Application of DLA Piper LLP (US) for
Allowance of Compensation for Services Rendered and Reimbursement of
Expenses Incurred as Counsel to the Debtors and Debtors in Possession for
the Interim Period from September 1, 2018 through February 13, 2019 and the
final period from March 6, 2018 through February 13, 2019). She billed at that
$660.00 per hour rate for work such as “prepare deposition exhibits.” See id. at p.
181 (time entry dated 01/03/19). On May 2, 2019, Judge Harlin D. Hale approved
the request for fees. See id. (Doc. 1485). She billed for work in an alleged theft of
trade secrets case in Dallas involving former employees of a company, in Medoc
Health Servs., LLC v. Nguyen, No. DC-18-0822 (14th District Court for Dallas
County, Texas). An invoice dated April 20, 2018, lists her rate as $475.00 per hour.

2   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=665
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See Exhibit C attached to Plaintiff’s Motion for Attorneys’ Fees in that case, filed
on November 20, 2020, at p. 67. On May 24, 2021, Judge Eric V. Moyé awarded
fees based, in part, on this rate for Ms. Prince’s work. See id. (Revised Order) at
p. 2 (“this Court finds that Plaintiffs incurred legal fees in the amount of
$261,632.82 related to . . . . The Court finds that Plaintiffs’ recovery of these fees
is legally authorized, that the requested attorneys’ fees were reasonable and nec-
essary for Plaintiffs’ legal representation, . . . .”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 3.64% higher in 2021 versus 2018—a $24.00 difference
from the $660.00 rate listed in 2018.3 Adjusted only for such inflation from the
year this rate was billed (2018) to the end of 2021, that $660.00 hourly rate for
Ms. Prince is $684.00.

* Betsey A. Boutelle (class of ’14): Ms. Boutelle is currently an
Assistant United States Attorney in California who previously worked in Texas
and focused on employment law. In a Dallas bankruptcy case, her rate is listed as
$635.00 per hour and she is listed as “Associate; Employment.” See In re: 4 West
Holdings, Inc., No. 18-30777 (Doc. 1429) at p. 10 (Bankr. N.D. Tex. Dallas) (Sum-
mary of Combined Third Interim and Final Application of DLA Piper LLP (US)
for Allowance of Compensation for Services Rendered and Reimbursement of Ex-
penses Incurred as Counsel to the Debtors and Debtors in Possession for the In-
terim Period from September 1, 2018 through February 13, 2019 and the final
period from March 6, 2018 through February 13, 2019). On May 2, 2019, Judge
Harlin D. Hale approved the request for fees. See id. (Doc. 1485). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 2.64% higher in 2021 versus 2019—a
$16.76 difference from the $635.00 rate listed.4 Adjusted only for such inflation
from the year this rate was court-approved (2019) to the end of 2021, that $635.00
hourly rate for Ms. Boutelle is $651.76.

* Arrissa K. Meyer (class of ’10): Ms. Meyer works in Dallas. Her
online biography says that “[a]lthough she has significant experience in employ-
ment law, she focuses her practice on traditional labor law.” In a Dallas employ-
ment discrimination case, a declaration and accompanying client invoice dated
April 14, 2015, show her rate charged for work billed in that case was $460.00 per
hour (prior to an across-the-board 10% discount). See Garofalo v. Taco Bueno, LP,
No. 3:14-cv-02616-M-BH (Doc. 43) at p. 11, PageID 377 (N.D. Tex. Dallas) (for


3   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=660

4   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=635
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work such as “Draft Designation of Expert Witnesses” and “Draft Defendant’s
Scheduling Proposal for Settlement Conference pursuant to April 3rd order”). On
May 31, 2019, Judge Brian A. Jackson of the United States District Court for the
Middle District of Louisiana awarded the requested rate of $358.75 for work Ms.
Meyer did in an employment discrimination case. See Brown v. Praxair, No. 17-
cv-00384-BAJ-RLB (Doc. 63) at pp. 9–11 (M.D. La.) (granting the amount of fees
listed in the Affidavit of Ryan Griffitts attached to motion for fees, Doc. 34-5 at
p.5). The request for fees in that case stated that $358.75 is “well below her stand-
ard rate”). See Affidavit of Ryan Griffitts in Brown v. Praxair, Inc., No. 3:17-cv-
00384 (Doc. 34-5) (M.D. La.) (“Her discounted rate in this matter is $358.75, which
is well below her standard rate”). According to the Consumer Price Index for legal
services as generated by the U.S. Bureau of Labor Statistics, the prices for legal
services are 15.71% higher in 2021 versus 2014—a $72.25 difference from the
$460.00 rate listed.5 Adjusted only for such inflation from the year this rate was
billed for work in a Dallas employment case (2015) to the end of 2021, that $460.00
hourly rate for Ms. Meyer is $532.25.

* Breegan O’Connor (class of ’17): Ms. O’Connor works in Dallas.
Her online biography states that her practice “focuses on representing employers
in employment-related litigation, including before federal and state courts, as well
as arbitration panels. Her specific involvement includes drafting dispositive mo-
tions, pleadings, discovery and conducting legal research.” In a Dallas bankruptcy
case, her rate is listed as $485.00 per hour and she is listed as “Associate; Em-
ployment.” See In re: 4 West Holdings, Inc., No. 18-30777 (Doc. 1429) at pp. 6, 10,
72, 88 (Bankr. N.D. Tex. Dallas) (Summary of Combined Third Interim and Final
Application of DLA Piper LLP (US) for Allowance of Compensation for Services
Rendered and Reimbursement of Expenses Incurred as Counsel to the Debtors
and Debtors in Possession for the Interim Period from September 1, 2018 through
February 13, 2019 and the final period from March 6, 2018 through February 13,
2019) (for work such as “[a]nalyze Texas federal law regarding the evidentiary
standard for relevance” and “analyze Texas federal case law regarding waiver of
privilege through the disclosure of the contents of a privileged document” on time
entry dated 10/19/18). On May 2, 2019, Judge Harlin D. Hale approved the request
for fees. See id. (Doc. 1485). She billed for work in an alleged theft of trade secrets
case in Dallas involving former employees of a company, in Medoc Health Servs.,
LLC v. Nguyen, No. DC-18-0822 (14th District Court for Dallas County, Texas).
An invoice dated March 23, 2018, lists her rate as $425.00 per hour. See Exhibit
C attached to Plaintiff’s Motion for Attorneys’ Fees in that case, filed on November
20, 2020, at p. 55. On May 24, 2021, Judge Eric V. Moyé awarded fees based, in
part, on this rate for Ms. O’Connor’s work. See id. (Revised Order) at p. 2 (“this

5   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=460
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Court finds that Plaintiffs incurred legal fees in the amount of $261,632.82 related
to . . . . The Court finds that Plaintiffs’ recovery of these fees is legally authorized,
that the requested attorneys’ fees were reasonable and necessary for Plaintiffs’
legal representation, . . . .”). According to the Consumer Price Index for legal ser-
vices as generated by the U.S. Bureau of Labor Statistics, the prices for legal ser-
vices are 2.64% higher in 2021 versus 2019—an $12.80 difference from the
$485.00 rate listed.6 Adjusted only for such inflation from the year this rate was
court-approved (2019) to the end of 2021, that $485.00 hourly rate for Ms. O’Con-
nor is $497.80.

* Jordan Campbell (class of ’13): Mr. Campbell works in Dallas.
In a Dallas FLSA case, a declaration was filed noting that in 2016 his firm billed
its client for Mr. Campbell’s work in that case at the rate of $430.00 per hour. See
Areizaga v. ADW Corp., No. 3:14-cv-2899 (Docs. 94-1 & 94-2) (N.D. Tex. Dallas)
(Declaration of Danielle Alexis Matthews). Attached to that declaration are law
firm billing records. See id. (Doc. 94-2). Those billing records list Mr. Campbell as
having billed at a rate of $430.00 per hour in invoices dated February 10, 2016,
March 15, 2016, and April 12, 2016. See id. (Doc. 94-2) at pp. 6, 10 &14, PageID
1057, 1059 & 1061. This was for work including “Review, analyze, and revise Mo-
tion to Compel” and “prepare Appendix for Motion to Compel” and “review court’s
order regarding discovery issues.” See id. Magistrate Judge David L. Horan de-
clined to grant this requested rate. See id. Doc. 130 (Memorandum Opinion and
Order) at pp. 12–13. But it was a rate actually billed for employment work in the
North Texas community. See id. (Docs. 94-1) at p. 3, PageID 1051 (“Fulbright
charged ADW its standard hourly rate for each of the attorneys who worked on
the matter”); see also id. (Doc. 94-2) at pp. 6, 10 & 14, PageID 1057, 1061 & 1065
(listing $430 as the rate for Mr. Campbell on the firm’s February 10, 2016, March
15, 2016, and April 12, 2016, invoices). According to the Consumer Price Index for
legal services as generated by the U.S. Bureau of Labor Statistics, the prices for
legal services are 11.93% higher in 2021 versus 2016—a $51.30 difference from
the $430.00 rate listed.7 Adjusted only for such inflation from the year this rate
was billed (2016) to the end of 2021, that $430.00 hourly rate for Mr. Campbell is
$481.30.

* David Norris (class of ’11): Mr. Norris previously worked in Dal-
las. His online biography noted that he “focuses his practice on employment and
civil trial law, including all aspects of employment law, business transactions, and


6   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=485

7   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=430
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commercial litigation.” On November 15, 2018, Judge Mark Greenberg ruled in a
bench trial on fees that Mr. Norris’s requested rate of $400.00 per hour was rea-
sonable for his work in helping pick a jury in the prosecution of Carpenter v.
Southwest Housing Dev. Co., Inc., Cause No. CC-08-2072-E (Dallas County Court
at Law No. 5) (read into record at trial on fees)—a Dallas unlawful employment
practices case involving refusal to pay earned compensation. Judge Greenberg
then applied a 1.5 multiplier to fees. On May 30, 2017, Judge Ken Molberg [now
Justice Molberg of the Dallas Court of Appeals] awarded Mr. Norris $350.00 per
hour for his work in helping prosecute Clark v. Everlight Americas, Inc., No. DC-
15-05538 (95th District Court for Dallas County, Texas)—a Dallas employment
discrimination and retaliation case. On December 28, 2015, Judge Barbara M. G.
Lynn awarded $250.00 per hour for Mr. Norris’s time helping prosecute a Dallas
employment retaliation case—based, in part, on the recommendation of Magis-
trate Judge David L. Horan. See Kostić v. Texas A&M Univ.–Commerce, No. 3:10-
cv-02265-M (Doc. 282) (N.D. Tex. Dallas) (order accepting magistrate recommen-
dation); id. (Doc. 281) at pp. 7 & 10, PageID 8216 & 8219 (magistrate recommen-
dation) (“Plaintiff seeks $98,931.25 for work done by David B. Norris, . . . at an
hourly rate of $250.00 . . . Defendant does not challenge the hourly rates charged
by Plaintiff’s attorneys, the costs of court, or postjudgment interest request.”). Ac-
cording to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 3.64% higher in 2021
versus 2018 (the year of the Judge Greenberg award)—a $14.55 difference.8 Ad-
justed only for such inflation from the year of this award to the end of 2021, that
$400.00 hourly rate for Mr. Norris is $414.55.

* Jay Forester (class of ’13): Mr. Forester works in Dallas. His online
biography states that his “practice now focuses exclusively on the representation
of employees in lawsuits brought under the Fair Labor Standards Act and other
equivalent state wage and hour laws.” On July 10, 2019, Judge Barbara M.G.
Lynn found his hourly rate of $400.00 was fair and reasonable for his work in
prosecuting an FLSA case in Dallas. See Jeffery v. Lone Star PJS, LLC, No. 3:18-
cv-02901-M (Doc. 18) at p. 6, PageID 49 (N.D. Tex. Dallas) (“Plaintiff’s counsel’s
affidavit states that he worked for 17.4 hours on this matter and his current rate
is $400 per hour. . . . The Court finds that rate fair and reasonable in Dallas
County, Texas.”). According to the Consumer Price Index for legal services as gen-
erated by the U.S. Bureau of Labor Statistics, the prices for legal services are
2.64% higher in 2021 versus 2019 (the year Judge Lynn ruled that $400.00 was
fair and reasonable for him in Dallas)—a $10.56 difference.9 Adjusted only for

8 https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=400


9 https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=400
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such inflation from the year of this award to the end of 2021, that $400.00 hourly
rate for Mr. Forester is $410.56.

* Jeff T. Leslie (class of ’15): Mr. Leslie works in Dallas. His online
biography states that he “represents employers in a variety of industries, . . . .” In
2019—in a Dallas employment discrimination and retaliation case—there was
testimony that Mr. Leslie’s regular hourly rate was $350.00 per hour. See Car-
mona v. Krammerer, No. DC-17-13908 (298th District Court for Dallas County,
Texas) (Declaration of Gavin S. Martinson attached to Defendant’s Request for
Entry of Attorneys’ Fees filed January 14, 2019 at ¶ 5) (“The hourly rates that Mr.
Leslie and I charged for this matter were discounted from our ordinary rates for
matters such as this. Mr. Leslie’s regular hourly rate is $350 . . .”). According to
the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 2.64% higher in 2021 versus 2019
(the year of this testimony)—a $9.24 difference.10 Adjusted only for such inflation
from the year of this testimony (2019) to the end of 2021, that $350.00 hourly rate
for Mr. Leslie is $359.24.

* Barrett Robin (class of ’15): Mr. Robin works in Dallas. His online
biography notes he is a trial lawyer. In 2015, his firm billed his time for work at
the rate of $310.00 per hour in a Dallas FLSA case. See Areizaga v. ADW Corp.,
No. 3:14-cv-2899 (Docs. 94-1) at p. 2, PageID 1050 (N.D. Tex. Dallas) (Declaration
of Danielle Alexis Matthews) (“The attorneys on this matter billed at the following
hourly rates: . . . Barrett T. Robin, Associate, $310 in 2015 . . .”). Magistrate Judge
David L. Horan declined to grant an award of fees at this requested rate. See Doc.
130 [Memorandum Opinion and Order] at pp. 12–13, PageID 1601–02. But it was
a rate actually billed for employment work in the North Texas community. See
Docs. 94-1 at p. 3, PageID 1051 (“Fulbright charged ADW its standard hourly rate
for each of the attorneys who worked on the matter”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 15.71% higher in 2021 versus 2015 (the year of
this referenced billing)—a $48.69 difference.11 Adjusted only for such inflation
from the year of this referenced billing (2015) to the end of 2021, that $310.00
hourly rate for Mr. Robin is $358.69.

* Megan L. Dixon (class of ’12): Ms. Dixon works in Dallas. Her
online biography notes that she “focuses her practice on representing employees

10 https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=350


11 https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=310
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in a variety of employment disputes in state and federal courts throughout Texas.”
On June 14, 2016, in a Fort Worth employment discrimination and retaliation
case, Judge Reed O’Connor ruled that $295.00 per hour was “reasonable given the
community standards”—for her work in helping to prosecute that case. See Cala-
han v. BMJ Food Corporation d/b/a Church’s Chicken, No. 4:15-CV-00251-O
(Doc. 29) at p. 12, PageID 177 (N.D. Tex. Fort Worth) (“Plaintiff’s attorney sug-
gests that associate Megan Leigh Dixon rate of $295 dollars an hour and Robert
G. Lee’s rate at $495 an hour are reasonable hourly rates. Lee maintains that his
eight years of experience and Dixon’s four years of experience warrant this price.
Plaintiff’s rates are reasonable given the community standards and Dixon and
Lee’s experience.”) (internal citations omitted). On April 27, 2015, in a Dallas
FLSA case, Judge Eric Moyé issued a judgment granting all requested fees—that
request included a rate of $250.00 per hour for work Ms. Dixon did in helping
prosecute the case. See Ramirez v. NTD Group, Inc., No. DC-14-03809 (14th Ju-
dicial District Court for Dallas County, Texas) (Final Judgment) (awarding “at-
torney fees in the amount of $23,234.00, . . .”) and (Plaintiff’s Motion and Exhibit
A Affidavit of Robert (Bobby) Lee dated April 22, 2015) (listing hourly rate for Ms.
Dixon as $250.00 per hour and seeking fees in the amount of $23,234.00). Accord-
ing to the Consumer Price Index for legal services as generated by the U.S. Bureau
of Labor Statistics, the prices for legal services are 11.93% higher in 2021 versus
2016 (the year of Judge O’Connor’s ruling referenced)—a $35.19 difference.12 Ad-
justed only for such inflation from the year of Judge O’Connor’s ruling (2016) to
the end of 2021, that $295.00 hourly rate for Ms. Dixon is $330.19.

* Melinda Arbuckle (class of ’11): Ms. Arbuckle works in Hou-
ston. Her online biography notes that she “represents workers who have not re-
ceived all of the pay they were owed by their employers.” On December 8, 2016,
Judge Jane Boyle determined that $295.00 per hour was a reasonable rate for Ms.
Arbuckle’s work in helping prosecute a Dallas employment discrimination and
FLSA case. See Aguayo v. Bassem Odeh, Inc., No. 3:13-cv-2951-B (Doc. 146) at p.
32, PageID 7548 (N.D. Tex. Dallas) (“The Court has determined reasonable rates
for Plaintiffs’ counsel and settled on a reasonable number of hours for their work.
With those conclusions in mind, the Court calculates Plaintiffs’ final lodestar
value as follows: . . . Melinda Arbuckle . . . Rate . . . $295”). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 11.93% higher in 2021 versus 2016 (the
year of Judge Boyle’s determination)—a $35.19 difference.13 Adjusted only for


12 https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=295


13 https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=295
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such inflation from the year of Judge Boyle’s determination (2016) to the end of
2021, that $295.00 hourly rate for Ms. Arbuckle is $330.19.

* Jennifer McCoy (class of ’16): Ms. McCoy works in Dallas. Her
online biography states that she “represents employers in state and federal liti-
gation involving claims of discrimination, retaliation, harassment and wage and
hour violations.” In 2021, Ms. McCoy’s firm billed at a rate of $330.00 per hour for
her work defending against a pro se plaintiff. See Montgomery v. Southern Meth-
odist Univ., No. 3:20-cv-03521-E-BN (Doc. 18-1) at pp. 14-15, PageID 154-55 (N.D.
Tex. Dallas) (listing rate as “$330.00” and describing work such as “Continue to
prepare SMU’s Reply inSupport of its Motion to Dismiss or, in the Alternative,
Remand. . . Review and analyze Magistrate’s Findings and Recommendations.”).
On September 8, 2021, Magistrate Judge David L. Horan recommended fees be
awarded to her client for work on a remand issue, but at the rate of $296.14 for
Ms. McCoy’s work—using a requested average for her rates over different years.
See id. (Doc. 22) at pp. 11-12 (“SMU seeks to recover fees averaging $459.17 an
hour for Ms. Williams, . . . and $296.14 for Jennifer McCoy . . . the undersigned
finds that these rates are reasonable and within the market rate for attorneys
handling this type of litigation in the Dallas area.”). On October 4, 2021, Judge
Ada Brown adopted that recommendation. See id. (Doc. 23).

* Ryan Toomey (class of ’11): Mr. Toomey works in Austin. His
online biography notes he is a trial lawyer. On December 8, 2016, Judge Jane
Boyle determined that $285.00 per hour was a reasonable rate for Mr. Toomey’s
work in helping prosecute a Dallas employment discrimination and FLSA case.
See Aguayo v. Bassem Odeh, Inc., No. 3:13-cv-2951-B (Doc. 146) at pp. 32–33,
PageID 7548–49 (N.D. Tex. Dallas) (“The Court has determined reasonable rates
for Plaintiffs’ counsel and settled on a reasonable number of hours for their work.
With those conclusions in mind, the Court calculates Plaintiffs’ final lodestar
value as follows: . . . Ryan Toomey . . . Rate . . . $285”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 11.93% higher in 2021 versus 2016 (the year of
Judge Boyle’s determination)—a $34.00 difference.14 Adjusted only for such infla-
tion from the year of Judge Boyle’s determination (2016) to the end of 2021, that
$285.00 hourly rate for Mr. Toomey is $319.00.

* Benjamin Michael (class of ’13): Mr. Michael works in Austin.
On November 23, 2015, Magistrate Judge David L. Horan recommended a rate of

14 https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=285
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$250.00 per hour for Mr. Michael’s work in helping prosecute a Dallas FLSA case.
See Henderson v. Fenwick Protection Inc., No. 3:14-cv-00505 (Doc. 56) at p. 14,
PageID 285 (N.D. Tex. Dallas) (“Under the particular circumstances here, the un-
designed finds that both Welmaker and Michael’s rates are consistent with the
prevailing rates in Dallas County for attorneys with their respective experience,
skill, and ability. Therefore, the undersigned concludes, based on the information
and record, including Welmaker’s Affidavit, that the requested hourly rates of
$400.00 and $250.00 are reasonable and within the market rate for attorneys han-
dling this type of litigation in the Dallas area.”). On December 28, 2015, Judge
Barbara M. G. Lynn adopted that recommendation. See id. (Doc. 58) at p. 1. Ac-
cording to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 15.71% higher in 2021
versus 2015 (the year of these court determinations)—a $39.27 difference.15 Ad-
justed only for such inflation from the year of these court determinations (2015)
to the end of 2021, that $250.00 hourly rate for Mr. Michael is $289.27.

* Michael L. Parsons (class of ’11): Mr. Parsons works in Austin.
On December 3, 2015, Magistrate Judge Irma Ramirez recommended his firm re-
ceive $250.00 per hour for Mr. Parsons’s work in prosecuting an FLSA case in
Dallas, and Judge Sam A. Lindsay later approved that recommendation. See Mau-
ricio v. Phillip Gaylen, P.C., No. 3:14-cv-00064-L (Doc. 41) at p. 3, PageID 286
(N.D. Tex. Dallas Dec. 3, 2015) (Magistrate Judge Irma Ramirez) (“Here, Plain-
tiffs seek hourly rates of . . . $250 for Michael Parsons. . . . The hourly rates are
consistent with the prevailing market rates in this area, . . . .”), report and recom-
mendation adopted in (Doc. 44), 2016 WL 1273337, 2016 Wage & Hour Cas. 2d
(BNA) 99,007 (N.D. Tex. Dallas Mar. 30, 2016) (Judge Sam A. Lindsay). According
to the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 15.71% higher in 2021 versus
2015 (the year of Magistrate Judge Ramirez’s recommendation)—a $39.27 differ-
ence.16 Adjusted only for such inflation from the year of Magistrate Judge
Ramirez’s ruling to the end of 2021, that $250.00 hourly rate is $289.27.

* Matthew F. Amos (class of ’15): Mr. Amos works in Dallas. On
March 8, 2017, Judge Reed O’Connor ruled $250.00 per hour was a “reasonable”
rate for Mr. Amos’s work in a Fort Worth FLSA case. See Pereyra v. Navika Cap-
ital Group LLC, No. 4:15-CV-00615-O (Doc. 83) at p. 4, PageID 3298 (N.D. Tex.
Fort Worth) (“In connection with their work performed in the Western District
15 https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=250


16
     https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=250
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case and this instant case Pereyra seeks hourly rates of . . . $250.00 for associates
Philip Segura and Matt Amos; . . . the court finds these rates are reasonable”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 8.08% higher in 2021
versus 2017 (the year of Judge O’Connor’s ruling)—a $20.20 difference.17 Adjusted
only for such inflation from the year of Judge O’Connor’s ruling (2017) to the end
of 2021, that $250.00 hourly rate is $270.20.

* Jennifer Birdsall (class of ’17): Ms. Birdsall works in Dallas. On
November 15, 2018, Judge Mark Greenberg ruled in a bench trial on fees that Ms.
Birdsall’s requested rate of $250.00 per hour was reasonable for her work in help-
ing pick a jury in the prosecution of Carpenter v. Southwest Housing Dev. Co., Inc.,
Cause No. CC-08-2072-E (Dallas County Court at Law No. 5) (read into record at
trial on fees)—a Dallas unlawful employment practices case involving refusal to
pay earned compensation. Judge Greenberg then applied a 1.5 multiplier to fees.
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 3.64% higher in 2021
versus 2018 (the year of Judge Greenberg’s ruling)—a $9.09 difference.18 Adjusted
only for such inflation from the year of Judge Greenberg’s ruling (2018) to the end
of 2021, and without consideration of the 1.5 multiplier awarded, that $250.00
hourly rate is $259.09.

* Hannah P. Parks (class of ’14): Ms. Parks works in Fort Worth.
Her online biography states that she now works in-house as a labor & employment
law attorney—and previously practiced in that area for a law firm. On June 21,
2016, Magistrate Judge Clinton E. Averitte granted fees requested in an Amarillo
FLSA case—which included fees for Ms. Parks’s work at a rate of $220.00 per
hour. See Ogoke v. Globe Energy, No. 2:15-cv-00358J-BB (Doc. 30) (N.D. Tex. Am-
arillo) (adopting fees requested in Doc. 25). According to the Consumer Price In-
dex for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 11.93% higher in 2021 versus 2016 (the year of Mag-
istrate Judge Averitte’s ruling)—a $26.25 difference.19 Adjusted only for such in-
flation from the year of Magistrate Judge Averitte’s ruling (2016) to the end of
2021, that $220.00 hourly rate is $246.25.



17
     https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=250

18
     https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=250

19
     https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=220
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                                       SDTX† summary of rates listed: high to low

                                               $1,182.88 to $279.82
Rate         Name / JD Year                    Rate       Name / JD Year
$1,182.88*   Peter J. Mee (JD 2009)            $632.40*   Rex Burch (JD 1997)
$1,172.73*   Donna M. Mezias (JD 1983)         $618.33*   Teresa Valderrama (JD 1988)
$1,132.11*   Nathan J. Oleson (JD 1999)        $615.84*   Zenobia Harris Bivens (JD 2008)
$1,132.11*   Esther G. Lander (JD 1997)        $615.84*   Gregg M. Rosenberg (JD 1985)
$1,097.02*   Edward Holzwanger (JD 2001)       $607.46*   Jennifer L. Dotson (JD 1993)
$1,082.85*   Bryan M. O’Keefe (JD 2011)        $600.32*   Katharine D. David (JD 2004)
$1,082.85*   Michael A. Schulman (JD 2011)     $600.00*   M. Todd Slobin (JD 1997)
$1,050.89*   Brian Glenn Patterson (JD 2006)   $594.44*   Stephanie K. Osteen (JD 1997)
$983.53*     Joseph M. Sellers (JD 1979)       $584.71*   Laura L. Ho (JD 1994)
$923.97*     Joshua K. Sekoski (JD 2012)       $572.75*   Marlene C. Williams (JD 1997)
$921.70*     Jennifer M. Trulock (JD 1997)     $572.75*   J. Derek Braziel (JD 1995)
$898.58*     Courtney L. Stahl (JD 2013)       $566.43*   Martin A. Shellist (JD 1993)
$889.84*     Sean Michael Becker (JD 1998)     $564.52*   Michael A. Correll (JD 2009)
$881.61*     John H. McDowell, Jr. (JD 1982)   $558.35*   Alfonso Kennard, Jr. (JD 2002)
$881.11*     Steven B. Harris (JD 1982)        $558.35*   Anthony C. Wills (JD 1997)
$864.46*     Kenneth E. Broughton (JD 1981)    $549.61*   Stewart Hoffer (JD 1994)
$863.05*     Scott L. Friedman (JD 2013)       $546.60*   Lauren C. Fabela (JD 2008)
$853.83*     Christine E. Webber (JD 1991)     $540.40*   Scott Newar (JD 1989)
$843.70*     Katherine A. Brooker (JD 2012)    $540.40*   Dennis Herlong (JD 1982)
$837.66*     Shauna Clark (JD 1994)            $540.40*   Barbara Gardner (JD 1981)
$835.00*     Wes Benter (JD 2018)              $538.86*   Emery Gullickson Richards (JD 2014)
$822.83*     Phillip B. Dye, Jr. (JD 1985)     $537.26*   Carolyn A. Russell (JD 1998)
$805.20*     Martina E. Vandenberg (JD 2000)   $530.00*   Caitlin E. Gernert (JD 2014)
$805.20*     Agnieszka Fryszman (JD 1996)      $528.97*   Mark J. Oberti (JD 1994)
$791.97*     Jamila Mensah (JD 2006)           $520.68*   Nickolas G. Spiliotis (JD 2001)
$783.58*     Ann Marie Arcadi (JD 1993)        $520.68*   Salar Ali Ahmed (JD 1998)
$777.91*     Joseph Y. Ahmad (JD 1987)         $511.33*   Charles M. Rosson (JD 2010)
$777.91*     John Zavitsanos (JD 1987)         $507.67*   Austin Anderson (JD 2003)
$740.55*     Matthew G. Nielsen (JD 2001)      $507.67*   R. Russell Hollenbeck (JD 1994)
$739.00*     Gregory J. Ossi (JD 1997)         $507.67*   Douglas Welmaker (JD 1993)
$734.67*     Mark D. Temple (JD 1995)          $507.67*   Thomas C. Wright (JD 1980)
$723.17*     Scott McLaughlin (JD 1994)        $502.57*   Jim Staley (JD 1998)
$719.21*     Oswald B. Cousins (JD 1994)       $491.76*   Fran Shuman (JD 2005)
$710.74*     Jeffrey M. Anapolsky (JD 1999)    $491.76*   Thomas H. “Tom” Padgett (JD 1989)
$703.08*     Mark L. Johansen (JD 1986)        $486.36*   Charles A. Sturm (JD 1997)
$702.52*     William J. Moore (JD 2005)        $480.96*   Allan H. Neighbors, IV (JD 2001)
$672.29*     Cristin M. Obsitnik (JD 1997)     $472.02*   Eric J. Cassidy (JD 2001)
$663.27*     Fazila Issa (JD 2004)             $466.36*   Daryl Sinkule (JD 2002)
$659.29*     M. Scott McDonald (JD 1987)       $462.63*   George R. Gibson (JD 1995)
$649.67*     David Borgen (JD 1981)            $461.88*   Christopher R. Williams (JD 2016)
$648.25*     Scott K. Davidson (JD 1998)       $461.88*   Vickie Mery (JD 2012)
$646.51*     Rhonda Wills (JD 1994)            $458.44*   Liane Noble (JD 2011)
$639.67*     Alan J. Marcuis (JD 1998)         $456.91*   Clif Alexander (JD 2008)
$634.76*     J. Marshall Horton (JD 2003)      $456.91*   Trang Tran (JD 1995)
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Rate       Name / JD Year                        Rate        Name / JD Year
$456.24*   Mike Seely (JD 2007)                  $399.19*    Michael J. Woodson (JD 2012)
$448.53*   Michael Reed (JD 2012)                $390.03*    E. Steve Smith (JD 2015)
$446.75*   Nehal S. Anand (JD 2009)              $376.05*    Angeles Garcia Cassin (JD 2013)
$445.00*   Benjamin D. Williams (JD 2010)        $372.88*    Amanda E. Brown (JD 2013)
$440.80*   Curtis Waldo (JD 2010)                $365.03*    Sara C. Longtain (JD 2007)
$431.52*   Andrew Dunlap (JD 2011)               $363.77*    Scot Clinton (JD 2004)
$415.69*   Aaron Johnson (JD 2008)               $358.18*    Samantha D. Seaton (JD 2013)
$414.55*   Matt Heller (JD 2016)                 $354.11*    Caitlin Boehne (JD 2012)
$411.42*   Lakshmi Ramakrishnan (JD 2002)        $341.34*    Jay Forester (JD 2013)
$411.22*   Evan D. Lewis (JD 2019)               $335.79*    Brenna R. Lermon (JD 2014)
$406.14*   Lindsay Itkin (JD 2010)               $335.79*    Genevieve Estrada (JD 2013)
$406.14*   Richard Schreiber (JD 2006)           $333.58*    Michael Adams-Hurta (JD 2015)
$406.14*   Lauren Braddy (JD 2010)               $330.18*    DeAndrea C. Washington (JD 2009)
$405.30*   Alysson Ford Ouoba (JD 2011)          $310.91*    Vijay Pattisapu (JD 2011)
$400.29*   Christopher Willett (JD 2009)         $307.92*    Dorian Vandenberg-Rodes (JD 2013)
$399.90*   Britney J. P. Prince (JD 2015)        $279.82*    Ben Michael (JD 2013)

   †
    Courts note the relevant community for fees is district-wide—not by city or division. See,
   e.g., Lewallen v. City of Beaumont, 394 Fed. Appx. 38, 46 (5th Cir. 2010); Treadway v.
   Otero, No. 2:19-CV-244 [Doc. 157] at p. 9 (S.D. Tex. Oct. 6, 2020) (citing cases and
   concluding: “When it comes to parsing between divisions, it appears that it is the district,
   rather than the division, that should govern the decision.”).
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                                     Classes of the 1970s:
                                          The Rates




Joseph M. Sellers (JD 1979)
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Classes of the 1970s:
     The Work

  * Joseph M. Sellers (class of ’79): Mr. Sellers works in Washing-
  ton, D.C. His online biography notes that he is chair of his firm’s “Civil Rights &
  Employment Practice Group.” On November 30, 2017, Judge Keith P. Ellison de-
  termined Mr. Sellers’s requested rate of $910.00 per hour was “fair and reasona-
  ble” for work he did in a Houston human trafficking [i.e., forced labor] case. Adhi-
  kari v. Daoud & Partners, No. 4:09-CV-1237 (Doc. 764) at pp. 28–29 (S.D. Tex.
  Houston) (“The requested rates, in descending order, are as follows: $910 for
  Sellers . . . The requested rates are fair and reasonable here too.”). According to
  the Consumer Price Index for legal services as generated by the U.S. Bureau of
  Labor Statistics, the prices for legal services are 8.08% higher in 2021 versus 2017
  (a $73.53 difference).1 So, adjusted only for such inflation from the year of Judge
  Ellison’s determination to the end of 2021, that $910.00 hourly rate for Mr. Sellers
  is $983.53.




  1   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=910
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Classes of the 1980s



 17                    lawyers listed




 $708.55                                average rate




 $659.29                                median rate
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                                     Classes of the 1980s:
                                          The Rates


      Donna M.                    John                     Gregg M.
      Mezias                      Zavitsanos               Rosenberg
      (JD 1983)                   (JD 1987)                (JD 1985)



         John H.                  Mark L.                  Scott
         McDowell, Jr.            Johansen                 Newar
         (JD 1982)                (JD 1986)                (JD 1989)



         Steven B.                M. Scott                 Dennis
         Harris                   McDonald                 Herlong
         (JD 1982)                (JD 1987)                (JD 1982)



         Kenneth E.               David                    Barbara
         Broughton                Borgen                   Gardner
         (JD 1981)                (JD 1981)                (JD 1981)



         Phillip B.               Teresa                   Thomas C.
         Dye, Jr.                 Valderrama               Wright
         (JD 1985)                (JD 1988)                (JD 1980)



         Joseph Y.                                         Thomas H.
         Ahmad                                             “Tom” Padgett
         (JD 1987)                                         (JD 1989)
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Classes of the 1980s:
     The Work

  * Donna M. Mezias (class of ’83): Ms. Mezias works in San Fran-
  cisco. Her online biography states that she “[r]epresents clients in a wide range of
  employment issues.” In 2020, her law firm billed her time at the rate of $1,155.00
  per hour in a Houston bankruptcy case—for work such as: “Analyze WARN Act
  issues.” See In re: Sanchez Energy Corp., No. 19-34508 (Doc. 1426) at Exhibits B
  & B-2, pp. 59, 62, 614, 643 (Bankr. S.D. Tex. Houston) (Second Interim and Final
  Fee Application of Akin Gump Strauss Hauer & Feld LLP for Allowance and Pay-
  ment of Fees and Expenses as Counsel to the Debtors for the Period from Decem-
  ber 1, 2019 through March 27, 2020: “Mazias, Donna M.. . . . Dept. . . . LAB . . .
  2020 Rate . . . $1,155.00.”). On July 28, 2020, Judge Marvin Isgur approved the
  request for fees. See id. (Doc. 1521). According to the Consumer Price Index for
  legal services as generated by the U.S. Bureau of Labor Statistics, the prices for
  legal services are 1.53% higher in 2021 versus 2020 (a $17.73 difference).1 So,
  adjusted only for such inflation from the year of this billing and court ruling (2020)
  to the end of 2021, that $1155.00 hourly rate for Ms. Mezias is $1,172.73.

  * John H. McDowell, Jr. (class of ’82): Mr. McDowell works in
  Dallas. His online biography notes that he is a trial lawyer. On October 24, 2016,
  Judge Lynn N. Hughes awarded fees for work Mr. McDowell did in a Houston
  ERISA severance benefits case—including for work done at the rate of $750.00 in
  2014. See Langley v. Howard Hughes Mgmt. Co., Civil Action No. H-13-3595 (Doc.
  28) at p. 1 (S.D. Tex. Houston) (Order Awarding Attorneys’ Fees: “Howard Hughes
  Management Co., LLC, takes $143,814.00 from William Langley as reasonable
  attorneys’ fees.”); id. (Doc. 22) at p. 7, ¶16 (Defendant’s Motion for Attorneys’ Fees:
  “As set forth in the affidavit of John H. McDowell, Jr., attached hereto as Exhibit
  1, Defendant incurred reasonable and necessary attorneys’ fees in the amount of
  $143,814.00 in defending against Plaintiff’s meritless claims.”); id. (Doc. 22-1) at
  p. 4, ¶8 (Declaration of John H. McDowell, Jr.: “Andrews Kurth sets its standard
  hourly rates at competitive levels to market for the services provided. During the
  pendency of this litigation, the applicable hourly rates charged by Andews Kurth
  LLP in this case range from $275.00 to $290.00 for paralegals, $290.00 to $540.00

  1 https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=1155
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for associate attorneys, and $550.00 to $750.00 for partners.”). Mr. McDowell’s
law firm’s invoice shows time billed on February 28, 2014, was $9,150.00 for 12.20
hours—which equals a per hour rate of $750.00 for Mr. McDowell ($9,150.00 ÷
12.20 = $750.00). See id. at p. 33 (“As of February 28, 2014 . . . Invoice . . . MCDOW-
ELL, JR., J.H. . . . Hours . . . 12.20 . . . Value . . . $9,150.00”). This was for work
such as “Conduct research” and “Continue to review record” and “Finalize, and
file, Defendant’s Cross-Motion for Summary Judgment and Response to Langley’s
Motion for Summary Judgment.” See id. at pp. 29-33. The award of fees itself was
reversed on other grounds in Langley v. Howard Hughes Mgmt. Co., No. 16-20724
(5th Cir. June 1, 2017). According to the Consumer Price Index for legal services
as generated by the U.S. Bureau of Labor Statistics, the prices for legal services
are 17.55% higher in 2021 versus 2014—a $131.61 difference from the year of that
billing (2014).2 So, adjusted only for such inflation from the year of this billing
(2014) to the end of 2021, that $750.00 hourly rate for Mr. McDowell is $881.61.

* Steven B. Harris (class of ’80): Mr. Harris works in Houston.
His online biography notes that his practice areas include labor and employment
law. During 2011, he billed at a rate of $700.00 per hour in a Houston employment
agreement case—for work such as “Attention to acknowledgement form for new
hires relating to non-disclosure of former employer confidences” and “Review mo-
tion of Rob Dascal for expedited trial setting and revise Sabine motion for expe-
dited trial setting” and “Work on objections and responses to discovery requests
filed by REG.” See Renewable Energy Group, Inc. v. Dascal, No. 2011-51111 (190th
Judicial District Court for Harris County, Texas) (Affidavit of Eric J. Cassidy at
¶ 8 and attached bills marked Defendant’s Trial Exhibit 83 filed on December 23,
2011: “Sabine and Endicott agreed to compensate this firm based on an hourly fee
rate. . . . Steven Harris’ rate is $700.00 per hour. . . .”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 25.87% higher in 2021 versus 2011 (a $181.11
difference).3 So, adjusted only for such inflation from the year of this billing (2011)
to the end of 2021, that $700.00 hourly rate for Mr. Harris is $881.11.

* Kenneth E. Broughton (class of ’81): Mr. Broughton works in
Houston. His online biography notes he is an experienced litigator in a number of
areas. On September 25, 2015, Judge Nancy F. Atlas awarded fees requested for
Mr. Broughton’s work in a Houston ERISA case. See Romano Woods Dialysis Ctr.
v. Admiral Linen Serv., Inc., No. 4:14-cv-01125 (Doc. 67) at p. 16 (S.D. Tex. Hou-
ston) (“Based on this review, and a clear recollection of the litigation of this law-
suit, the Court finds that the $209,350.13 in attorneys’ fees requested by

2   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=750

3   https://www.officialdata.org/Legal-services/price-inflation/2011-to-2021?amount=700
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Defendants is reasonable and appropriate.”) (awarding all fees requested in De-
fendants’ Motion for Fees and Costs (Doc. 62)). The court-approved request for
fees included work Mr. Broughton did at an hourly rate of $720.00—work done
and billed on invoices in 2013 at that rate, which was a rate “discounted from the
Firm’s standard hourly rates.” See (Doc. 62-1) at pp. 3-4, 8 (Affidavit of Kenneth
E. Broughton: for work such as “Analysis of claims and documents” on December
9, 2013). According to the Consumer Price Index for legal services as generated
by the U.S. Bureau of Labor Statistics, the prices for legal services are 20.06%
higher in 2021 versus 2013—a $144.46 difference from the year that $720.00 per
hour rate was billed.4 So, adjusted only for such inflation from the year of this
billing (2013) to the end of 2021, that $720.00 hourly rate for Mr. Broughton is
$864.46.

* Phillip B. Dye, Jr. (class of ’85): Mr. Dye works in Houston. His
online biography notes he focuses his work on litigation and arbitration. On June
13, 2014, he submitted an affidavit and accompanying redacted bills showing his
discounted rate of $700.00 per hour for his work in a Houston breach of employ-
ment agreement case. See Lotte Chem. Titan (M) Sendrian Berhad v. Wilder, No.
4:14-cv-1116 (Doc. 16) at p. 2 (S.D. Tex. Houston) (Affidavit of Phillip B. Dye, Jr.:
“My hourly rate for this matter is $700, which is discounted from my usual rate.”).
He billed this rate for work in 2014 such as “research issues on removal” and
“review of correspondence from plaintiff’s counsel with the settlement demand
and other information.” See id. (Doc. 16-6) at p. 7. According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 17.55% higher in 2021 versus 2014—a $122.83
difference from the year that $700.00 per hour rate was billed.5 So, adjusted only
for such inflation from the year of this billing (2014) to the end of 2021, that
$700.00 hourly rate for Mr. Dye is $822.83.

* Joseph Y. Ahmad (class of ’87): Mr. Ahmad works in Houston.
His online biography notes that he represents executives in a variety of employ-
ment matters. A 2016 attorney-client representation agreement shows that his
billable rate for work in a Houston employment contract/severance negotiation
case was $695.00 per hour. See Bragg v. Zavitsanos, No. 2019-15102 (270th Judi-
cial District Court for Harris County, Texas) (Fee Schedule—2016 Attorney
Hourly Rates attached to Engagement Agreement as Exhibit 1 to Response in
Opposition to Plaintiff’s Motion for Death Penalty Sanctions, filed on September
23, 2020). According to the Consumer Price Index for legal services as generated
by the U.S. Bureau of Labor Statistics, the prices for legal services are 11.93%


4   https://www.officialdata.org/Legal-services/price-inflation/2013-to-2021?amount=720

5   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=700
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higher in 2021 versus 2016—an $82.93 difference from the year of that stated
$695.00 per hour billable rate.6 So, adjusted only for such inflation from the year
of that agreement (2016) to the end of 2021, that $695.00 hourly rate for Mr. Ah-
mad is $777.91.

* John Zavitsanos (class of ’87): Mr. Zavitsanos works in Houston.
His online biography states that he is a highly regarded trial lawyer. A 2016 at-
torney-client representation agreement shows that his billable rate for work in a
Houston employment contract/severance negotiation case was $695.00 per hour.
See Bragg v. Zavitsanos, No. 2019-15102 (270th Judicial District Court for Harris
County, Texas) (Fee Schedule—2016 Attorney Hourly Rates attached to Engage-
ment Agreement as Exhibit 1 to Response in Opposition to Plaintiff’s Motion for
Death Penalty Sanctions, filed on September 23, 2020). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 11.93% higher in 2021 versus 2016—
an $82.93 difference from the year of that stated $695.00 per hour billable rate.7
So, adjusted only for such inflation from the year of that agreement (2016) to the
end of 2021, that $695.00 hourly rate for Mr. Zavitsanos is $777.91.

* Mark L. Johansen (class of ’86): Mr. Johansen works in Dallas.
His online biography states that he “has extensive experience in a wide variety of
complex litigation matters including . . . labor and employment.” In 2019, his law
firm billed at the rate of $685.00 per hour for his work on a Houston employment
commissions case. See Trippie v. Workplace Solutions Inc., No. 201984986 (281st
Judicial District Court for Harris County, Texas) (Defendant’s Trial Exhibit 17,
Bates Stamp No. WPS000948, for trial held April 1, 2021, Invoice 1/23/20 for work
in 2019: “Mark L. Johansen . . . Rate . . . 685.00 / hr”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 2.64% higher in 2021 versus 2019—an $18.08 dif-
ference from the year of that billed $685.00 hourly rate.8 So, adjusted only for such
inflation from the year that rate was billed (2019) to the end of 2021, that $685.00
hourly rate for Mr. Johansen is $703.08.

* M. Scott McDonald (class of ’87): Mr. McDonald works in Dal-
las. His online biography states that he “has represented clients in all areas of
employment and labor law for more than 20 years.” In 2017, he billed his time at
the rate of $610.00 per hour for his work in a Houston misappropriation of trade

6   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=695

7   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=695

8   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=685
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secrets case against former employees of a company. See Quantlab Technologies
Ltd. v. Godlevsky, No. 4:09-cv-04039 (Doc. 884) at pp. 6–7, ¶ 19 (S.D. Tex. Hou-
ston) (Affidavit of Tim McInturf: “In fact, SKV and Littler have charged less to
handle this matter than they often charge clients for similar matters . . . Littler’s
rates for its principal timekeepers increased incrementally by year as follows . . .
Scott McDonald . . . 2017 . . . $610”). According to the Consumer Price Index for
legal services as generated by the U.S. Bureau of Labor Statistics, the prices for
legal services are 8.08% higher in 2021 versus 2017—a $49.29 difference from the
year of that billed $610.00 hourly rate.9 So, adjusted only for such inflation from
the year that rate was billed (2017) to the end of 2021, that $610.00 hourly rate
for Mr. McDonald is $659.29.

* David Borgen (class of ’81): Mr. Borgen works in California. His
online biography notes that he focused his practice on wage and hour cases. On
January 13, 2010, Judge Keith P. Ellison ruled that $500.00 per hour for his work
in a Houston FLSA case was “reasonable and consistent with hourly rates charged
by comparable attorneys in the relevant legal community.” See Roussell v. Brinker
Int’l, Inc., No. H-05-3733 (Doc. 373) at p. 6 (S.D. Tex. Houston). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 29.93% higher in 2021 versus 2010—a
$149.67 difference from the year Judge Ellison ruled that $500 hourly rate was
reasonable.10 So, adjusted only for such inflation from the year of Judge Ellison’s
ruling (2010) to the end of 2021, that $500.00 hourly rate for Mr. Borgen is
$649.67.

* Teresa Valderrama (class of ’88): Ms. Valderrama works in
Houston. Her online biography states that she “has more than 25 years of experi-
ence representing employers in all aspects of workplace law, . . . .” On October 29,
2013, in a Houston employment discrimination case, Ms. Valderrama testified
that her usual hourly rate was $515.00 See Anderson v. Houston Community Col-
lege, No. 2012-40596 (334th Judicial District Court for Harris County, Texas) (Af-
fidavit of Teresa S. Valderrama at p. 2, ¶ 4: “My hourly rate is $515.00” though a
specially negotiated discounted rate is mentioned). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 20.06% higher in 2021 versus 2013—a $103.33
difference from the year of this testimony.11 So, adjusted only for such inflation



9    https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=610

10   https://www.officialdata.org/Legal-services/price-inflation/2010-to-2021?amount=500

11   https://www.officialdata.org/Legal-services/price-inflation/2013-to-2021?amount=515
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from the year of this testimony (2013) to the end of 2021, that $515.00 hourly rate
for Ms. Valderrama is $618.33.

* Gregg M. Rosenberg (class of ’85): Mr. Rosenberg works in
Houston. His online biography states that he “has been practicing employment
law since 1985.” On April 26, 2019, Judge Sim Lake granted fees that included
Mr. Rosenberg’s requested rate of $600.00 per hour for work in a Houston FLSA
case. See Dunphy v. Project Aristocrat Life Foundation, No. 4:17-cv-1225 (Doc. 75)
at p. 1 (S.D. Tex. Houston) (“Plaintiffs’ requests for reasonable attorneys’ fees and
costs incurred in connection with the filing of this motion and the previously filed
Motions to Compel [Dkts. 65 and 70] is also GRANTED. Defendants are ordered
to pay Plaintiffs’ attorneys fees’ in the amount of $3,789.00 . . . .”); id. (Doc. 74-1)
at p. 2, ¶8 (Affidavit of Gregg M. Rosenberg: “My hourly rate is $600.00 per hour.
. . The fees related to drafting the Motions to Compel . . . at least $3,789.00 . . . “).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 2.64% higher in 2021
versus 2019—a $15.84 difference from the year of this ruling.12 So, adjusted only
for such inflation from the year of this ruling (2019) to the end of 2021, that
$600.00 hourly rate for Mr. Rosenberg is $615.84.

* Scott Newar (class of ’89): Mr. Newar works in Houston. His online
biography states that “[s]ince 1996, he has represented thousands of workers in
all types of employment disputes . . . .” On March 16, 2017, Judge Robert F. Schaf-
fer concluded $500.00 per hour was a reasonable hourly rate for his work in an
employment retaliation case. See Davis v. Apache Corp., No. 2014-23898 (152nd
Judicial District Court for Harris County, Texas) (Findings of Fact and Conclu-
sions of Law Regarding Attorneys’ Fee Award at p. 4: “The reasonable hourly rate
for Davis’ counsel is as follows . . . Scott Newar: $500.00/hour”), affirmed as mod-
ified on other issues 573 S.W.3d 475 (Tex. App.—Houston [14th Dist.] 2019, pet.
denied, reh’g granted), reversed on other grounds No. 19-0410 (Tex. June 25,
2021). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 8.08% higher
in 2021 versus 2017—a $40.40 difference from the year of this ruling.13 So, ad-
justed only for such inflation from the year of this ruling (2017) to the end of 2021,
that $500.00 hourly rate for Mr. Newar is $540.40.

* Dennis Herlong (class of ’82): Mr. Herlong works in Houston. His
online biography notes that he “handles wrongful and retaliatory terminations
and age, sex, and race discrimination.” On March 16, 2017, Judge Robert F.

12   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=600

13   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=500
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Schaffer concluded $500.00 per hour was a reasonable hourly rate for his work in
an employment retaliation case. See Davis v. Apache Corp., No. 2014-23898
(152nd Judicial District Court for Harris County, Texas) (Findings of Fact and
Conclusions of Law Regarding Attorneys’ Fee Award at p. 4: “The reasonable
hourly rate for Davis’ counsel is as follows . . . Dennis Herlong: $500.00/hour”),
affirmed as modified on other issues 573 S.W.3d 475 (Tex. App.—Houston [14th
Dist.] 2019, pet. denied, reh’g granted), reversed on other grounds No. 19-0410
(Tex. June 25, 2021). According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
8.08% higher in 2021 versus 2017—a $40.40 difference from the year of this rul-
ing.14 So, adjusted only for such inflation from the year of this ruling (2017) to the
end of 2021, that $500.00 hourly rate for Mr. Herlong is $540.40.

* Barbara Gardner (class of ’81): Ms. Gardner works in Houston,
where she focuses her practice on employment law. On March 16, 2017, Judge
Robert F. Schaffer concluded $500.00 per hour was a reasonable hourly rate for
her work in an employment retaliation case. See Davis v. Apache Corp., No. 2014-
23898 (152nd Judicial District Court for Harris County, Texas) (Findings of Fact
and Conclusions of Law Regarding Attorneys’ Fee Award at p. 4: “The reasonable
hourly rate for Davis’ counsel is as follows . . . Barbara Gardner: $500.00/hour”),
affirmed as modified on other issues 573 S.W.3d 475 (Tex. App.—Houston [14th
Dist.] 2019, pet. denied, reh’g granted), reversed on other grounds No. 19-0410
(Tex. June 25, 2021). According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
8.08% higher in 2021 versus 2017—a $40.40 difference from the year of this rul-
ing.15 So, adjusted only for such inflation from the year of this ruling (2017) to the
end of 2021, that $500.00 hourly rate for Ms. Gardner is $540.40.

* Thomas C. Wright (class of ’80): Mr. Wright works in Houston.
His online biography notes that he is an appellate specialist. On March 25, 2020,
Judge Andrew S. Hanen ruled a requested rate of $500.00 per hour was reasona-
ble for his work helping prosecute an employment discrimination and retaliation
case. See Davis v. Fort Bend County, No. 4:12-cv-00131 (Doc. 108) at pp. 5, 15 (S.D.
Tex. Houston) (“The Court first begins with the hourly rates for Plaintiff’s various
attorneys and other professionals. . . . Those rates were: Thomas C. Wright: $500
per hour; . . .Wright’s hourly rate is approved by the court, . . . .”). According to
the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 1.53% higher in 2021 versus



14   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=500

15   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=500
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2020—a $7.67 difference from the year of Judge Hanen’s ruling.16 So, adjusted
only for such inflation from the year of this ruling (2020) to the end of 2021, that
$500.00 hourly rate for Mr. Wright is $507.67.

* Thomas H. Padgett, Jr. (class of ’89): Mr. Padgett works in
Houston. His online biography states that he is a civil rights lawyer. On Septem-
ber 11, 2015, Judge David Hittner granted fees that included Mr. Padgett’s re-
quested rate of $425.00 per hour for work in a Houston FLSA case. See Ricciardi
v. STSI, LLC, No. H-14-cv-544 (Doc. 25) at p. 8 (S.D. Tex. Houston) (“[T]he court
finds the hourly rates indicated in the attached billing invoice and sworn to by
Hill are reasonable.”); id. (Doc. 17-4) at p. 2, ¶ 6 (Declaration of Jonathan Sand-
strom Hill: “Thomas H. Padgett, Jr. has been a member of the Texas Bar since
1989 engaging in various types of litigation and trial practice. . . . A reasonable
hourly fee for a lawyer with similar experience and expertise is $425.00 per
hour.”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 15.71% higher
in 2021 versus 2020—a $66.76 difference from the year of Judge Hittner’s ruling.17
So, adjusted only for such inflation from the year of this ruling (2015) to the end
of 2021, that $425.00 hourly rate for Mr. Padgett is $491.76.




16   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=500

17   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=425
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Classes of the 1990s


 36                    lawyers listed




 $664.98                                average rate




 $619.93                                median rate
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                                      Classes of the 1990s:
                                           The Rates

   Nathan J.             Mark D.              Jennifer L.           Carolyn A.
   Oleson                Temple               Dotson                Russell
   (JD 1999)             (JD 1995)            (JD 1993)             (JD 1998)


   Esther G.             Scott                M. Todd               Mark J.
   Lander                McLaughlin           Slobin                Oberti
   (JD 1997)             (JD 1994)            (JD 1997)             (JD 1994)


   Jennifer M.           Oswald B.            Stephanie K.          Salar Ali
   Trulock               Cousins              Osteen                Ahmed
   (JD 1997)             (JD 1994)            (JD 1997)             (JD 1998)


   Sean Michael          Jeffrey M.           Laura                 R. Russell
   Becker                Anapolsky            L. Ho                 Hollenbeck
   (JD 1998)             (JD 1999)            (JD 1994)             (JD 1994)


   Christine E.          Cristin M.           Marlene C.            Douglas
   Webber                Obsitnik             Williams              Welmaker
   (JD 1991)             (JD 1997)            (JD 1997)             (JD 1993)


   Shauna                Scott K.             J. Derek              Jim
   Clark                 Davidson             Braziel               Staley
   (JD 1994)             (JD 1998)            (JD 1995)             (JD 1998)


    Agnieszka            Rhonda                Martin A.            Charles A.
    Fryszman             Wills                 Shellist             Sturm
    (JD 1996)            (JD 1994)             (JD 1993)            (JD 1997)


    Ann Marie            Alan J.               Anthony C.           George R.
    Arcadi               Marcuis               Wills                Gibson
    (JD 1993)            (JD 1998)             (JD 1997)            (JD 1995)


    Gregory J.           Rex                   Stewart             Trang
    Ossi                 Burch                 Hoffer              Tran
    (JD 1997)            (JD 1997)             (JD 1994)           (JD 1995)
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Classes of the 1990s:
     The Work

 * Nathan J. Oleson (class of ’99): Mr. Oleson works in Washington
 D.C. His online biography states that his key experience “[f]ocuses on complex
 employment litigation and counseling.” In 2020, his law firm billed his time at the
 rate of $1,115.00 per hour in a Houston bankruptcy case—for work such as: “Re-
 view research re pending FLSA matters.” See In re: Sanchez Energy Corp., No.
 19-34508 (Doc. 1426) at Exhibits B & B-2, pp. 59, 62, 614, 643 (Bankr. S.D. Tex.
 Houston) (Second Interim and Final Fee Application of Akin Gump Strauss Hauer
 & Feld LLP for Allowance and Payment of Fees and Expenses as Counsel to the
 Debtors for the Period from December 1, 2019 through March 27, 2020: “Oleson,
 Nathan J. . . . Dept. . . . LAB . . . 2020 Rate . . . $1,115.00.”). On July 28, 2020,
 Judge Marvin Isgur approved the request for fees. See id. (Doc. 1521). According
 to the Consumer Price Index for legal services as generated by the U.S. Bureau of
 Labor Statistics, the prices for legal services are 1.53% higher in 2021 versus 2020
 (a $17.11 difference).1 So, adjusted only for such inflation from the year of this
 billing and court ruling (2020) to the end of 2021, that $1,115.00 hourly rate for
 Mr. Oleson is $1,132.11.

 * Esther G. Lander (class of ’97): Ms. Lander works in Washing-
 ton D.C. Her online biography states that her key experience “[f]ocuses on high-
 stakes workplace internal and government investigations and complex employ-
 ment discrimination claims.” In 2020, her law firm billed her time at the rate of
 $1,115.00 per hour in a Houston bankruptcy case—for work such as: “Analyze
 options and scenarios re WARN Act.” See In re: Sanchez Energy Corp., No. 19-
 34508 (Doc. 1426) at Exhibits B & B-2, pp. 59, 62, 614, 643 (Bankr. S.D. Tex.
 Houston) (Second Interim and Final Fee Application of Akin Gump Strauss Hauer
 & Feld LLP for Allowance and Payment of Fees and Expenses as Counsel to the
 Debtors for the Period from December 1, 2019 through March 27, 2020: “Lander,
 Esther G. . . . Dept. . . . LAB . . . 2020 Rate . . . $1,115.00.”). On July 28, 2020,
 Judge Marvin Isgur approved the request for fees. See id. (Doc. 1521). According
 to the Consumer Price Index for legal services as generated by the U.S. Bureau of
 Labor Statistics, the prices for legal services are 1.53% higher in 2021 versus 2020


 1 https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=1115
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(a $17.11 difference).2 So, adjusted only for such inflation from the year of this
billing and court ruling (2020) to the end of 2021, that $1115.00 hourly rate for
Ms. Lander is $1,132.11.

* Jennifer M. Trulock (class of ’97): Ms. Trulock works in Dallas.
Her online biography states that she “counsels companies on how to manage work-
place legal issues, conduct investigations into employee misconduct, and prevent
employment lawsuits.” In 2019, her firm billed her time at a rate of $898.00 per
hour in a Houston bankruptcy case—for employment law work such as “Labor
Issues” and “Review charge and discuss with M. Wersebe” and “provide advice for
response to employee’s attorney.” See In re: Bristow Group Inc., No. 19-3271 (Doc.
878) at p. 8, (Doc. 878-3) at p. 1, (Doc. 878-5) at Exhibit 5-V “Labor Issues,” pp.
452–53 (Bankr. S.D. Tex. Houston) (First Interim Fee Application of Baker Botts
L.L.P., Co-counsel to the Debtors, for Allowance and Payment of Compensation
for Services Rendered and Reimbursement of Expenses Incurred for the Period
May 11, 2019 through July 31, 2019, filed on August 21, 2019). On December 6,
2019, Judge David R. Jones approved her law firm’s request for fees. See id. (Doc.
930). According to the Consumer Price Index for legal services as generated by the
U.S. Bureau of Labor Statistics, the prices for legal services are 2.64% higher in
2021 versus 2019 (a $23.70 difference).3 So, adjusted only for such inflation from
the year of this billing and ruling (2019) to the end of 2021, that $898.00 hourly
rate for Ms. Trulock is $921.70.

* Sean Michael Becker (class of ’98): Mr. Becker works in Hou-
ston. His online biography states that he is “head of the Employment, Labor and
OSHA practice” for his law firm. In 2016, his firm billed his time at a rate of
$795.00 per hour in a Houston bankruptcy case—for work such as “Conference
with David Meyer regarding new employment agreements.” See In re: Energy XXI
LTD, No. 16-31928 (Doc. 1897) at pp. 59, 65 and (Doc. 1899-4) at pp. 89, 90, 244
(Bankr. S.D. Tex. Houston) (Summary of the Final Fee Application (First Interim,
Second Interim and Third Interim Fee Periods) of Vinson & Elkins LLP, Attor-
neys for the Debtors and Debtors in Possession, For the Period from April 14, 2016
through and including December 30, 2016). On March 7, 2017, Judge David R.
Jones approved his law firm’s request for fees. See id. at Doc. 1949 (March 7,
2017). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 11.93% higher
in 2021 versus 2016—a $94.84 difference from the year this rate was billed.4 So,


2 https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=1115


3   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=898

4   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=795
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adjusted only for such inflation from the year of this billing (2016) to the end of
2021, that $795.00 hourly rate for Mr. Becker is $889.84.

* Christine E. Webber (class of ’91): Ms. Webber works in Wash-
ington, D.C. Her online biography states that she “represents victims of discrimi-
nation and wage and hour violations in class and collective actions.” On November
30, 2017, Judge Keith P. Ellison determined Ms. Webber’s requested rate of
$790.00 per hour was “fair and reasonable” for work she did in a Houston human
trafficking [i.e., forced labor] case. Adhikari v. Daoud & Partners, No. 4:09-CV-
1237 (Doc. 764) at pp. 28–29 (S.D. Tex. Houston) (The requested rates, in descend-
ing order, are as follows: . . . $790 for Webber . . . The requested rates are fair and
reasonable here too.”). According to the Consumer Price Index for legal services
as generated by the U.S. Bureau of Labor Statistics, the prices for legal services
are 8.08% higher in 2021 versus 2017 (a $63.83 difference).5 So, adjusted only for
such inflation from the year of Judge Ellison’s determination to the end of 2021,
that $790.00 hourly rate for Ms. Webber is $853.83.

* Shauna Clark (class of ’94): Ms. Clark works in Houston. Her
online biography states that she “provides strategic advice to employers on best
practice, conducts management and employee training, and counsels clients on
the full spectrum of employment issues.” In 2020, Ms. Clark’s law firm billed her
time for work at the rate of $825.00 per hour in a Houston defamation/tortious
interference case by a former employee against a former employer. See Nath v.
Baylor College of Medicine, No. 2019-85080 (269th Judicial District Court for Har-
ris County, Texas) (Declaration of Shauna J. Clark attached as Exhibit A to De-
fendant Baylor College of Medicine’s Application for Attorneys’ Fees, filed on June
30, 2020 at Tab 2, p. 4) (“Clark, S . . . Rate . . . 825.00). In 2018, Ms. Clark’s law
firm billed her time at the rate of $795.00 per hour in a Houston employment
discrimination and ERISA case—for work such as “Meet with witnesses in prep-
aration for deposition.” See Gonzales v. ConocoPhillips Co., No. 4:17-cv-2374 (Doc.
94-3) at pp. 27, 29 (S.D. Tex. Houston) (Exhibit 1 to Declaration of Fazila Issa,
Invoice dated September 27, 2018: “Clark, S. . . . Rate . . . 795.00”). On June 26,
2019, Judge Kenneth M. Hoyt determined the fees Ms. Clark’s firm sought for her
work were reasonable—but only imposed 30% of them in his fee award. See id.
(Doc. 108) at p. 1 (“The Court determines that the plaintiff’s ability to pay an at-
torneys’ fee is limited to his earned income and bonus(es), if any, resulting in an
annual income in the range of $250,000. The Court is of the opinion that the fees
and costs sought are reasonable. In light of this fact, the Court determines that
an award equal to 30% of the requested attorneys’ fees sought is reasonable.”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 1.53% higher in 2021

5   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=790
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versus 2020—a $12.66 difference from that 2020 billed rate in Nath.6 So, adjusted
only for such inflation from the year of that billed rate (2020) to the end of 2021,
that $825.00 hourly rate for Ms. Clark is $837.66.

* Agnieszka Fryszman (class of ’96): Ms. Fryszman works in
Washington, D.C. Her online biography notes that she practices in human
rights—forced and slave labor. On November 30, 2017, Judge Keith P. Ellison
determined Ms. Fryszman’s requested rate of $745.00 per hour was “fair and rea-
sonable” for work she did in a Houston human trafficking [i.e., forced labor] case.
Adhikari v. Daoud & Partners, No. 4:09-CV-1237 (Doc. 764) at pp. 28–29 (S.D.
Tex. Houston) (The requested rates, in descending order, are as follows: . . . $745
for Fryszman . . . The requested rates are fair and reasonable here too.”). Accord-
ing to the Consumer Price Index for legal services as generated by the U.S. Bureau
of Labor Statistics, the prices for legal services are 8.08% higher in 2021 versus
2017 (a $60.20 difference).7 So, adjusted only for such inflation from the year of
Judge Ellison’s determination to the end of 2021, that $745.00 hourly rate for Ms.
Fryszman is $805.20.

* Ann Marie Arcadi (class of ’93): Ms. Arcadi’s works in Dallas.
Her online biography states that she “regularly advises clients on compliance with
state and federal labor & employment laws, assists with internal investigations,
provides legal compliance and HR training, and represents clients before state
and federal agencies with employment-related jurisdiction.” On August 2, 2017,
she testified that her rate for work in a Houston employment discrimination case
was $725.00 per hour. See Lyde v. The Boeing Co., No. 4:16-cv-3293 (Doc. 16-4) at
p. 2, ¶ 4 (S.D. Tex. Houston) (Affidavit of Ann Marie Arcadi: “I have been involved
in handling this case, and have done various legal work on this matter. My billing
rate for this case was $725.00 per hour.”). According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
for legal services are 8.08% higher in 2021 versus 2017 (a $58.58 difference).8 So,
adjusted only for such inflation from the year of this billing to the end of 2021,
that $725.00 hourly rate for Ms. Arcadi is $783.58.

* Gregory J. Ossi (class of ’97): Mr. Ossi works in Washington,
D.C. His online biography notes that he “counsels employers on a broad range of
labor and employee benefits matters, . . . .” In 2019, his law firm billed his time at
the rate of $720.00 per hour in a Houston bankruptcy case—for labor law work

6   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=825

7   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=745

8   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=725
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such as: “Prepare for and conduct negotiations with UMWA” and “Attend deposi-
tions of Joe M., Elizabeth M. and Doug G.” See In re: Westmoreland Coal Co., No.
18-35672 (Doc. 2147-4) at pp. 2, 6 (Bankr. S.D. Tex. Houston) (Exhibit D, Itemized
Time Records of Professionals and Paraprofessionals January 7, 2019 – June 21,
2019 attached to First and Final Fee Application (WMLP Debtors) of Drinker Bid-
dle & Reath LLP as Special Labor and Employment Benefits Counsel to the Debt-
ors and Debtors in Possession for the Period of January 7, 2019 through June 21,
2019: “GJ Ossi . . . Partner . . . Rate . . . $720.00”). On August 14, 2019, Judge
David R. Jones approved the request for fees. See id. (Doc. 2247). According to
the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 2.64% higher in 2021 versus 2019
(a $19.00 difference).9 So, adjusted only for such inflation from the year of this
billing and court ruling (2019) to the end of 2021, that $720.00 hourly rate for Mr.
Ossi is $739.00.

* Mark D. Temple (class of ’95): Mr. Temple works in Houston.
His online biography notes that he “focuses on high-stakes business disputes and
complex employment litigation.” On September 25, 2015, Judge Nancy F. Atlas
awarded fees requested for Mr. Temple’s work in a Houston ERISA case. See Ro-
mano Woods Dialysis Ctr. v. Admiral Linen Serv., Inc., No. 4:14-cv-01125 (Doc.
67) (S.D. Tex. Houston) (“Based on this review, and a clear recollection of the liti-
gation of this lawsuit, the Court finds that the $209,350.13 in attorneys’ fees re-
quested by Defendants is reasonable and appropriate.”) (awarding all fees re-
quested in Defendants’ Motion for Fees and Costs (Doc. 62)). The court-approved
request for fees documented work Mr. Temple did at an hourly rate of $625.00—
including work done and billed on invoices in 2014 at that rate. See id. (Doc. 62-
1) at pp. 4, 33–34 (Affidavit of Kenneth E. Broughton, for work such as “Analysis
of outstanding issues” on September 16, 2014). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 17.55% higher in 2021 versus 2014 (a $109.67 differ-
ence).10 So, adjusted only for such inflation from the year of this billing (2014) to
the end of 2021, that $625.00 hourly rate for Mr. Temple is $734.67.

* Scott R. McLaughlin (class of ’94): Mr. McLaughlin works in
Houston. His online biography states that he “has extensive experience in con-
ducting internal sexual harassment, discrimination, and fraud investigations,
and provides day-to-day labor and employment advice and counsel to clients.” On
August 5, 2015, in a Corpus Christi employment discrimination and retaliation
case, his law firm noted that his standard rate per hour was $625.00—though

9    https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=720

10   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=625
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there was a lower negotiated effective rate per hour in that case. See Arredondo
v. Weatherford Int’l, LLC, No. 2:14-cv-00170 (Doc. 89) at p. 1 (S.D. Tex. Corpus
Christi) (Summary of Attorney Fees and Expenses: “Scott McLaughlin . . .
STANDARD RATE PER HOUR . . . 625”). According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
for legal services are 15.71% higher in 2021 versus 2015 (a $98.17 difference).11
So, adjusted only for such inflation from the year of this stated rate (2015) to the
end of 2021, that $625.00 hourly rate for Mr. McLaughlin is $723.17.

* Oswald B. Cousins (class of ’94): Mr. Cousins works in Califor-
nia. His online biography states that he “defends and advises clients on complex
employment law challenges.” On November 28, 2007, Judge Ewing Werlein, Jr.
gave his opinion that $500.00 per hour was reasonable for Mr. Cousins’s work in
a Houston employment discrimination case. See Worrell v. GreatSchools, Inc., No.
4:07-cv-01100 (Doc. 17) at p. 10 (S.D. Tex. Houston) (“With all due respect to the
rates ordinarily billed by Cousins in California for his experience and high level
of competency, the Court is of the opinion that $500 an hour is reasonable to the
circumstances of this case in this district.”). According to the Consumer Price In-
dex for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 43.84% higher in 2021 versus 2007 (a $219.21 differ-
ence).12 So, adjusted only for such inflation from the year of this ruling (2007) to
the end of 2021, that $500.00 hourly rate for Mr. Cousins is $719.21.

* Jeffrey M. Anapolsky (class of ’99): Mr. Anapolsky works in
Houston. His online biography notes that he does restructuring and dispute reso-
lution. On July 2, 2020, he testified that his billable rate was $700.00 per hour for
his work in a Houston declaratory judgment case against a former employee—
though he was willing to accept less in a fee motion. See Anapolsky Advisors, Inc.
v. Mangual, No. 2020-11559 (127th Judicial District Court for Harris County,
Texas) (Supplemental Declaration of Jeffrey M. Anapolsky, dated July 2, 2020
with bills attached, at p. 1, ¶ 3: “Although my billable rate for this matter is $700
per hour, I am willing to match the billable rate of Defendant’s attorney, . . . .”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 1.53% higher in 2021
versus 2020 (a $10.74 difference).13 So, adjusted only for such inflation from the
year of this testimony (2020) to the end of 2021, that $700.00 hourly rate for Mr.
Anapolsky is $710.74.


11   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=625

12 https://www.officialdata.org/Legal-services/price-inflation/2007-to-2021?amount=500


13 https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=700
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* Cristin M. Obsitnik (class of ’97): Ms. Obsitnik works in Chi-
cago. Her online biography notes that she works on employee benefit programs:
“Cristin counsels employers on the design and implementation of tax-qualified
pension plans and nonqualified deferred compensation arrangements, as well as
on ERISA fiduciary matters.” In 2019, her law firm billed her time at the rate of
$655.00 per hour in a Houston Bankruptcy case—for labor law work such as Re-
view plan documents” and “Email exchanges with G. Ossi on treatment of pension
plan after asset sale.” See In re: Westmoreland Coal Co., No. 18-35672 (Doc. 2147-
4) at pp. 9–10 (S.D. Tex. Bankruptcy Houston) (Exhibit D, Itemized Time Records
of Professionals and Paraprofessionals January 7, 2019 – June 21, 2019 attached
to First and Final Fee Application (WMLP Debtors) of Drinker Biddle & Reath
LLP as Special Labor and Employment Benefits Counsel to the Debtors and Debt-
ors in Possession for the Period of January 7, 2019 through June 21, 2019). On
August 14, 2019, Judge David R. Jones approved the request for fees. See id. (Doc.
2247). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 2.64% higher
in 2021 versus 2019 (a $17.29 difference).14 So, adjusted only for such inflation
from the year of this billing and court ruling (2019) to the end of 2021, that
$655.00 hourly rate for Ms. Obsitnik is $672.29.

* Scott K. Davidson (class of ’98): Mr. Davidson works in Hou-
ston. His online biography notes he works as an in-house attorney, but previously
worked for a law firm “helping people with Employment & Labor issues.” On De-
cember 22, 2011, he testified that his law firm charged $515.00 per hour for his
work in a Houston employment agreement/non-compete case. See Renewable En-
ergy Group, Inc. v. Dascal, No. 2011-51111 (190th Judicial District Court for Har-
ris County, Texas) (Affidavit of Scott K. Davidson in Support of Attorney’s Fees
at p. 1, ¶ 3: “I prosecuted this case in accordance with an hourly fee agreement
entered into between Renewable Energy Group, Inc. and Locke Lord LLP. My
firm charged Renewable Energy Group, Inc. $515.00 per hour for my work . . . .”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 25.87% higher in 2021
versus 2011 (a $133.25 difference).15 So, adjusted only for such inflation from the
year of this billing (2011) to the end of 2021, that $515.00 hourly rate for Mr.
Davidson is $648.25.

* Rhonda Wills (class of ’94): Ms. Wills works in Houston. Her
online biography notes she focuses her practice on several areas, such as

14   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=655

15   https://www.officialdata.org/Legal-services/price-inflation/2011-to-2021?amount=515
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“problems at work (including unlawful pay, sexual harassment, discrimination,
and injuries on the job)[.] . . .” On April 4, 2014, Judge Gray H. Miller awarded
Ms. Wills’s law firm all fees requested in a Houston FLSA case—which included,
under a lodestar method cross-check, a 1.29 multiplier from her hourly rate of
$550.00 per hour. See In re Wells Fargo Wage & Hour Employment Practices Lit-
igation, No. 4:11-md-02266 (Doc. 239) (S.D. Tex.) (“The request for $4.5 million in
fees representing 30% of the settlement fund is APPROVED as fair and reasona-
ble”); id. (Doc. 233) at pp. 20, 23, 24, 25 (Plaintiff’s Corrected Unopposed Motion
for Approval of the Settlement on Behalf of FLSA Collective Action Members:
“Here, the Settling Plaintiffs’ counsel seek $4.5 million for attorneys’ fees (30% of
the total settlement fund)[.] . . . A ‘cross-check’ of the Johnson factors further es-
tablishes the reasonableness of lead counsel’s fee request. . . . Accordingly, the
lodestar multiplier on the hours worked to date with respect to the Settling Plain-
tiffs’ claims is 1.29. . . . Lead counsel’s lodestar is based on reasonable hourly rates,
consisting of the following ranges: $475-$550 for partners and of counsel; $150-
$425 for associates and staff attorneys; and $75 for professional support staff.
These rates are consistent with those charged in other significant FLSA actions
and in the Texas legal market in general.”); id. at (Doc. 233-4) at p. 18, ¶ 37 (Dec-
laration of Rhonda H. Wills: “The hours, attendant rates and lodestar for the Wills
Law Firm, PLLC in this matter are as follows . . . RHONDA H. WILLS (LEAD
COUNSEL) $550[.] . . .”). According to the Consumer Price Index for legal services
as generated by the U.S. Bureau of Labor Statistics, the prices for legal services
are 17.55% higher in 2021 versus 2014 (a $96.51 difference).16 So, adjusted only
for such inflation from the year of this court ruling (2014) to the end of 2021—and
without regard to the 1.29 multiplier—that $550.00 hourly rate for Ms. Wills is
$646.51.

* Alan J. Marcuis (class of ’98): Mr. Marcuis works in Dallas. His
online biography states that he “represents management in complex labor and
employment law matters, including contract, trade secret and post-employment
restrictive covenants, EEO litigation, collective bargaining and labor relations.”
In 2020, his law firm listed his hourly rate as $630.00 per hour in its fee request
in a Houston bankruptcy case—for employment law work he did in 2019 such as
“review David Fitch Texas Workforce Commission wage claim and supporting doc-
uments and analysis of same” and “conference regarding responses to Texas
Workforce Commission denying wage claims” and “Review correspondence re-
garding former employees working for competitor and soliciting customers.” See
In re: KP Eng., L.P., No. 19-34698 (Doc. 613) at pp. 18, 37, 85, 86, 97, 271, 279,
284 (Bankr. S.D. Tex. Houston) (Fee Application Summary Cover Sheet for Sec-
ond Interim and Final Fee Application of Hunton Andrews Kurth LLP, Special
Counsel to Debtor KP Engineering, LP, for Allowance and Payment of Fees and
Expenses for the Period from August 23, 2019 through June 23, 2020). On October

16   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=550
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1, 2020, Judge David R. Jones approved the request for fees. See id. (Doc. 650).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 1.53% higher in 2021
versus 2020—the year of the court approval of the fee request—a $9.67 differ-
ence.17 So, adjusted only for such inflation from the year of this court ruling (2020)
to the end of 2021, that $630.00 hourly rate for Mr. Marcuis is $639.67.

* Rex Burch (class of ’97): Mr. Burch works in Houston, where he
focuses his practice on labor and employment law. On October 11, 2016, Judge
Alfred H. Bennett granted fees for work Mr. Burch did in a Houston FLSA case.
See St. John v. Nesco Service Co., No. 15-cv-00253 (Doc. 68) at p. 3 (S.D. Tex.
Houston) (“Nesco does not take issue with the hourly rates charged by Plaintiff’s
counsel” but making an across-the-board reduction on time); id. (Doc. 63) at p. 5
(Plaintiff’s Motion for an Award of Reasonable Attorney’s Fees, Costs, and Ex-
penses: “Richard J. (Rex) Burch . . . RATE . . . $565.00”). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 11.93% higher in 2021 versus 2016—a
$67.40 difference from that 2016 rate of $565.00 per hour.18 So, adjusted only for
such inflation from the year of this court ruling (2016) to the end of 2021, that
$565.00 hourly rate for Mr. Burch is $632.40.

* Jennifer L. Dotson (class of ’93): Ms. Dotson works in Pear-
land. She previously worked for a law firm in Houston. On September 25, 2015,
Judge Nancy F. Atlas awarded fees requested for Ms. Dotson’s work in a Houston
ERISA case. See Romano Woods Dialysis Ctr. v. Admiral Linen Serv., Inc., No.
4:14-cv-01125 (Doc. 67) at p. 16 (S.D. Tex. Houston) (“Based on this review, and a
clear recollection of the litigation of this lawsuit, the Court finds that the
$209,350.13 in attorneys’ fees requested by Defendants is reasonable and appro-
priate.”) (awarding all fees requested in Defendants’ Motion for Fees and Costs
(Doc. 62)). On July 24, 2015, attorney Kenneth E. Broughton testified that her
rate for work on the case, which was a rate “discounted from the Firm’s standard
hourly rates,” was “$495-$525.” See (Doc. 62-1) at pp. 3-4, at ¶¶ 8 & 10 (Affidavit
of Kenneth E. Broughton: “The fees are based on the number of hours Reed
Smith’s timekeepers have spent working on this case multiplied times their ap-
plicable hourly rates, which for this matter were discounted from the Firm’s
standard hourly rates. . . . Jennifer J. Dotson $490-$525.”). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 15.71% higher in 2021 versus 2015—



17   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=630

18   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=565
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an $82.46 difference from the year of that 2015 testimony.19 So, adjusted only for
such inflation from the year of this testimony and court award (2015) to the end
of 2021, that $525.00 hourly rate for Ms. Dotson is $607.46.

* M. Todd Slobin (class of ’97): Mr. Slobin works in Houston. His
online biography notes: “Since 1998, I have exclusively handled employment law
cases.” On November 21, 2018, Magistrate Judge Christina A. Bryan determined
$500.00 was a reasonable hourly rate for Mr. Slobin’s work in a Houston FLSA
case. See Novick v. Shipcom Wireless, Inc., No. 4:16-cv-00730 (Doc. 100) at p. 6
(S.D. Tex. Houston) (Memorandum and Order: “$500 is a reasonable rate for the
services provided by Todd Slobin in this case.”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 3.64% higher in 2021 versus 2018 (an $18.18 differ-
ence).20 So, adjusted only for such inflation from the year of this court ruling
(2018) to the end of 2021, that $500.00 hourly rate for Mr. Slobin is $518.18. In
the Summer of 2021, arbitrator and former Judge Susan Soussan approved a rate
of $600 per hour for Mr. Slobin’s work. See Hawthorne v. KS Mgmt. Servs., No.
4:17-cv-02350 (Doc. 89-2) at p. 4, ¶ 14 (S.D. Tex. Houston) (Declaration of Todd
Slobin dated December 22, 2021: “I recently arbitrated a case before the Honora-
ble Judge Susan Soussan over the Summer in 2021. Upon a successful arbitration
award, my hourly rate of $600 was approved.”).

* Stephanie K. Osteen (class of ’97): Ms. Osteen works in Dal-
las. Her online biography states that “for the last twenty-five years, Stephanie
has represented publicly traded and privately held companies, including Fortune
50-1000, middle market companies, private equity groups, and startups, in simple
and complex employment litigation and transactional matters, over a wide range
of industries.” On April 13, 2017, her client sought sanctions to recover fees at a
rate of $550 per hour incurred for her time in defending a Houston Deceptive
Trade Practices Act (DTPA) case over a job posting for a staffing agency—for work
such as traveling to Houston for a deposition that did not take place. See Grivich
v. Robert Half Int’l, Inc., No. 2016-57390 (269th Judicial District Court for Harris
County, Texas) (Defendant Robert Half International, Inc.’s Motion for Sanctions
at p. 8 ¶ 20: “Robert Half incurred significant costs, including travel and hotel
expenses for Robert Half’s lead counsel, attorneys’ fees for appearing at and pre-
paring for Plaintiff’s deposition, costs of the court reporter and videographer, and
fees in researching for and drafting this Motion. [See Itemized Accounting of De-
fendant’s Fees and Costs, attached as Exhibit 15.]”); id. at Exhibit 15 (“Rate (per
hour) $550” for work such as “Travel to and appear at Hunton & Williams LLP’s

19   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=525

20   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=500
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Houston for deposition of Plaintiff and communications with client regarding
same (5.5 hours); review and revise Defendant’s Motion for Sanctions (1.0
hours).”). According to the Consumer Price Index for legal services as generated
by the U.S. Bureau of Labor Statistics, the prices for legal services are 8.08%
higher in 2021 versus 2017 (a $44.44 difference).21 So, adjusted only for such in-
flation from the year of this invoicing and motion (2017) to the end of 2021, that
$550.00 hourly rate for Ms. Osteen is $594.44.

* Laura L. Ho (class of ’94): Ms. Ho works in California. Her online
biography states that she “has extensive experience representing employees, con-
sumers, and voters in class, collective, and representative actions in California
and nationally.” On January 13, 2010, Judge Keith P. Ellison ruled that $450.00
per hour for her work in a Houston FLSA case was “reasonable and consistent
with hourly rates charged by comparable attorneys in the relevant legal commu-
nity.” See Roussell v. Brinker Int’l, Inc., No. H-05-3733 (Doc. 373) at p. 6 (S.D. Tex.
Houston). According to the Consumer Price Index for legal services as generated
by the U.S. Bureau of Labor Statistics, the prices for legal services are 29.93%
higher in 2021 versus 2010 (a $134.71 difference).22 So, adjusted only for such
inflation from the year of Judge Ellison’s ruling (2010) to the end of 2021, that
$450.00 hourly rate for Ms. Ho is $584.71.

* J. Derek Braziel (class of ’95): J. Derek Braziel works in Dallas.
His online biography states that he “represents plaintiffs in collective action and
class action litigation concerning rights asserted under the FLSA and commensu-
rate state laws governing wages.” On October 21, 2015, Judge David Hittner
granted his firm fees in a Houston FLSA case. See Gingrass v. TMG (The Moore
Group, Inc.), No. 4:15-cv-00837 (Doc. 18) at p. 1 (S.D. Tex. Houston) (“The Court
finds that Plaintiff has established by declaration that he and his counsel are en-
titled to recover from Defendant attorney’s fees and costs of $7,258.95, which the
Court finds to be a reasonable amount.”). Judge Hittner’s ruling was premised, in
part, on a rate of $495.00 per hour for Mr. Braziel’s work in that Houston FLSA
case. See id. (Doc. 13-2) at p. 3, ¶ 11 (Declaration of Jesse H. Forester dated Sep-
tember 21, 2015: “The firm’s lodestar (hours x hourly rates) on the hours expended
on this matter, amounts to $6,658.95 (J. Forester with 13.50 hours x $295 =
$3,982.50; J. Derek Braziel with 3.00 hours x $495 = $1,485.00; and Chief Para-
legal Josey Gonzales with 6.11 hours x $195 = $1,191.45). The firm also has an
additional $600.00 in costs in this matter for a total amount in fees and costs of
$7,258.95.”). According to the Consumer Price Index for legal services as gener-
ated by the U.S. Bureau of Labor Statistics, the prices for legal services are

21   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=550

22   https://www.officialdata.org/Legal-services/price-inflation/2010-to-2021?amount=450
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15.71% higher in 2021 versus 2015 (a $77.75 difference).23 So, adjusted only for
such inflation from the year of Judge Hittner’s ruling (2015) to the end of 2021,
that $495.00 hourly rate for Mr. Braziel is $572.75.

* Marlene C. Williams (class of ’97): Ms. Williams works in
Houston. Her online biography states that she “guides her clients through com-
plex labor and employment matters, defending Fortune 100 companies in class
action disputes and collective action litigation.” On August 5, 2015, in a Corpus
Christi employment discrimination and retaliation case, her law firm noted that
her standard rate per hour was $495.00—though there was a lower negotiated
effective rate per hour in that case. See Arredondo v. Weatherford Int’l, LLC, No.
2:14-cv-00170 (Doc. 89) at p. 1 (S.D. Tex. Corpus Christi) (Summary of Attorney
Fees and Expenses: “Marlene Williams . . . STANDARD RATE PER HOUR: . . .
495”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 15.71% higher
in 2021 versus 2015 (a $77.75 difference).24 So, adjusted only for such inflation
from the year of this standard hourly rate for Ms. Williams (2015) to the end of
2021, that $495.00 hourly rate for Ms. Williams is $572.75.

* Martin A. Shellist (class of ’93): Martin Shellist works in Hou-
ston. His online biography notes that he represents clients in employment mat-
ters. On December 2, 2011, Judge David Hittner ruled there was sufficient evi-
dence that Mr. Shellist’s requested hourly rate of $450.00 was reasonable in a
Houston employment discrimination case. See Dixon v. Texas Southern Univ., No.
4:10-cv-01045 (Doc. 102) at p. 10 (S.D. Tex. Houston) (“Based on the qualifications
of Slobin and Shellist and the rates charged in the local community, this Court
finds Dixon has submitted sufficient evidence that the rates charged were reason-
able. Accordingly, this Court will adopt Dixon’s proposed hourly rates: $400 per
hour for Slobin and $450 per hour for Shellist.”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 25.87% higher in 2021 versus 2011 (a $116.43 differ-
ence).25 So, adjusted only for such inflation from the year of Judge Hittner’s ruling
(2011) to the end of 2021, that $450.00 hourly rate for Mr. Shellist is $566.43.

* Anthony C. Wills (class of ’97): Mr. Wills works in California
but previously worked in Houston. On April 4, 2014, Judge Gray H. Miller
awarded Ms. Wills’s law firm all fees requested in a Houston FLSA case—which

23   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=495

24   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=495

25   https://www.officialdata.org/Legal-services/price-inflation/2011-to-2021?amount=450
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included, under a lodestar method cross-check, a 1.29 multiplier from Mr. Wills’s
hourly rate of $475.00 per hour. See In re Wells Fargo Wage & Hour Employment
Practices Litigation, No. 4:11-md-02266 (Doc. 239) (S.D. Tex.) (“The request for
$4.5 million in fees representing 30% of the settlement fund is APPROVED as fair
and reasonable”); id. (Doc. 233) at pp. 20, 23, 24, 25 (Plaintiff’s Corrected Unop-
posed Motion for Approval of the Settlement on Behalf of FLSA Collective Action
Members: “Here, the Settling Plaintiffs’ counsel seek $4.5 million for attorneys’
fees (30% of the total settlement fund)[.] . . . A ‘cross-check’ of the Johnson factors
further establishes the reasonableness of lead counsel’s fee request. . . . Accord-
ingly, the lodestar multiplier on the hours worked to date with respect to the Set-
tling Plaintiffs’ claims is 1.29. . . . Lead counsel’s lodestar is based on reasonable
hourly rates, consisting of the following ranges: $475-$550 for partners and of
counsel; $150-$425 for associates and staff attorneys; and $75 for professional
support staff. These rates are consistent with those charged in other significant
FLSA actions and in the Texas legal market in general.”); id. at (Doc. 233-4) at p.
18, ¶ 37 (Declaration of Rhonda H. Wills: “The hours, attendant rates and lodestar
for the Wills Law Firm, PLLC in this matter are as follows . . . ANTHONY C.
WILLS (PARTNER) $475[.] . . .”). According to the Consumer Price Index for legal
services as generated by the U.S. Bureau of Labor Statistics, the prices for legal
services are 17.55% higher in 2021 versus 2014 (a $83.35 difference).26 So, ad-
justed only for such inflation from the year of this court ruling (2014) to the end
of 2021—and without regard to the 1.29 multiplier—that $475.00 hourly rate for
Mr. Wills is $558.35.

* Stewart Hoffer (class of ’94): Mr. Hoffer works in Houston. His
online biography notes that his practice includes, but is not limited to, “Represen-
tation of Executives in Employment Matters” and “Labor and Employment Liti-
gation.” On August 27, 2015, Mr. Hoffer’s client sought an award of attorneys’ fees
at the rate of $475.00 per hour for Mr. Hoffer’s time in a Houston employment
non-compete and commissions declaratory judgment case—for work such as “re-
view and revise Motion for Summary Judgment.” See Goddard v. Total Safety
U.S., Inc., No. 2015-04385 (11th Judicial District Court for Harris County, Texas)
(Defendant Total Safety U.S. Inc.’s Motion for Determination Under Epps v.
Fowler and Award of Attorney’s Fees Under Declaratory Judgment Act at pp. 11-
12 and Exhibit E: “Total Safety requests an award of reasonable and necessary
attorney’s fees in the amount of $21,817.50, which is a mere fraction of the total
fees it incurred to defend Goddard’s claims.” . . . “[Mr. Hoffer’s law firm, Hick
Thomas LLC] billed Mr. Hoffer’s time to Total Safety at $475 per hour (an hourly
rate that was 20% lower than the hourly rates that Hick Thomas LLP bills Mr.
Hoffer’s time to other clients), . . . .”). The Court denied the request for fees alto-
gether. See id. (Order Denying Defendant’s Motion for Fees Under the Declara-
tory Judgment Act dated September 22, 2015). According to the Consumer Price

26   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=475
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Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 15.71% higher in 2021 versus 2015 (a $74.61 differ-
ence).27 So, adjusted only for such inflation from the year of this discounted billing
rate (2015) to the end of 2021, that $475.00 hourly rate for Mr. Hoffer is $549.61.

* Carolyn A. Russell (class of ’98): Ms. Russell works in Houston.
Her online biography notes that she “represents management in a va-
riety of employment-related matters, including litigation involving age, disabil-
ity, race and sex discrimination claims, covenants not to compete, trade secrets,
wage and hour claims, ERISA claims, and other workplace torts.” On October 18,
2016, Ms. Russell sought an award of attorneys’ fees her client incurred for her
work at a rate of $480.00 per hour in a Houston state court wage case. See Garrett
v. Prologistix Corp. NW PLX, No. 1076687 (Harris County Court at Law No. 2)
(Request for Entry of Attorneys’ Fees at Exhibit A, Affidavit of Carolyn A. Russell
(dated October 18, 2016) ¶ 2: “I represent the Defendant in the above-styled case.
My hourly rate is $480”). The court granted fees but in a lower overall amount
than that requested. See id. (Judgment dated July 11, 2017). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 11.93% higher in 2021 versus 2016 (a
$57.26 difference).28 So, adjusted only for such inflation from the year of this rate
was billed (2016) to the end of 2021, that $480.00 hourly rate for Ms. Russell is
$537.26.

* Mark J. Oberti (class of ’94): Mr. Oberti works in Houston. His
online biography states that he “is a highly effective employment attorney in Hou-
ston, winning numerous cases for executives, employers, and employees.” On June
1, 2017, the United States Court of Appeals for the Fifth Circuit reversed a judg-
ment against Mr. Oberti’s client and instead, issued a judgment in Mr. Oberti’s
client’s favor in a Houston ERISA case. See Langley v. Howard Hughes Mgmt. Co.,
L.L.C., No. 16-20724 (5th Cir. June 1, 2017) (“It is ordered and adjudged that the
judgment of the District Court is reversed, and judgment is rendered in favor of
Langley in the amount of $255,000, plus attorney’s fees of $18,970.”). The amount
of fees the Fifth Circuit awarded was based on Mr. Oberti’s testimony and calcu-
lation including his $450.00 per hour rate billed to his client and as testified to in
2014. See Langley v. Howard Hughes Mgmt. Co., No. 4:13-cv-03595 (Doc. 7) at p.
25 (S.D. Tex. Houston February 3, 2014) (Langley’s Motion for Summary Judg-
ment: “In this case, Langley’s counsel’s reasonable fees are $18,970.00”); id. (Doc.
7-9) at p. 3, ¶ 4 (Exhibit 9 Affidavit of Mark J. Oberti: “My rate on this case was
$400 per hour, until January 1, 2014, and then $450 per hour after that.”)

27   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=475

28   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=480
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(attaching firm invoice). According to the Consumer Price Index for legal services
as generated by the U.S. Bureau of Labor Statistics, the prices for legal services
are 17.55% higher in 2021 versus 2014 (a $78.97 difference).29 So, adjusted only
for such inflation from the year of this rate was billed (2014) to the end of 2021,
that $450.00 hourly rate for Ms. Oberti is $528.97.

* R. Russell Hollenbeck (class of ’94): Mr. Hollenbeck works in
Houston. His online biography notes he is a civil appellate specialist. On March
25, 2020, Judge Andrew S. Hanen awarded a rate of $500.00 per hour for his work
in a Houston employment discrimination and retaliation case. See Davis v. Fort
Bend County, No. 4:12-cv-00131 (Doc. 108) at p. 5 (S.D. Tex. Houston) (“Russ Hol-
lenbeck: $500 per hour[.] . . . The Court finds all of the hourly rates for the Wright
Close & Barger professionals to be reasonable hourly rates among Houston law
firms for a Title VII case.”). According to the Consumer Price Index for legal ser-
vices as generated by the U.S. Bureau of Labor Statistics, the prices for legal ser-
vices are 1.53% higher in 2021 versus 2020 (a $7.67 difference).30 So, adjusted only
for such inflation from the year of this court ruling (2020) to the end of 2021, that
$500.00 hourly rate for Mr. Hollenbeck is $507.67.

* Douglas B. Welmaker (class of ’93): Mr. Welmaker works in
Austin. His online biography states that he “has been practicing labor and em-
ployment law for 25 years” and “[i]n the last 10 years, he has limited his practice
to representing employees who have been wrongfully denied overtime pay in vio-
lation of the Fair Labor Standards Act.” On May 11, 2020, Judge Nelva Gonzales
Ramos ruled $500.00 was a reasonable rate for Mr. Welmaker’s work in a Corpus
Christi FLSA case. See Carranza v. Cirlos, No. 2:18-cv-419 (Doc. 36) at p. 36 (S.D.
Tex. Corpus Christi) (“Plaintiffs request an hourly rate of $500 per hour. The
Court finds this is a reasonable rate. Mr. Welmaker has practiced for more than
25 years, and has focused almost exclusively on employment litigation during that
time.”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 1.53% higher
in 2021 versus 2020 (a $7.67 difference).31 So, adjusted only for such inflation from
the year of this court ruling (2020) to the end of 2021, that $500.00 hourly rate for
Mr. Welmaker is $507.67.

* Jim Staley (class of ’98): Mr. Staley works in Houston. His online
biography states that he “represents employers and management in all aspects of

29   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=450

30   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=500

31   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=500
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employment law[.] . . .” On March 28, 2017, in a Houston Uniformed Services Em-
ployment and Reemployment Rights Act (USERRA) military employment leave
case, Mr. Staley testified that his ordinary billing rate is $465.00 per hour. See
Wright v. J.A.M. Distributing, No. 4:16-cv-2663 (Doc. 32-1) at p. 2, ¶ 5 (S.D. Tex.)
(Declaration of Jim Staley: “I am charging J.A.M. $325 per hour in this case. $325
per hour is a reasonable rate to charge for the legal services performed by myself
and is actually a substantial discount from my ordinary billing rate of $465.”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 8.08% higher in 2021
versus 2017 (a $37.57 difference).32 So, adjusted only for such inflation from the
year of this testimony concerning his “ordinary billing rate” (2017) to the end of
2021, that $465.00 hourly rate for Mr. Staley is $502.57.

* Salar Ali Ahmed (class of ’98): Mr. Ahmed works in Houston.
His online biography notes his practice area is labor and employment law. On
August 28, 2015, in a Beaumont Fair Credit Reporting Act (FCRA) case involving
allegations about credit checks of employees, Mr. Ahmed sought fees and testified
that his rate for legal services in the case was $425.00 per hour—but that he typ-
ically charges between $350.00 per hour and $450.00 per hour. See Landrum v.
East Texas Medical Center Regional Healthcare System, No. 4:14-cv-00848 (Doc.
44) at p. 9 (S.D. Tex. Beaumont) (Sworn Declaration of Salar Ali Ahmed in Sup-
port of Attorney’s Fees: “My rate for legal services in this case is $425 per hour.
This rate is within the range of my customary hourly fee. I typically charge be-
tween $350 and $450 per hour.”). On August 31, 2015, Judge Keith P. Ellison
awarded a flat amount of all fees requested as part of a settlement. See id. (Doc.
45) (Order Granting Joint Motion for Final Approval of Proposed Settlement and
Final Judgment). According to the Consumer Price Index for legal services as gen-
erated by the U.S. Bureau of Labor Statistics, the prices for legal services are
15.71% higher in 2021 versus 2015 (a $70.68 difference).33 So, adjusted only for
such inflation from the year of this testimony (2015)—concerning the high-end of
his typical rate of $450.00 per hour—to the end of 2021, that $450.00 hourly rate
for Mr. Ahmed is $520.68.

* Charles A. Sturm (class of ’97): Mr. Sturm works in Houston.
His online biography states that he “advises and represents employers, employees
and executives in Houston and throughout Texas.” On October 24, 2017, Judge
Vanessa D. Gilmore ruled that $450.00 per hour was a reasonable hourly rate for
Mr. Sturm’s work in a Houston FLSA case. See Gurule v. Land Guardian, Inc.,
No. 4:15-cv-03487 (Doc. 73) at p. 11 (S.D. Tex. Houston) (“Based upon this


32   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=465

33   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=450
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evidence, as well as the Court’s own experience in the relevant community, case
law and other authorities, the Court finds that $450 per hour is a reasonable
hourly rate for an attorney of Mr. Sturm’s skill and 20 years of experience.”), af-
firmed No. 17-207210 (5th Cir. Dec. 27, 2018). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 8.08% higher in 2021 versus 2017 (a $36.36 differ-
ence).34 So, adjusted only for such inflation from the year of this court ruling
(2017) to the end of 2021, that $450.00 hourly rate for Mr. Strum is $486.36.

* George R. Gibson (class of ’95): Mr. Gibson works in Houston.
His online biograph notes that he focuses his practice on litigation. In 2012, Mr.
Gibson billed for his work in a Houston employment discrimination case at the
rate of $375.00 per hour. See Patterson v. Houston Indep. Sch. Dist., No 4:11-cv-
01984 (Doc. 106-1) at p. 3 (S.D. Tex. Houston April 18, 2012) (Affidavit of Seth A.
Miller, attaching invoices billed to client: “George R. Gibson’s services cost $350
per hour in 2011 and $375 per hour in 2012”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 23.37% higher in 2021 versus 2012 (a $87.63 differ-
ence).35 So, adjusted only for such inflation from the year of this testimony (2012)
to the end of 2021, that $375.00 hourly rate for Mr. Gibson is $462.63.

* Trang Tran (class of ’95): Mr. Tran works in Houston. His online
biography notes his practice of law has a “focus on prosecuting claims for wrongful
discharge, discrimination, non-compete, theft of trade secret and breach of con-
tract” and that he has experience prosecuting wage and hour cases. On August
31, 2020, Judge Vanessa D. Gilmore ruled that $450.00 per hour was a reasonable
rate for work Mr. Tran did in a Houston FLSA case. See Vinasco v. Swissport
Cargo Services, LP, No. 4:18-cv-01902 (Doc. 103) at pp. 5–6 (S.D. Tex. Houston)
(“Accordingly, pursuant to the applicable law, the Court finds that the following
fees, hours and expenses form a reasonable basis for an award of fees and costs
for preparation and trial of this case . . . Trang Q. Tran . . . Rate . . . $450.00”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 1.53% higher in 2021
versus 2020 (a $6.91 difference).36 So, adjusted only for such inflation from the
year of this ruling (2020) to the end of 2021, that $450.00 hourly rate for Mr. Tran
is $456.91.




34   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=450

35   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=375

36   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=450
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Classes of the 2000s



 30                    lawyers listed




 $584.89                                average rate




 $514.18                                median rate
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                                         Classes of the 2000s:
                                              The Rates

   Peter J.              J. Marshall           Fran                  Lakshmi
   Mee                   Horton                Shuman                Ramakrishnan
   (JD 2009)             (JD 2003)             (JD 2005)             (JD 2002)


   Edward                Zenobia               Allan H.              Richard
   Holzwanger            Harris Bivens         Neighbors,            Schreiber
   (JD 2001)             (JD 2008)             IV (JD 2001)          (JD 2006)


   Brian Glenn           Katharine D.          Eric J.               Christopher
   Patterson             David                 Cassidy               Willett
   (JD 2006)             (JD 2004)             (JD 2001)             (JD 2009)


    Martina E.            Michael A.            Daryl                 Sara C.
    Vandenberg            Correll               Sinkule               Longtain
    (JD 2000)             (JD 2009)             (JD 2002)             (JD 2007)


    Jamila                Alfonso               Clif                  Scot
    Mensah                Kennard, Jr.          Alexander             Clinton
    (JD 2006)             (JD 2002)             (JD 2008)             (JD 2004)


    Matthew G.            Lauren                Mike                  DeAndrea C.
    Nielsen               C. Fabela             Seely                 Washington
    (JD 2001)             (JD 2008)             (JD 2007)             (JD 2009)


    William J.            Nickolas G.           Nehal S.
    Moore                 Spiliotis             Anand
    (JD 2005)             (JD 2001)             (JD 2009)


    Fazila                Austin                Aaron
    Issa                  Anderson              Johnson
    (JD 2004)             (JD 2003)             (JD 2008)
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Classes of the 2000s:
     The Work

  * Peter J. Mee (class of ’09): Mr. Mee works in Boston. His online
  biography states that he “practices transactional labor and employment law by
  assisting clients on national and international corporate transactions, negotiating
  and drafting complex employment agreements, onboarding executives, conduct-
  ing reductions-in-force, and managing executive separations.” In 2020, his firm
  billed his time at a rate of $1,165.00 per hour in a Houston bankruptcy case—for
  work such as “Review backstop services agreement.” See In re: Hornbeck Offshore
  Servs., Inc., No. 20-32679 (Doc. 269) at pp. 54, 85, 99 (Bankr. S.D. Tex. Houston)
  (Summary Cover Sheet to the First and Final Fee Application of Kirkland & Ellis
  LLP and Kirkland & Ellis International LLP, Attorneys for the Debtors and Debt-
  ors in Possession, for the Period from May 19, 2020 through and including June
  19, 2020). On August 11, 2020, Judge David R. Jones approved the request for
  fees. See id. (Doc. 282). According to the Consumer Price Index for legal services
  as generated by the U.S. Bureau of Labor Statistics, the prices for legal services
  are 1.53% higher in 2021 versus 2020 (a $17.88 difference).1 So, adjusted only for
  such inflation from the year of this billing and ruling (2020) to the end of 2021,
  that $1,165.00 hourly rate for Mr. Mee is $1,182.88.

  * Edward Holzwanger (class of ’01): Mr. Holzwanger works in
  Washington D.C. His online biography states that he “concentrates on labor and
  employment counseling, with an emphasis on labor and employment matters aris-
  ing in all types of corporate transactions.” In 2017, his firm billed his time at a
  rate of $1,015.00 per hour in a Houston bankruptcy case—for work such as “Cor-
  respond with B. Winger re collective bargaining agreements,” “Review and ana-
  lyze collective bargaining agreements,” “correspond with K&E team re benefit is-
  sues,” “Telephone conference with client and union re information request,” and
  “Correspond with K&E team re pension plan replacement (multiple).” See In re:
  Genon Energy, Inc., No. 17-33695 (Doc. 1273) at pp. 2, 176, 179, 180, 421, 423,
  431, 520, 544, 546, 753, 792 (Bankr. S.D. Tex. Houston) (First Interim Fee Appli-
  cation of Kirkland & Ellis LLP and Kirkland & Ellis International LLP, Attorneys
  for the Debtors and Debtors in Possession, for the Period from June 14, 2017
  through and including September 30, 2017). On January 12, 2018, Judge David

  1   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=1165
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R. Jones approved the request for fees. See id. (Doc. 1317). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 8.08% higher in 2021 versus 2017 (an
$82.02 difference).2 So, adjusted only for such inflation from the year of this billing
(2017) to the end of 2021, that $1,015.00 hourly rate for Mr. Holzwanger is
$1,097.02.

* Brian Glenn Patterson (class of ’06): Mr. Patterson works in
Houston. His online biography states that he “[r]epresents employers in all types
of employment-related matters, including litigation.” His firm billed his time in a
Houston bankruptcy case—for work in 2019 such as “Review FLSA suit docket,”
“Review of pleadings in pending labor suit,” “Attend to issues re: pending FLSA
matters,” “Analyze disclosure issues in connection with FLSA matters,” “Revise
discovery responses,” “Review status of pending FLSA matter,” “Review and re-
vise draft workforce HSE manual,” “Revise master services agreement provisions
re EPLI coverage,” and “Draft correspondence to Debtors re HSE manual, con-
tractor training, and employment policy issues.” See In re: Sanchez Energy Corp.,
No. 19-34508 (Doc. 1426) at Exhibit B, pp. 83, 200, 289 and Exhibit B-2, p. 62
(Bankr. S.D. Tex. Houston) (Second Interim and Final Fee Application of Akin
Gump Strauss Hauer & Feld LLP for Allowance and Payment of Fees and Ex-
penses as Counsel to the Debtors for the Period from December 1, 2019 through
March 27, 2020). His hourly rate listed for 2020 is $1,035.00—and his hourly rate
listed for 2019 is $945.00. See id. at Exhibit B-2, p. 62. On July 8, 2020, Judge
Marvin Isgur approved the request for fees. See id. (Doc. 1521). On February 24,
2016, Mr. Patterson submitted his affidavit in a Houston employment discrimi-
nation case in which his client sought sanctions. See Bautista-Avellaneda v. Mad-
ison Resource Funding Corp., No. 2014-64411 (151st Judicial District Court for
Harris County, Texas) (Affidavit of Brian Patterson attached as Exhibit 12 to De-
fendants’ Second Motion to Dismiss with Prejudice and for Monetary Sanctions).
Attached to Mr. Patterson’s affidavit is his law firm invoice dated April 15, 2015,
which states that his hourly rate at that time for work actually billed in that case
was $675.00 per hour. See id. at p. 5 (for “review of docket control order”). Accord-
ing to the Consumer Price Index for legal services as generated by the U.S. Bureau
of Labor Statistics, the prices for legal services are 1.53% higher in 2021 versus
2020 (a $15.89 difference).3 So, adjusted only for such inflation from the year of
this most-recently stated rate—the one for 2020—to the end of 2021, that
$1,035.00 hourly rate for Mr. Patterson is $1,050.89.




2   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=1015

3   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=1035
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* Martina E. Vandenberg (class of ’00): Ms. Vandenberg woks
in Washington D.C. Her online biography notes that she works with the Human
Trafficking Legal Center. Though Ms. Vandenberg is based in Washington, D.C.,
On November 30, 2017, Judge Keith P. Ellison determined Ms. Vandenberg’s re-
quested rate of $745.00 per hour was “fair and reasonable” for work she did in a
Houston human trafficking [i.e., forced labor] case. Adhikari v. Daoud & Partners,
No. 4:09-CV-1237 (Doc. 764) at pp. 28–29 (S.D. Tex. Houston) (“The requested
rates, in descending order, are as follows: . . . $745 for Fryszman and Vandenberg;
. . . The requested rates are fair and reasonable here too.”). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 8.08% higher in 2021 versus 2017 (a
$60.20 difference).4 So, adjusted only for such inflation from the year of Judge
Ellison’s determination to the end of 2021, that $745.00 hourly rate for Ms. Van-
denberg is $805.20.

* Jamila Mensah (class of ’06): Ms. Mensah works in Houston.
Her online biography states that “[h]er practice covers all areas of employment
law, including extensive experience in discrimination, retaliation and wage and
hour issues.” In 2020, Ms. Mensah’s law firm billed her time for work at the rate
of $780.00 per hour in a Houston defamation/tortious interference case by a for-
mer employee against a former employer. See Nath v. Baylor College of Medicine,
No. 2019-85080 (269th Judicial District Court for Harris County, Texas) (Decla-
ration of Shauna J. Clark attached as Exhibit A to Defendant Baylor College of
Medicine’s Application for Attorneys’ Fees, filed on June 30, 2020 at Tab 2, p. 4)
(“Mensah, J . . . Rate . . . 780.00). According to the Consumer Price Index for legal
services as generated by the U.S. Bureau of Labor Statistics, the prices for legal
services are 1.53% higher in 2021 versus 2020 (an $11.97 difference).5 So, adjusted
only for such inflation from the year of this billing to the end of 2021, that $780.00
hourly rate for Ms. Mensah is $791.97.

* Matthew G. Nielsen (class of ’01): Mr. Nielsen works in Dallas.
His online biography states that he “represents companies, boards, executives,
and securities firms and professionals in internal and government investigations
and litigation involving civil and criminal misconduct.” On October 24, 2016,
Judge Lynn Hughes awarded Mr. Nielsen’s firm for work Mr. Nielsen did in a
Houston ERISA severance benefits case. See Langley v. Howard Hughes Mgmt.
Co., Inc., Civil Action No. H-13-3595 (Docs. 27 & 28) (S.D. Tex. Houston) (granting
fees requested in motion (Doc. 22)). Mr. John McDowell’s affidavit in that matter,
with bills attached, show Mr. Nielsen was billing his client at the rate of $630.00

4   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=745

5   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=780
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per hour in the year 2014 for work in that case. See id. (Doc. 22-1) at p. 33 (bill
showing time billed on February 28, 2014, invoice was $14,679.00 for 23.30 hours
which equals a per-hour rate of $630.00, for work such as “Attention to finalizing
answer and filing same” and “Attention to scheduling initial conference with
court”). See id. at pp. 30–31. The award of fees itself was reversed on other
grounds in Langley v. Howard Hughes Mgmt. Co., L.L.C., No. 16-20724 (5th Cir.
June 1, 2017). According to the Consumer Price Index for legal services as gener-
ated by the U.S. Bureau of Labor Statistics, the prices for legal services are
17.55% higher in 2021 versus 2014 (a $110.55 difference).6 So, adjusted only for
such inflation from the year of this billing (2014) to the end of 2021, that $630.00
hourly rate for Mr. Nielsen is $740.55.

* William J. Moore (class of ’05): Mr. Moore works in Dallas and
his online biography states that he is a trial lawyer. On February 2, 2017, Judge
Elaine Palmer awarded fees for work Mr. Moore did in a Houston employment
discrimination case—traveling to Houston over a discovery dispute. See Hunter v.
TPC Group, LLC, 2016-16617 (215th Judicial District Court for Harris County,
Texas) (Order signed February 2, 2017: “ORDERED AND ADJUDGED that
Plaintiff pay the attorneys’ fees and expenses incurred in connection with re-
sponding to this Motion to Compel in the amount of $5,356.88”). In its January
31, 2017, request for fees, Mr. Moore’s firm noted that his billing rate is $650.00
per hour. See id. (Defendants’ Supplement to their Response to Plaintiff’s Motion
to Compel and for In Camera Inspection at p. 4, n. 4: “Defendants’ counsel, Wil-
liam Moore’s (partner) billing rate is $650 per hour.”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 8.08% higher in 2021 versus 2017 (a $52.52 differ-
ence).7 So, adjusted only for such inflation from the year of this billing (2017) to
the end of 2021, that $650.00 hourly rate for Mr. Moore is $702.52.

* Fazila Issa (class of ’04): Ms. Issa works in Houston. Her online
biography states that she “represents and counsels corporate management in a
variety of industry sectors in all aspects of labor and employment law, including
representation before administrative agencies and litigation in state and federal
courts.” On June 26, 2019, in a Houston employment discrimination case and
ERISA benefits case, Judge Kenneth M. Hoyt determined the fees Ms. Issa’s firm
sought for her work on the ERISA claims were reasonable. See Gonzales v. Cono-
coPhillips Co., No. 4:17-cv-2374 (Doc. 108) (S.D. Tex. Houston) (ruling fee re-
quested in Doc. 94 reasonable: “The Court is of the opinion that the fees and costs
sought are reasonable.”). Those fees actually billed to a client included Ms. Issa’s


6   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=630

7   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=650
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rate of $640.00 per hour on an invoice dated September 27, 2018, for work such
as “Review and finalize defendant’s expert designation,” “Review and finalize de-
fendant’s supplemental document production,” and “Review and analyze plain-
tiff’s second request for production and email communications with K. Jones and
L. Knox.” See id. (Doc. 94-3) at pp. 27–29. According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
for legal services are 3.64% higher in 2021 versus 2018 (a $23.27 difference).8 So,
adjusted only for such inflation from the year of this billing (2018) to the end of
2021, that $640.00 hourly rate for Ms. Issa is $663.27.

* J. Marshall Horton (class of ’03): Mr. Horton works in Houston.
His online biography states that he “focuses his practice on representing employ-
ers . . . .” On October 24, 2016, Judge Lynn Hughes awarded Mr. Horton’s firm for
work Mr. Horton did in a Houston ERISA severance benefits case. See Langley v.
Howard Hughes Mgmt. Co., Civil Action No. H-13-3595 (Docs. 27 & 28) (S.D. Tex.
Houston) (granting fees requested in motion (Doc. 22)). Mr. John McDowell’s affi-
davit in that matter, with bills attached, show Mr. Horton was billing his client
at the rate of $540.00 per hour in the year 2014 for work in that case. See id. (Doc.
22-1) at p. 33 (bill showing time billed on February 28, 2014, invoice was
$40,176.00 for 74.40 hours which equals a per-hour rate of $540.00, for work such
as conducting research and drafting documents). See id. at pp. 29–33. The award
of fees itself was reversed on other grounds in Langley v. Howard Hughes Mgmt.
Co., Civil Action No. 16-20724 (5th Cir. June 1, 2017). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 17.55% higher in 2021 versus 2014—a $94.76 dif-
ference from the year of that billing.9 So, adjusted only for such inflation from the
year of that billing (2014) to the end of 2021, that $540.00 hourly rate for Mr.
Horton is $634.76.

* Zenobia Harris Bivens (class of ’08): Ms. Bivens worked in
Houston. Her online biography noted that she focused her practice on business
litigation. On September 13, 2019, Judge Nancy F. Atlas awarded Ms. Bivens a
requested rate of $600.00 per hour for Ms. Bivens’s work in a Houston False
Claims Act employment retaliation case. See Miniex v. Houston Housing Auth.,
No. 4:17-cv-00624 (Doc. 277) at p. 8 (S.D. Tex. Houston) (“The Court concludes
Bivens’s ($600), Mery’s ($450), Hurta’s ($325), and Thornton’s ($375) requested
rates are reasonable for this case.”). According to the Consumer Price Index for
legal services as generated by the U.S. Bureau of Labor Statistics, the prices for



8   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=640

9   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=540
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legal services are 2.64% higher in 2021 versus 2019 (a $15.84 difference).10 So,
adjusted only for such inflation from the year of this court ruling (2019) to the end
of 2021, that $600.00 hourly rate for Ms. Bivens’s work in 2019 would be $615.84.

* Katharine D. David (class of ’04): Ms. David works in Houston
as a public law attorney. On November 20, 2013, Judge Lynn N. Hughes awarded
fees for time Ms. David worked on a First Amendment/constitutional free speech
firing and employment retaliation case. See Culbertson v. Lykos, No. 4:12-cv-
03644 (Doc. 69) (S.D. Tex. Houston) (granting fees requested in Doc. 45: “Rachel
Palmer takes, jointly and severally, $82,101.00 in reasonable attorney’s fees from
Amanda Culbertson and Jorge Wong”), reversed on other grounds 790 F.3d 608
(5th Cir. 2015). The fee request included Ms. David’s September 12, 2013, affida-
vit, which noted the fees actually incurred by her client in the lawsuit included
her work at her hourly rate of $500.00. See id. (Doc. 45-1) at p. 2–3, ¶¶ 5 & 8
(Declaration of Katherine D. David attached as Exhibit A to Rachel Palmer’s Mo-
tion for an Award of Court Costs, Reasonable Attorney’s Fees and Other Ex-
penses: “Based on the hourly rates and total number of hours billed, Gardere has
charges of $82,101.00 for the legal services and expenses it has rendered to defend
Rachel Palmer since May 1, 2013. . . . The current hourly rates of the aforemen-
tioned attorneys are as follows: . . . Kate David - $500.”). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 20.06% higher in 2021 versus 2013 (a
$100.32 difference).11 So, adjusted only for such inflation from the year of Judge
Hughes’s ruling to the end of 2021, that $500.00 hourly rate for Ms. David is
$600.32.

* Michael A. Correll (class of ’09): Mr. Correll works in Dallas.
His online biography states that he “represents employers involved in a variety of
employment litigation matters, including defending employers against claims of
discrimination, harassment, retaliation, and wrongful discharge.” His law firm
billed $550.00 per hour for his work in 2019 on a Houston employment commis-
sions case. See Trippie v. Workplace Solutions Inc., No. 201984986 (281st Judicial
District Court for Harris County, Texas) (Defendant’s Trial Exhibit 17, Bates
Stamp No. WPS000948, for trial held April 1, 2021, Invoice 1/23/20 for work in
2019: “Michael A. Correll . . . Rate . . . 550.00 / hr”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 2.64% higher in 2021 versus 2019 (a $14.52




10   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=600

11   https://www.officialdata.org/Legal-services/price-inflation/2013-to-2021?amount=500
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difference).12 So, adjusted only for such inflation from the year of this billing to
the end of 2021, that $550.00 hourly rate for Mr. Correll is $564.52.

* Alfonso Kennard, Jr. (class of ’02): Mr. Kennard works in
Houston. His online biography states that his area of practice is “100% Labor and
Employment.” On August 1, 2014, Magistrate Judge Nancy K. Johnson awarded
Mr. Kennard discovery sanctions for his work in a Houston FLSA case and, in
doing so, approved of his requested hourly rate of $475.00. See Magdaleno v. PCM
Constr. Servs., LLC, No. 4:12-cv-02862 (Doc. 109) at pp. 9–10 (S.D. Tex. Houston)
(“Kennard stated that his billing rate is $475 per hour, . . . In the absence of evi-
dence challenging these hourly rates, the court assumes that the requested rates
are reasonable.”). On September 12, 2014, Judge Sim Lake ordered defendants
pay these sanctions. See id. (Doc. 116). According to the Consumer Price Index for
legal services as generated by the U.S. Bureau of Labor Statistics, the prices for
legal services are 17.44% higher in 2021 versus 2014 (an $83.35 difference).13 So,
adjusted only for such inflation from the year of these court rulings to the end of
2021, that $475.00 hourly rate for Mr. Kennard is $558.35.

* Lauren Chapman Fabela (class of ’08): Ms. Chapman works
in Houston. Her online biography notes that she “practices primarily in the area
of business litigation.” On October 24, 2016, Judge Lynn Hughes awarded Ms.
Chapman’s firm for work Ms. Chapman did in a Houston ERISA severance bene-
fits case. See Langley v. Howard Hughes Mgmt. Co., Inc., Civil Action No. H-13-
3595 (Docs. 27 & 28) (S.D. Tex. Houston) (granting fees requested in motion (Doc.
22)). Mr. John McDowell’s affidavit in that matter, with bills attached, show Ms.
Chapman’s firm was billing its client at the rate of $465.00 per hour in the year
2014 for work in that case. See id. (Doc. 22-1) at pp. 26–27 (time billed on January
31, 2014, invoice was $1,069.50 for 2.30 hours which equals a per-hour rate of
$465.00, for work such as “Analyze . . . organize and review proposed administra-
tive record”). See id. at p. 26. The award of fees itself was reversed on other
grounds in Langley v. Howard Hughes Mgmt. Co., L.L.C., No. 16-20724 (5th Cir.
June 1, 2017). According to the Consumer Price Index for legal services as gener-
ated by the U.S. Bureau of Labor Statistics, the prices for legal services are
17.55% higher in 2021 versus 2014 (an $81.60 difference).14 So, adjusted only for
such inflation from the year of this billing (2014) to the end of 2021, that $465.00
hourly rate for Ms. Fabela is $546.60.



12   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=550

13   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=475

14   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=465
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* Nickolas G. Spiliotis (class of ’01): Mr. Spiliotis works in Hou-
ston. His online biography states he is a partner in his law firm’s “labor, employ-
ment and workplace safety practice group.” On August 5, 2015, in a Corpus
Christi employment discrimination and retaliation case, his law firm noted that
his standard rate per hour was $450.00—though there was a lower negotiated
effective rate per hour in that case. See Arredondo v. Weatherford Int’l, LLC, No.
2:14-cv-00170 (Doc. 89) at p. 1 (S.D. Tex. Corpus Christi) (Summary of Attorney
Fees and Expenses: “Nickolas Spiliotis . . . STANDARD RATE PER HOUR . . .
450”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 15.71% higher
in 2021 versus 2015 (a $70.68 difference).15 So, adjusted only for such inflation
from the year of this stated rate (2015) to the end of 2021, that $450.00 hourly
rate for Mr. Spiliotis is $520.68.

* Austin Anderson (class of ’03): Mr. Anderson works in Corpus
Christi. His online biography states that he “focuses the majority of his time on
large scale wage and hour litigation under the Fair Labor Standards Act.” On
January 27, 2020, Judge Nelva Gonzales Ramos found Mr. Anderson’s hourly rate
of $500.00 per hour was reasonable for his work in a Corpus Christi FLSA case.
See Vela v. M&G USA Corp., No. 2:17-cv-13 (Doc. 66) at p. 7–8 (S.D. Tex. Corpus
Christi) (“Plaintiff’s request for attorneys’ fees is based on the work of . . . Clif
Alexander (37 hours at $450 per hour); Austin Anderson (29 hours at $500 per
hour); Lauren Braddy (18 hours at $400 per hour); . . . Plaintiff requests hourly
rates ranging from $400 to $500 for the three attorneys working on this case. The
Court finds these are reasonable rates.”). According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
for legal services are 1.53% higher in 2021 versus 2020 (a $7.67 difference).16 So,
adjusted only for such inflation from the year of this ruling (2020) to the end of
2021, that $500.00 hourly rate for Mr. Anderson is $507.67.

* Fran Shuman (class of ’05): Ms. Shuman, formerly Fran Robin-
Kantor Aden, works in Houston. Her online biography notes her practice areas
included labor and employment law. On August 27, 2015, Ms. Shuman’s client
sought an award of attorneys’ fees at the rate of $425.00 per hour for Ms. Shu-
man’s time in a Houston employment non-compete and commissions declaratory
judgment case—for work such “Review and analyze employment agreements and
demand letters to prepare strategy for summary judgment motion” and “Review
and analyze clients documents to obtain factual support for summary judgment
motion that plaintiffs were fired for cause.” See Goddard v. Total Safety U.S., Inc.,

15   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=450

16   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=500
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No. 2015-04385 (11th Judicial District Court for Harris County, Texas) (Defend-
ant Total Safety U.S. Inc.’s Motion for Determination Under Epps v. Fowler and
Award of Attorney’s Fees Under Declaratory Judgment Act at pp. 11-12 and Ex-
hibit E: “Total Safety requests an award of reasonable and necessary attorney’s
fees in the amount of $21,817.50, which is a mere fraction of the total fees it in-
curred to defend Goddard’s claims.” . . . “[Ms. Shuman’s law firm, Hick Thomas
LLC] billed Ms. Aden’s time at $425.00 per hour.”). The Court denied the request
for fees altogether. See id. (Order Denying Defendant’s Motion for Fees Under the
Declaratory Judgment Act dated September 22, 2015). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 15.71% higher in 2021 versus 2015 (a $66.76 dif-
ference).17 So, adjusted only for such inflation from the year of this billing rate
(2015) to the end of 2021, that $425.00 hourly rate for Ms. Shuman is $491.76.

* Allan H. Neighbors, IV (class of ’01): Mr. Neighbors works
in Houston. His online biography states that he “spends the majority of his time
advising, counseling, and training employers on strategies and practices to protect
confidential information and trade secrets, guard against unfair competition, and
manage litigation risks.” In 2017, he billed his time at the rate of $445.00 per hour
for his work in a Houston misappropriation of trade secrets case against former
employees of a company. See Quantlab Technologies Ltd. v. Godlevsky, No. 4:09-
cv-04039 (Doc. 884) at pp. 6–7, ¶ 19 (S.D. Tex. Houston) (Affidavit of Tim McIn-
turf: “In fact, SKV and Littler have charged less to handle this matter than they
often charge clients for similar matters . . . Littler’s rates for its principal time-
keepers increased incrementally by year as follows . . . Allan Neighbors . . . 2017
. . . $445”). According to the Consumer Price Index for legal services as generated
by the U.S. Bureau of Labor Statistics, the prices for legal services are 8.08%
higher in 2021 versus 2017—an $35.96 difference from the year of that billed
$445.00 hourly rate.18 So, adjusted only for such inflation from the year that rate
was billed (2017) to the end of 2021, that $445.00 hourly rate for Mr. Neighbors
is $480.96.

* Eric J. Cassidy (class of ’01): Mr. Cassidy works in Houston as a
litigator. During 2011, he billed at a rate of $375.00 per hour in a Houston em-
ployment agreement case. See Renewable Energy Group, Inc. v. Dascal, No. 2011-
51111 (190th Judicial District Court for Harris County, Texas) (Affidavit of Eric
J. Cassidy at ¶ 8 and attached bills marked Defendant’s Trial Exhibit 83 filed on
December 23, 2011: “Sabine and Endicott agreed to compensate this firm based
on an hourly fee rate. My hourly rate is $375.00 per hour.”). According to the


17   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=425

18   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=445
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Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 25.87% higher in 2021 versus 2011 (a
$97.02 difference).19 So, adjusted only for such inflation from the year of this bill-
ing (2011) to the end of 2021, that $375.00 hourly rate for Mr. Cassidy is $472.02.

* Daryl J. Sinkule (class of ’02): Mr. Sinkule currently works in
Dallas but previously worked in Houston. His online biography states: “I focus my
law practice on employment law civil litigation in state and federal courts and in
administrative proceedings.” On November 21, 2018, Magistrate Judge Christina
A. Bryan determined $450.00 was a reasonable hourly rate for Mr. Sinkule’s work
in a Houston FLSA case. See Novick v. Shipcom Wireless, Inc., No. 4:16-cv-00730
(Doc. 100) at p. 6 (S.D. Tex. Houston) (“Based on the above, the court concludes
that $450 is a reasonable hourly rate for the serviced provided by Daryl Sinkule[.]
. . .”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 3.64% higher
in 2021 versus 2018 (a $16.36 difference).20 So, adjusted only for such inflation
from the year of this ruling (2018) to the end of 2021, that $450.00 hourly rate for
Mr. Sinkule is $466.36.

* Clif Alexander (class of ’08): Mr. Alexander works in Corpus
Christi. His online biography states that his “practice focuses on pursuing wage
and hour violations on behalf of employees across the United States in individual
and large scale collective/class actions under the Fair Labor Standards Act.” On
January 27, 2020, Judge Nelva Gonzales Ramos found Mr. Alexander’s hourly
rate of $450.00 per hour was reasonable for his work in a Corpus Christi FLSA
case. See Vela v. M&G USA Corp., No. 2:17-cv-13 (Doc. 66) at p. 7–8 (S.D. Tex.
Corpus Christi) (“Plaintiff’s request for attorneys’ fees is based on the work of . . .
Clif Alexander (37 hours at $450 per hour); Austin Anderson (29 hours at $500
per hour); Lauren Braddy (18 hours at $400 per hour); . . . Plaintiff requests hourly
rates ranging from $400 to $500 for the three attorneys working on this case. The
Court finds these are reasonable rates.”). According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
for legal services are 1.53% higher in 2021 versus 2020 (a $6.91 difference).21 So,
adjusted only for such inflation from the year of this ruling (2020) to the end of
2021, that $450.00 hourly rate for Mr. Alexander is $456.91.




19   https://www.officialdata.org/Legal-services/price-inflation/2011-to-2021?amount=375

20   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=450

21   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=450
